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                            24-162-cr
                                   United States Court of Appeals
                                       for the Second Circuit

                                           Docket No. 24-l62-cr

                                    UNITED STATES OF AMERICA,
                                                                 Appellate,
                                                   -against-
                            KEITH VEREEN, a/k/a SEALED DEFENDANT l,
                                                                  Defendant,
                 STEVEN PEREZ, a/k/a SEALED DEFENDANT 2, a/k/a LUCHA,
                                                                  Defendant-Appellant.
                                APPEAL FROM A FINAL JUDGMENT
                             OF THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF NEW YORK

               APPENDIX FOR DEFENDANT-APPELLANT STEVEN PEREZ
                               VOLUME IV OF IV

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                  NSUAAPER1                          Gutierrez - Direct

           1                  (side bar)

           2                  MS • BAHARANYI         Regarding the first one that you

           3      mentioned was just the phone itself           9




           4                  MS. NICHOLAS      23

           5                  MS • BAHARANYI         We don't have an objection to that       9




           6      The text messages though I think it would help to go in order

           7      with what our objections are          9   The first one that you are

           8      seeking to admit is 1101       9




           9                  MS. NICHOLAS      The user device information.

          10                  MS • BAHARANYI         That one is fine     1102

          11                  MS. NICHOLAS      We're not seeking to admit that              The

          12      next one was 1103A.

          13                  MS • BAHARANYI         So for that par ticular exhibit, your

          14      Honor, I am going to show you what is               one moment

          15                  (Pause)

          16                  MS • BAHARANYI         That par ticular exhibit seems to be

          17      discussing other, during dates other than the June 23rd date

          18      when Mr. Lucca was arrested seems to be discussing law

          19      enforcement or cop activities without any sort of context              9        We

          20      think that that being presented to the jury, the full range of

          21      those texts there are certainly more pre judice than relevant in

          22      this case   9   He wasn't arrested on that date which I believe is

          23      the June 17th date     9   That's correct

          24                  THE COURT:     All right       What's the government say?

          25                  MS. NICHOLAS      Your Honor, this is a conspiracy that


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           1      spanned between 2020 and 2021 inclusive of this time period.

           2      The defend has made clear that the cornerstone of the defense

           3      here is the willfulness            all of this is indicative of the

           4      awareness of the police, awareness of his unlawful conduct,

           5      awareness of where law enforcement is at all times                   9   I'll note

           6      the person who he is talking to in those texts, we've been

           7      referring to Alban El Curran, Aaron Jiminez, one of the other

           8      individuals arrested with him in Massachusetts with the

           9      firearms

          10                  THE COURT:      This is from that gentleman to whom?

          11                  MS. NICHOLAS       To Lucca, the defendant

          12                  MS • BAHARANYI       The par ticular date, your Honor, has

          13      no relevance to this conspiracy           9     They have not raised that

          14      this was a date where they believed for example he is carrying

          15      a firearm.      They have not raised where this is a date where

          16      they believed he was transferring or receiving a firearm.

          17      There is certainly no context         9       And I think to put this before

          18      the jury, just conversation that people may have in the Bronx

          19      about law enforcement activity in their neighborhoods which can

          20      sometimes be dangerous, this leaves an impression that

          21      certainly is unduly pre judicial to Lucca without context and

          22      they don't have context

          23                  MS. NICHOLAS       It's June 17th, your Honor                He is

          24      arrested with a gun in the Bronx on June 23rd.                 Then he is

          25      arrested in Massachusetts on July 3rd,


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                  NSUAAPER1                        Gutierrez - Direct

           1                  MS • BAHARANYI       We don't object to them admitting text

           2      messages about police activities on those dates, your Honor                9




           3                  THE COURT:     The objection is sustained.

           4                  MS • BAHARANYI       So the next one is you are envisioning

           5      to enter

           6                  MS. NICHOLAS       11038, everything from this series,

           7      your Honor, is a conversation with the defendant from his

           8      phone

           9                  MS • BAHARANYI       We don't have an objection to that        9




          10                  MS. NICHOLAS       1104

          11                  MS • BAHARANYI      No objection to that         9




          12                  MS. NICHOLAS       Next is 1105    9




          13                  MS • BAHARANYI       We don't have an objection to that

          14      one

          15                  MS. NICHOLAS       1106

          16                  MS • BAHARANYI      No

          17                  MS. NICHOLAS       1107

          18                  MS • BAHARANYI       Nor that one      9    It would be helpful to

          19      show .

          20                  (Pause)

          21                  MS • BAHARANYI       Your Honor, that one also raised in

          22      the June 17 text without any context           9       If you can see the first

          23      part of the conversation seems to be talking about                   9




          24                  THE COURT:     Sustained.      The objection is sustained.

          25                  Are we going to be here much longer?


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                  NSUAAPER1                           Gutierrez - Direct

           1                     MS. NICHOLAS         There's three other series of text

           2      messages   a     I expect that this is going to happen repeatedly          9




           3                     THE COURT:    Well, SO I think the way to do this is

           4      let's get this series done                 Then if we have to have further

           5      side bars we will but I don't want to keep the jury just

           6      sitting there      9




           7                     MS. NICHOLAS         1108

           8                     MS • BAHARANYI        That's the same issue, your Honor,

           9      about the June 17th date, the blue and whites                9




          10                     MS. NICHOLAS         He is now talking to multiple people

          11      about the presence of police days before he gets arrested with

          12      a gun he got illegally          9




          13                     THE COURT:     The problem is there's no context for

          14      these earlier      9    If this had been a date after some of the

          15      events that you've referred to, I could see the relevance              9




          16                     MS. NICHOLAS         It's a date after trips from     he had

          17      already had to gun.          Vere en has already been traveling to the

          18      Bronx repeatedly        9




          19                     MS • BAHARANYI        Those are trips that would have ended

          20      in November 2020        9




          21                     THE COURT:     I think it's very hard for the jury to see

          22      the relevance      9    The objection is sustained.

          23                     MS. NICHOLAS         1109

          24                     MS • BAHARANYI       No objection there   9




          25                     MS. NICHOLAS         1110


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                  NSUAAPER1                       Gutierrez - Direct

           1                  MS • BAHARANYI     No objection.

           2                  MS. NICHOLAS      Just to be clear, 1107 and then 1108   9




           3                  THE COURT:     Okay .

           4                  (Continued on next page)

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                 NSUAAPER1                        Gutierrez - Direct

           1                 (In Open Court)

           2                 MS. NICHOLAS        MS. Sankara, if you could please publish

           3     what's now in evidence as Government Exhibit 1101                9




           4                 (Pause)

           5     Q    Ms. Gutierrez, before we continue, can you just describe

           6     for the jury what's on the screen at a very high level                9   Are

           7     you f familiar with these types of reports?

           8     A.    Yes

           9     Q     What type of report is this?

          10     A.    It's a Cellebrite report

          11     Q     What is Cellebrite?

          12     A.    It's a platform we use in the office when we receive or we

          13     seize a phone from somebody         9   When we get the data out of the

          14     phone we put it into Cellbrite because Cellbrite mikes it

          15     easier for us to manage and look through the data

          16                 MS. NICHOLAS        So this information here in Government

          17     Exhibit 1101 which per the stipulation is from the defendant's

          18     phone

          19                 Ms. Sankar, if you could please zoom in on the section

          20     that says MSISDN at the top         9




          21     Q     Ms. Gutierrez, if you could just read that phone number               9




          22     A.    It's it 16467241423

          23                 MS. NICHOLAS        Ms. Sankara, if you could zoom back out

          24     and zoom in on where it says last known use              9




          25                 (Pause)


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                 NSUAAPER1                         Gutierrez - Direct

           1     Q    Just above where it says MSISDN for first time could you

           2     please read what that says         9




           3     A.   May 21, 2021

           4     Q     And the next?

           5     A.   June 20, 2021

           6     Q     And the last one?

           7     A.   June 16      I   2021

           8                     MS. NICHOLAS     Okay       Ms. Sankara, if you could zoom

           9     back out    9




          10     Q    Now the bottom half of this screen could you read what

          11     that's labeled in that second section?

          12     A.   User accounts

          13     Q     Okay .      What is listed in that section?

          14     A.    Certain applications that were used.

          15                     MS. NICHOLAS     Ms. Sankara, could you flip to row 186

          16     and zoom-in on that row.

          17                     (Pause)

          18     Q    Ms. Gutierrez, what application is listed in row 186?

          19     A.    Telegram.

         20      Q     Are you f familiar with telegram?

          21     A.    Yes

         22      Q     How are you f familiar with telegram?

         23      A.   From working in the office         9




         24      Q     In broad terms, what is telegrams?

         25      A.    It is an encrypted messaging app           9




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                 NSUAAPER1                            Gutierrez - Direct

           1                 MS. NICHOLAS             If you could zoom out and a zoom back

           2     in on row 1906       9




           3                 (Pause)

           4     Q     What application is listed in row 190?

           5     A.    What's App

           6                 MS. NICHOLAS             You can zoom back out can you please

           7     publish what's now in evidence as Government Exhibit 11038              9




           8                 (Pause)

           9     Q     Ms. Gutierrez, what's depicted on the screen°

          10     A.    A Cellebrite report        9




         11      Q     What does the Cellebrite report show in general terms?

          12     A.    Messages   9




          13     Q     Now at the top who is the user listed as one of the

          14     participants in the conversation?

          15     A.    The contact name is Alban El Curran            9




         16                  MS. NICHOLAS             If you could zoom-in on that actually

         17                  (Pause)

          18     Q     Ms. Gutierrez, could you read that phone number into the

          19     record, please°

         20      A.    3475028867     9




          21                 MS. NICHOLAS             Okay   Now, in this conversation

         22      Ms. Sankara could you actually go to the next page for us page

         23      two     There are two different color bubbles             9




         24      Q     Can you explain to the jury who's speaking in each of the

         25      bubbles?


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                 NSUAAPER1                           Gutierrez - Direct

           1     A.     So it's like an i phone          The owner of the phone is on the

           2     right and the other party is on the left              9




           3     Q      So, green is the owner of the phone?

           4     A.     Green is the owner of the phone and on the left in blue is

           5     Alban El Curran         9




           6                   MS. NICHOLAS     Per the stipulation, the owner of phone

           7     is the defendant going back at first page of 1103, Ms. Sankara                9




           8     Q      Ms. Gutierrez, before you begin reading can you please read

           9     the date stamp that's listed in that first message?

          10     A.     June 21 I   2021

          11     Q      I am going to ask you to read what's in the blue bubbles

          12     and I will read what's in the green bubbles

          13     "A.     Do you need a day pack/military bag?              I might order one

          14      HQ.    I got a bag already     9     Same backpack   9   Got more    9




          15     "A.     I need that then.       So I'll order mine

          16                   MS. NICHOLAS      Ms. Shankar, you can pull this down.

          17                   If you could please publish what's in evidence as

          18     1104

          19                   (Pause)

          20     Q      Okay     Ms. Gutierrez, can you describe what's on the

          21     screen')

          22     A.     It's a picture of a phone with text messages            9




          23     Q      Are these messages being sent in any particular

          24     application?

          25     A.     Yes, Signal



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                 NSUAAPER1                        Gutierrez - Direct

           1     Q    How can you tell that?

           2     A.    At the bottom and at the top it says "signal"

           3     Q     Are you f familiar with, signal?

           4     A.    I am.

           5     Q     What is Signal?

           6     A.    It is an encrypted messaging app            9




           7     Q    Looking at what's on the screen in Government Exhibit 1104,

           8     similar to what you explained with the prior report can you

           9     just explain what the messages on the screen mean in terms of

          10     who is sending them?

         11      A.    So the owner of the phone would be on the right and then

          12     the other person, the other party is on the left in the purple           9




          13     Q    Now, the other party in 1104, can you read that other

          14     party's name°

          15     A.    It's Jamil R. Bey

         16      Q     Can you read the number associated with that name?

         17      A.    6469738605   9




          18     Q     Can you just read the date and time of the message on that

          19     par ticular message?

         20      A.   June 19, 2021 at 1:09 p.m.

          21                 MS. NICHOLAS        Can you please publish what's in

         22      evidence as Government Exhibit 1105           9




         23      Q    Ms. Gutierrez, again explain what we're seeing on the

         24      screen here?

         25      A.    It's another picture of the phone with text messages pulled


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                 NSUAAPER1                        Gutierrez - Direct

           1     up.

           2     Q     What application are these messages in?

           3     A.    Signal

           4     Q     Now here there are two individuals, it appears, discussing,

           5     can you describe how you know which individual is speaking?

           6     A.    On their right is the owner of the phone in the gray text

           7     message or the gray signal messages and on the left is the

           8     other party which according to the photo is someone that goes

           9     by "Divine Bey Justice" or that's the contact name

          10     Q     The other party, what color are their messages in?

         11      A.    Blue

          12     Q     The gray message here is the owner of the phone, as per the

          13     stipulation, is the defendant and the blue messages are the

          14     other contact?

          15     A.    Yes

         16      Q     I am going to direct your attention to the bottom of this

         17      photograph     9   Can you read what begins with           II   y o u II 9


          18     "A.    You should come to the three day train.

          19     Q     Do you notice anything about that par ticular message?

         20                   MS. NICHOLAS       Ms. Sankara, I'm going to ask you to

          21     pull the highlight off of that            9




         22      A.    Well, "should" is spelled incorrectly, "train" it's like

         23      cut off       I don't know if's supposed to be "train" or

         24      "try;Lning".       It says "Cone   II
                                                         instead of   II come II       actually

         25      Q     Is that in the message       9




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                 NSUAAPER1                             Gutierrez - Direct

           1     A.    It is not

           2     Q     How do you know that?

           3     A.   Because it's still in the little text bar             9




           4                  MS. NICHOLAS            Ms. Sankara, pull that down and please

           5     publish what's in evidence as Government Exhibit 1106                  9




           6                  (Pause)

           7     Q     Okay     So on this one I don't want to read any of the

           8     messages       I just want to focus on who is participating in the

           9     conversation here        9   Can you please read the name of the contact

          10     in the Signal message?

          11     A.    Alban El Curran        9




          12     Q     What's number associated with that use?

          13     A.   3475028867    9




          14                  MS. NICHOLAS            You can it pull that down.       We are

          15     going to move to 1109            9   And publish that please   9




          16                  (Pause)

          17     Q     Can you explain what we're looking at on the screen here?

          18     A.    That's a picture of a phone

          19     Q     Is there any par ticular application open?

         20      A.    Signal

          21     Q     What is depicted inside the Signal app on this par ticular

         22      screen 3hot9

         23      A.    It shows that there's missed calls between the parties                   9




         24      Also, that the owner of the phone called this person a couple

         25      times


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                 NSUAAPER1                          Gutierrez - Direct

           1     Q     Can you read the name of the contact?

           2     A.    Will El Musa

           3     Q     And the phone number?

           4     A.    9176895444

           5                  MS. NICHOLAS          We can pull that down.          If we can

           6     please publish what's in evidence as Government Exhibit 1110                   9




           7                  (Pause)

           8     Q     We're shifting gears a bit here

           9                  What's depicted on the screen in Government Exhibit

          10     1110?

         11      A.    Cellebrite report        9




          12     Q     If you could just remind us what is the Cellebrite report?

          13     A.    It's a report that we get from that application called

          14     Cellebrite which extracts data from the phone              9




          15     Q     Okay    Now at the top just above this section, what does

         16      the header say?

         17      A.    Instant messages     9




          18                  MS. NICHOLAS          Okay   Could you just zoom-in on the

          19     first row.

         20                   (Pause)

          21     Q     I want to begin with the timestamp          9   Can you please read

         22      the timestamp for this message?

         23      A.   May 10, 2021 at 4:30 p.m.

         24      Q     Okay     And under content, the direction, can you read that?

         25      A.    Incoming


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                 NSUAAPER1                        Gutierrez - Direct

           1     Q     The body of the message?

           2     A.    And third through the seventh         9




           3     Q    Moving down a couple rows within this, can you read the

           4     status?

           5     A.    It says status read.

           6     Q     Staying here in row one, can you read the contact name                 9




           7                 MS. NICHOLAS        Excuse me   9   If we could zoom out and

           8     capture that header as well         9




           9                   (Pause)

          10     Q     Who is this message from?

         11      A.   Jamil

          12     Q     What is the phone number associated with Jamil?

          13     A.    16469738605   9




          14                 MS. NICHOLAS        Zoom back out

          15                   (Pause)

         16      Q     Going to the messages below that number two, row two                       Is

         17      this message also from Jamil?

          18     A.    Yes

          19     Q     Can you just read the body of that message?

         20      A.   Moor, we got training in July

          21     Q    What's the status of that message?

         22      A.   Read .

         23                  MS. NICHOLAS        You can zoom back out      9       You can pull

         24      this down.

         25                    (Pause)


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                 NSUAAPER1                        Gutierrez - Direct

           1     Q    Ms. Gutierrez, I want to shift gears for a moment and go

           2     back to talking about the chart that you made              9




           3                 Earlier you testified that you reviewed some documents

           4     and records to put together a chart; is that right?

           5     A.    Yes

           6     Q     And those documents and records were in the binder 411 to

           7     422 and 426?

           8     A.    Yes

           9                 MS. NICHOLAS        Okay        Can you we publish for the

          10     witness Government Exhibit 902          9




         11                  (Pause)

          12     Q    Ms. Gutierrez, do you recognize this document?

          13     A.    Yes

          14     Q    Broadly speaking, what is this?

          15     A.    The char t

         16      Q    Did you create this chart?

         17      A.    Yes

          18     Q    Now in creating this chart did you review information

          19     contained in other documents in evidence in this case?

         20      A.    Yes

          21     Q     Specifically, to create the chart did you review Government

         22      Exhibits 411 to 422 and 426?

         23      A.    Yes

         24      Q    Based on your review of those underlying documents, is the

         25      information contained in Government Exhibit 902 a true and


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                 NSUAAPER1                           Gutierrez - Direct

           1     accurate summary of the information associated with guns

           2     purchased in this case?

           3     A.    Yes

           4                 MS. NICHOLAS            Your Honor, the government offers

           5     Government Exhibit 902          9




           6                 MS • BAHARANYI          Objection, your Honor

           7                 THE COURT       Received .

           8                 (Government's Exhibit 902 received in evidence)

           9                 MS • BAHARANYI           I said "objection", your Honor, but I

          10     think

          11                 THE COURT       No        I heard you     Received .

          12                 MS. NICHOLAS            If you could publish 902     9




          13                 (Pause)

          14     Q     So before we begin talking about content I want to take a

          15     second orient the jury to what's in this chart               9       Before we talk

          16     about any specific columns, can your just explain what this

          17     chart is in very general terms?

          18     A.    It is a chart that reflects some documents that record

          19     firearms transactions       9




          20     Q    Now, when is the last time              let me back up      9     Did you

          21     revise this chart at any point in preparing to testis y?

          22     A.    Yes

          23     Q     When is the last time you revised it?

          24     A.   Yesterday

          25     Q     Were those revisions to reflect evidence that actually had


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                 NSUAAPER1                        Gutierrez - Direct

           1     been admitted at this trial?

           2     A.    Yes

           3                  MS. NICHOLAS       So let's just go over what the

           4     information is in the chart and then we'll get into substance,

           5     okay      Before we dig in, I'm going to have you zoom-in on this

           6     very top row, the darker blue          9




           7                  (Pause)

           8     Q     So, MS. Gutierrez, what I want to do is walk from left to

           9     right and talk about the type of information in each of these

          10     columns       So beginning on the f at let t, that column header says

         11      N-O number    9




          12                  What is in that column?

          13     A.     That's just the number of the transaction for our

          14     reference

          15     Q    Does that come from any form?

         16      A.   No

         17      Q      That's just used for ease of reference?

          18     A.    Yes

          19     Q      The next column date of transfer box 37, 36 first date of

         20      transfer, where did you get that information from?

          21     A.   From the form.

         22      Q     Okay        And what does box 37 and 36 refer to?

         23      A.    So there are two versions of the form in the ATE                9   One is

         24      the older version and one is the new version                   They reflect the

         25      same information but they're just different box numbers                   9   So,


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                 NSUAAPER1                         Gutierrez - Direct

           1     box 37 is the box that had date of transfer in the old form and

           2     box 36 is the box it had date of transfer in the new form.

           3     Q     Okay         Next column is labeled "FOL name".           Where did that

           4     information come from?

           5     A.   Box 33 in both of forms, that would state the same                                9




           6     Q    Next column?

           7     A.    It's the buyer's full name

           8     Q     Where does that come from?

           9     A.   Box one on the old form and box nine on the new form.

          10     Q     Okay         Next column?

          11     A.    It's the manufacturer and caliber of the gun.                              The

          12     manufacturer portion that comes from box 24 on the old form and

          13     box one on the new form.            And then for the caliber portion that

          14     comes from box 28 on the old form and box five on the new form.

          15     Q     Okay   •     Serial number?

          16     A.    That comes from box 26 on the old form and box three in the

          17     new form.

          18     Q     Then the fur thest all the way is labeled            II       II   9

          19     A.    That's Government Exhibit number             It's stamped on the

         20      bottom of the exhibits that I looked at

          21     Q    Does the government exhibit number correspond with the

         22      information from the form?

         23      A.    Yes

         24                       MS. NICHOLAS     Okay   So if you could zoom out and

          25     just zoom in on the header line as well as row one                           9




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                 NSUAAPER1                        Gutierrez - Direct

           1                 (Pause)

           2     Q     If the jury wanted to look for an underlying documents

           3     associated with this transaction, what government exhibit would

           4     they go to?

           5     A.    411

           6                 MS. NICHOLAS         Okay    You can pull that down.

           7                 (Pause)

           8                 MS. NICHOLAS         I want to talk about two of these guns

           9     specifically    9   Could you please zoom-in on row five

          10                 (Pause)

         11      Q    Ms. Gutierrez, I am just going to ask you to read from the

          12     fur thest left column to the fur thest right             9   If you could just

          13     remind us of the column header as you go             9




          14     A.    So this is transaction number five in this chart                      9       The date

          15     it was transferred is July 23, 2020           9   The FOL name is Elite

         16      firearms       The buyer's full name is Keith Anthony Vere en                           The

         17      manufacturer of the weapon is a Global or it's a Glock                          9   And the

          18     caliber is .22 LR.         The serial number is AELY222 and the

          19     underlying document is Government Exhibit 413                9




         20                  MS. NICHOLAS         We can pull that down and whereas

          21     zoom-in next ON row 14       9




         22                  (Pause)

         23      Q     I am going to ask you to DO THE same thing                 9       Just walking

         24      us from left to right with the column headers, if you could

         25      read row 14?


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                 NSUAAPER1                          Gutierrez - Direct

           1     A.     So, in this chart it is transaction number 14             9    The date of

           2     transfer is October 1        I   2020    The FFL was Dick's Pawn Shop

           3     West      The buyer's full name is Keith Anthony Vere en.                The

           4     manufacturer of firearm is Canik and the caliber is .9

           5     millimeter    9   Serial number is 20CB25810        9   And the underlying

           6     record is Government Exhibit 418           9




           7     Q    Ms. Gutierrez, again, did you make any decisions about what

           8     information should be in this chart?

           9     A.   No

          10     Q      Who did?

          11     A.     The prosecutors   9




          12                 MS. NICHOLAS          You can pull this down.

          13                 Your Honor, may we briefly approach?

          14                 THE COURT        All right

          15                 (Continued on next page)

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                 NSUAAPER1                           Gutierrez - Direct

           1                 (side bar)

           2                 MS. NICHOLAS        Your Honor, at this point I plan to

           3     transfer to talking about takes messages from phones used by

           4     other people in Massachusetts           9   I expect there'll be objections

           5     to nearly every document        9     This may be a time for a midmorning

           6     break and perhaps a longer discussion.               I think this would

           7     likely be a lengthy conversation.

           8                 THE COURT:      All right

           9                 (Continued on next page)

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                 NSUAAPER1                          Gutierrez - Direct

           1                 (In Open Court)

           2                 THE COURT:      So, ladies and gentlemen, the counsel has

           3     informed me that there's a legal issue regarding the next piece

           4     of evidence that will probably take 15 minutes to resolve                         9   So

           5     we are going to give you your morning break                    9     He was going to

           6     do it,    since we'd only started a 10:00, I was going to wait a

           7     little later but I think we'll do it now.                      So we'll take a

           8     15-minute break at this time           9




           9                 (Jury not present)

          10                 THE COURT:      You can step down.            I'll see you in 15

          11     minutes

          12                 (Witness not present)

          13                 MS. NICHOLAS           Your Honor, the next series of exhibits

          14     the government is going to offer come from a phone seized from

          15     Jamal Latimer, who your Honor may recall was the leader of the

          16     group during the stop in Massachusetts              9     I am happy to, maybe

          17     the easiest way to do this is to list the exhibits planned to

          18     admit

          19                 THE COURT:      OK •

          20                 MS. NICHOLAS           So we plan to offer 1201, 1202A, 120213,

          21     120213-1, 120213-3, 120213-2, 1 2 0 2 C ,    "Du,       "Et,       "Fu,   12021, 1202J,

          22     1 2 0 4 , 1207A and 1208

          23                 MS • BAHARANYI         Your Honor, if we may have one moment

          24     to review?

          25                 THE COURT:      Yes       Go ahead.


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                 N8UBPER2                           Gutierrez - Direct
           1                 MS • BAHARANYI         Thank you for that moment, your Honor                       9




           2     We understand that the government seeks to admit certain

           3     excerpts of a text message chain.               We don't have objection to

           4     those certain excerpts, so long as the entire chain is actually

           5     admitted to the jury, pursuant to the rule of completeness and

           6     to make sure that the text messages are placed in their proper

           7     context

           8                 So that's what we've explained to the government                               I

           9     believe they have an objection to that                    9




          10                 THE COURT       Okay

          11                 MS. NICHOLAS        Your Honor, for context purposes, 1202

          12     is a group chat between              I believe there are 51 participants

          13     in the chat, all of whom have some affiliation with this Rise

          14     of the Moors group to varying extents                 9       Some people are present

          15     in the chat         Some are par ticipating       9           There are members of

          16     that chat who are subsequently arrested in Massachusetts with

          17     the defendant          That is a very lengthy group chat that meanders

          18     into other areas of more ideology           9     There's parts talking about

          19     kind of the background of the trip that's not                               it's simply

         20      not relevant    9     It's distracting          It's confusing

          21                 What we've done is call out the for portions that are

         22      relevant to the case, and that are standalone explainable on

         23      their f ace         The rule of completeness is all about being able

         24      to understand on its f ace what's happening in a way that's not

         25      misleading, which is precisely what these excerpts do                           9   They


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                 N8UBPER2                         Gutierrez - Direct
           1     are listed A through I, I believe. We've excerpted out portions

           2     relevant to the defendant, relevant to that arrest in

           3     Massachusetts, leaving aside all the other things                 9   We're

           4     talking about a group chat

           5                 THE COURT       I get your point          Anything defense

           6     counsel want to say°

           7                 MS • BAHARANYI       Yes, your Honor            They're seeking to

           8     admit a number of excerpts or clips from this overall chain

           9     which removes the context for the chain, which means it leaves

          10     the jury with a certain impression that this chain is only

          11     about militia training or firearm training              9    When in f act

          12     and I'm sure maybe that's what the government wants to leave

          13     the jury with the impression with                but for f fairness to Lucca,

          14     the jury should see that this is not some group chain that's

          15     talking about firearms and militia and that's what it's about

          16                 This group chain talks about              it's almost like it

          17     functions as a message board for the members of this group                    9




          18     And I think if we only show these portions that the government

          19     considers relevant, what we're doing in f act is just making

         20      these messages even more pre judicial without the proper

          21     context

          22                 THE COURT       All right      So I think this turns on the

          23     interpretation of the rule of completeness which has been

          24     assessed in numerous cases in the past            9    It is not a rule that

          25     says that if one party offers a specific snippet of evidence


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                 N8UBPER2                         Gutierrez - Direct
           1     that the entire context is opened up for the jury's

           2     consideration.       So to give an analogy, if one party sought to

           3     introduce half of a sentence, the other side could demand that

           4     the full sentence be admitted, but couldn't use that as a

           5     device to admit the entire letter that this sentence came from.

           6                 And I don't really understand the force of the

           7     defense's argument in another respect which is that supposing

           8     you had a chat room, and over a course of                  :Ln my

           9     hypothetical         ten days several people on the chat room with

          10     the acquiescence of the others spelled out how they were going

         11      to rob a bank, but the rest of the chat was all about their

          12     social lives, their f favorite movies, their plans for future

          13     happiness or whatever       9   The f act that all that other stuff was

          14     there would not, under the rule of completeness, be, admissible

          15     SO the objection is overruled and the chats will be received.

         16                  MS • BAHARANYI       Your Honor, on that point, I do think

         17      this is closer to the analogy of your sentence where you excise

          18     certain portions of a sentence, it changes the meaning of that

          19     sentence       Here if we're excising certain portions of this

         20      chat, it changes the meaning and the tone             9




          21                 THE COURT       That wasn't your request               Your request

         22      was to put in the whole thing, that's what you specifically

         23      asked for       That's what I'm denying           Now if you think there's

         24      a par ticular chat where the exact context is not being

         25      f faithfully presented because another sentence that follows


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                 N8UBPER2                         Gutierrez - Direct
           1     immediately is left out or something like that, that's a

           2     different story, but that wasn't your argument

           3                 MS • BAHARANYI       Your Honor, my comment about the

           4     sentence was just to analogize the entire chat

           5                 THE COURT        I understand you're arguing for the entire

           6     chat     And for the reasons I just said, I'm not persuaded.

           7                 MS • BAHARANYI       This is a conspiracy case, and the

           8     government is alleging that these conversations between these

           9     individuals are conversations in furtherance and related to

          10     this conspiracy         What they're f ailing to do is provide the

          11     full context so that the conversations could be fully

          12     understood.

          13                 THE COURT:       I go come back to what I said before       9




          14     Supposing you had a conspiracy to rob a bank and to help

          15     someone get the best dinner         9    The conspiracy to help the other

          16     person help get the best dinner would not be chargeable as a

          17     crime, but there's no reason why that would be at all relevant

          18     to the portion of the chat that talked about how the

          19     conspirators are going to rob a bank            9   So I am unpersuaded and

          20     the objection is overruled.             So we'll take a five-minute break

          21     in case anyone needs it.

          22                 MS. NICHOLAS        Your Honor, if I may          That's only one

          23     of the three series      9




          24                 MS • BAHARANYI       In light of that, your Honor, then we

          25     do have objections to the specific text that are going to be


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                 N8UBPER2                           Gutierrez - Direct
           1     admitted without any context, SO I think we should review

           2     those

           3                 THE COURT:      Okay

           4                 (Pause)

           5                 MS • BAHARANYI         Your Honor, there's one particular

           6     text message that we believe the government is seeking to admit

           7     1202J which I think we can pull up           9   The text itself is on the

           8     last page of that      9




           9                 THE COURT:      I have to pull it up      9




          10                 MS • BAHARANYI         This is an example of a text with

          11     absolutely no context       9




          12                 THE COURT:      So the text just for the record says

          13     this is from Mr. Jammal Abdullah Bey, How f as is that from

          14     Brooklyn or the Bronx?          We have Moors in both areas           9    So I

          15     guess my question to government counsel is, what's the

          16     relevance of this?

          17                 MS. NICHOLAS        It establishes that there's members of

          18     this conspiracy, the Moors, in both Brooklyn and the Bronx                        9




          19                 THE COURT:      When have you         maybe I missed it.              When

          20     has there been any reference up to now to the Moors?

          21                 MS. NICHOLAS        I think we had our first direct Moors

          22     reference during one of the earlier text messages                         I do think

          23     it's now been made clear, and will be certainly by the end, by

          24     the end of the text messages it will be clear that these people

          25     in Massachusetts called themselves the Moors              9   If you also


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                 N8UBPER2                          Gutierrez - Direct
           1     recall, your Honor, in the first body worn camera when the

           2     defendant is approached in the Bronx, his first statement to

           3     the police is, I'm a Moor            I'm a Moor         Don't touch that           I'm

           4     a Moor   9




           5                  THE COURT      The point is         forgive the bad pun

           6     without more         that would have been meaningless to the jury at

           7     the time it was said.           He might have been analogizing himself

           8     to Othello, so we need greater detail before the jury can

           9     appreciate what is meant by Moors there             9




          10                  MS. NICHOLAS        I think one of the concerns, your

         11      Honor, is in their opening defense counsel alluded to I think

          12     they use trace, right       9    You can't trace the guns in

          13     Massachusetts back to New York, and part of the government's

          14     theory here is that

          15                  THE COURT      You've answered it.             I think it is

         16      relevant now that I know what will be in the other messages

         17      about the Moors          That was really what gave me pause on this                9




          18                  MS • BAHARANYI       Your Honor, we're certainly not

          19     contesting that Lucca is in New York City               9     This in our view is

         20      cumulative       We're not quite sure what additional value it adds

          21     to the evidence that's in.

         22                   THE COURT      It shows that the conspirators include

         23      someone in Brooklyn or the Bronx, and of course that is

         24      relevant to establishing that              with other evidence              that

         25      the defendant is part of the conspiracy             9




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                 N8UBPER2                         Gutierrez - Direct
           1                 MS • BAHARANYI       The government hasn't put forth any

           2     evidence that the conspiracy              I guess the size of the

           3     conspiracy overlaps with the size of Moors, the Moorish

           4     community       There seems to be a conflation of the two here                 9




           5                 THE COURT       N o , I think Moors here            that's why I

           6     raised the question I did before          9   Moors is a term of art in

           7     this case, and it refers to a par ticular group; namely, the

           8     group that's putting all these messages out                 9   This is not a

           9     reference to their place of origin or anything like that                   9       It's

          10     a term of art     9




          11                 MS • BAHARANYI       That applies to a group broader, much

          12     broader, than what the government                   the conspirators in this

          13     case, or the alleged co-conspirators            9     It's a term of art that

          14     applies to thousands across the nation.                   I think what's

          15     misleading about this is where                I think the government is

          16     seeking to introduce this as evidence that we have these other

          17     alleged co-conspirators in this area, in both areas, and

          18     there's no basis or context for them to say that when this text

          19     message on its f ace just refers to Moors, not Rise of the

          20     Moors, not our Moorish militia, Moors generally                  9




          21                 It's as if saying, we have Americans in this area, now

          22     we're assuming it applies to all these people instead of a

          23     par ticular subset that we're looking at              9    It's an identifier

          24     for individuals

          25                 MS. NICHOLAS        Context is important here, your Honor                9




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                 N8UBPER2                             Gutierrez - Direct
           1     This is Jammal Abdullah Bey, the self-appointed leader of the

           2     group who introduces the group in a video in evidence refers to

           3     the men in that convoy as "My men.            II




           4                 And here he is saying " We have Moors in both areas                   II




           5     Not, there are Moors in both areas                     There are Moors all over

           6     the country       9    We, the members of this group that is planning

           7     this trip in this chat have Moors in both areas                     9




           8                 MS • BAHARANYI           In a chat that we can't even get the

           9     whole text message in.

          10                 THE COURT         I understand the defense's objection, but

         11      I think this passes the modest requirements of relevance

          12     based       as the government I think correctly pointed out

          13     that the words " We Have" coming from this particular person

          14     could reasonably be inferred to be a reference to the

          15     conspirators, SO the objection is overruled.                       Can we bring the

         16      jury in or does anyone need a break?

         17                  MS. NICHOLAS            I think we still have two phones to go,

          18     your Honor    9       They're much smaller         I'm not sure if there are

          19     other 1200 series objections?

         20                  MS • BAHARANYI          No, we've raised them.

          21                 MS. NICHOLAS            So the 1300 series, your Honor         9   This

         22      is a phone belonging to Quinn Cumber lander who is another

         23      individual arrested in Massachusetts               9    We're offering

         24      Government Exhibit 1301         9




         25                  THE COURT         Before we go any fur then, because


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                 N8UBPER2                                 Gutierrez - Direct
           1     yesterday the defendant had a need for frequent breaks                       9        I

           2     don't want to have him not take a break now and tell me 15

           3     minutes later that he needs a break                 9     So if he needs a break,

           4     take it now.

           5                 MS • BAHARANYI               We took our break, right when we

           6     started our argument          9




           7                 THE COURT:            I see      Okay       Very good.   Thank you                 Go

           8     ahead .

           9                 MS. NICHOLAS             For the 1300 series, which is the Quinn

          10     Cumber lander phone, is 1301, 1 3 0 2 A , 1 3 0 3 A , 13038 and 1303C                     9




          11     And from the 1400 series which is the Tarrif Bey phone, I

          12     believe we're just offering 1402A.

          13                 THE COURT:            Okay .    Objections?

          14                 MS • BAHARANYI               Your Honor, we're just taking a look

          15     at the specific exhibits             9




          16                 THE COURT:            Take your time    9




          17                 (Pause)

          18                 MS • BAHARANYI               Your Honor, thank you for bearing with

          19     us just sorting through different excerpts and clips                     9       The two

         20      objections that we have to the proposed government exhibits are

          21     for 1302A and 1402A, which I think we can pull up on the screen

         22      for your Honor      9




          23                 MS. NICHOLAS             Your Honor, we may be able to short

          24     circuit this    9       I think the government's primarily interested

          25     here in admitting the contact list in these two exhibits                          9           And


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                 N8UBPER2                         Gutierrez - Direct
           1     if you could bear with us for a few moments, your Honor, I

           2     would be happy to redact the messages if that satisfies defense

           3     counsel

           4                 MS • BAHARANYI         That would be fine for us      9




           5                 THE COURT:      Okay     Great     Anything else?

           6                 MS • BAHARANYI       Not on our part     9




           7                 THE COURT:      Let's bring in the jury

           8                 MS. NICHOLAS        Your Honor, may we have a moment to

           9     redact those exhibits before we admit that?

          10                 THE COURT:      Do that now and tell me when you're ready

          11                 (Pause)

          12                 MS. NICHOLAS        Your Honor, I believe the parties are

          13     prepared to proceed.

          14                 THE COURT:      Okay     Let's get the witness, and let's

          15     bring in the jury

          16                 THE DEPUTY CLERK:        Jury entering the courtroom.

          17                 (Jury present)

          18                 THE COURT:      Please be seated.       Please continue   9




          19                 MS. NICHOLAS        Thank you, your Honor          Welcome back   9




          20                 Briefly we're going to set aside the defendant's

          21     phone, and I want to turn briefly to Government Exhibit 1003                  I




          22     which again is a stipulation.

          23                 In that stipulation Government Exhibits 1201 through

          24     1210,   including all subparts, are true and accurate copies of

          25     data extracted from the Latimer i phone 8            9




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                 N8UBPER2                         Gutierrez - Direct
           1                  per paragraph three, On July 3rd of 2021, law

           2     enforcement officers arrested, among other people, Jammal

           3     Latimer, aka, Jammal Abdullah Bey.

           4     BY MS. NICHOLAS

           5     Q    I'm going to turn to that manila folder the Red veld there

           6     that has a sticker on it that says 1200 series               9




           7                  Do you see that?

           8     A.     Yes

           9                  MS. NICHOLAS       At this time, your Honor, the

          10     government offers 1201, 1202A, 12028, 120281, 120282, 120283,

          11     12020, 12029, 1202E, 12029, 12021, 1202J, 1204, 1207A, and

          12     1208

          13                  THE COURT:     So all the objections made outside the

          14     presence of the jury are preserved but overruled and the

          15     exhibits are received.

          16                  (Government's Exhibits 1201, 1202A, 12028, 120281,

          17     120232, 120233, 12020, 12029, 12029, 12029, 12021, 1202J, 1204,

          18     1207A, and 1208 received in evidence)

          19     BY MS. NICHOLAS |   9




          20     Q    Mr. Abuja, if you can please publish what's now in evidence

          21     as Government Exhibit 1201         9   If you could please zoom in on the

          22     row begins with Apple ID.

          23                  Ms. Gutierrez, if you could just read for us what it

          24     says for Apple ID?

          25     A.   Latimer, L-A-T-I-M-E-R, 417@qmail.com.


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                 N8UBPER2                         Gutierrez - Direct
           1     Q     Zooming out, Mr. Abuja, and zooming back in on last hotspot

           2     activity

           3                   And, Ms. Gutierrez, if you could read that date stamp

           4     please?

           5     A.    It says July 3    I   2021 at 6:53 p.m.

           6     Q     Thank you      Mr. Abuja, we're going to publish what's now in

           7     evidence as Government Exhibit 1202A.

           8                 Ms. Gutierrez, you have a hard copy of these in front

           9     of you as well if that's easier to reference

          10                 Now, 1202A in general terms, can you describe what

         11      1202A?

          12     A.    It's a Cellebrite report       9




          13     Q     What type of information does this par ticular Cellebrite

          14     report capture?

          15     A.   Par ticipants in a group chat        9




         16      Q     You said a group chat, are you f amiliar with group chats?

         17      A.    I am.

          18     Q     What's a group chat in plain terms?

          19     A.   it's hard to describe without calling it a group chat            9   You

         20      can text a bunch of people in one group setting                9




          21     Q     So going through, Mr. Ahuja, if you could, the first three

         22      pages

         23                  What type of information is captured in the first

         24      three pages of this exhibit?

         25      A.    Contacts


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                                                                                                409

                 N8UBPER2                         Gutierrez - Direct
           1     Q     Are those the participants in this par ticular chat?

           2     A.    Yes

           3     Q     And then after that, Mr. Abuja, if you could flip through

           4     the next three pages       9




           5                 What type of information is contained in those pages?

           6     A.    They're messages

           7     Q    Before we get into the substance of the message, Mr. Abuja,

           8     if you could go back to the previous page             9




           9                 Ms. Gutierrez, if you could orient the jury, how can

          10     you tell who's speaking?

         11      A.    At the top it says from Jammal Abdullah Bey, owner              9   That ' s

          12     who's speaking         It's also the owner of a phone on the right in

          13     green •

          14     Q     Mr. Abuja if you could zoom in where it says llfrOmll there

          15     at the top       That's how you know who sent that message?

         16      A.    Yes

         17      Q     And then is it same for the blue boxes?

          18     A.    Yes

          19     Q     You could zoom in there, and zoom back out

         20                  And again just to orient without getting into the

          21     substance, how can you tell when these messages were sent°

         22      A.    There's data at the bottom of the message that says the

         23      date and time

         24      Q     And, Mr. Abuja, if you could please zoom in on just below

         25      the message where it says source info, that section.


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                 N8UBPER2                         Gutierrez - Direct
           1                 Based on this information, are you able to tell what

           2     application these messages were exchanged in?

           3     A.    Yes

           4     Q     How can you tell?

           5     A.    It says Telegram data, so it would be from the Telegram

           6     messaging app     9




           7     Q    Mr. Abuja, let's go back to the first message in this

           8     exhibit Government Exhibit 1202A.             If you can zoom in on that

           9     whole box   9   Make it a little bit bigger         9   Thank you

          10                 I'm going to ask you to just read through this,

         11      Ms. Gutierrez, if you can start just by reading who this

          12     message is from?

          13     A.    It's from Jammal Abdullah Bey.

          14     Q     What's the phone number associated or the Telegram number

          15     associated?

         16      A.    It's 1608832021

         17      Q     And just below that I'm going to have you mean the content

          18     of that message beginning with operation?

          19     A.    Operation Fountainhead.

         20                  July 3rd through 7th, 2021, Packing List

          21                 Firearm, ammunition, 4-30-round magazines, rifle

         22      cleaning kit, plate carrier with level III plus SAPIS; IFAK is

         23      divide all first aid kit, Kevlar, boots, tent, daysack,

         24      sleeping bag, Isomat, sleeping pad, hygiene wipes and toilet

         25      paper, toothbrush, toothpaste, E-tool, small shovel, Woodland


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                                                                                             411


                 N8UBPER2                          Gutierrez - Direct
           1     BDUS, camelback hydration backpack, socks, underwear, BAOFENG,

           2     uv,   5R twoway radio, minimum of 320 ounces of potable water,

           3     compass, 3.5 days worth of food, fire starters, fire

           4     extinguishers, a fire watch list needs to be created.                 A

           5     personnel list needs to be created.             FIAT will need to be

           6     collected for gas        9




           7                 What we need volunteers for            Two drivers, two RSOS,

           8     range safety officer, designated medic and cooks                9




           9     Q     Mr. Abuja, if you could zoom out and go to the next page,

          10     and I want to zoom in on that blue message at the bottom.

          11                 Here I just want to have you read beginning below

          12     Salaam.     It starts with East Coast, if you could read from

          13     there?

          14     A.    East Coast operation Fountainhead; training dates July 3rd

          15     through July 7     9     Checklist provided, meeting point NAHIGANSETT

          16     territory, C.0.0, Commander of operation, BRATHA, Talib,

          17     Jammal

          18     Q     We can stop right there. Can you read the time and date

          19     stamp for this message?

          20     A.    6/22/2021 at 9:08 p.m.

          21     Q     Mr. Abuja, if you can zoom out and go to the next page

          22     please

          23                 Ms. Gutierrez, does this look f amiliar?

          24     A.    Yes

          25     Q     What does this appear to be?


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                 N8UBPER2                           Gutierrez - Direct
           1     A.    The same message I read previously with the packing list               9




           2     Q     And what's the date and time on this message?

           3     A.   June 28, 2021 at 7:13 a.m.

           4     Q    Mr. Abuja, you can pull this one down.                  I'd like now to go

           5     to what's in evidence as Government Exhibit 12028                     9




           6                     Before we talk about the content of 12028, have you

           7     reviewed 12028?

           8     A.    Yes

           9     Q    Mr. Ahuja, if you could flip through the first three pages

          10     of 120213   9




         11                      Were you able to compare 1202A to 12028 as well as the

          12     rest of the 1202 series?

          13     A.    Yes

          14     Q     What did you notice?

          15     A.    It's the same group chat, but with different contact names                  9




         16      Q     Well, let's back up           Going back to 1202A for a moment,

         17      halfway down the slide, Mr. Abuja

          18                     Do you see where it says owner        9   Per the stipulation,

          19     1202A comes from Latimer's phone

         20                      Mr. Abuja, then if we could go to 12028, halfway down

          21     if you could zoom there        9   Listing Jammal Abdullah Bey as in the

         22      stipulation as the owner of this phone            9       Is 12028 a

         23      continuation of 1202A?

         24      A.    Yes

         25      Q     Going back to the chat        9   Mr. Abuja, if you could please go


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                 N8UBPER2                         Gutierrez - Direct
           1     to the first set of messages in this chat.

           2                 Ms. Gutierrez, are those large enough for you to be

           3     able to read?

           4     A.    Yes

           5     Q     Who sent each of these messages?

           6     A.    The owner of the phone       9




           7     Q     Can I have you read that first message, and then we'll stop

           8     for a second.

           9                 So the time and date stamp on that first message?

          10     A.   June 12   I   2021 at 9:41 a.m.

         11      Q    If you could read that message          9




          12     A.    The mission of the marine corps rifle squad is to locate,

          13     close with and destroy the enemy by fire and maneuver or to

          14     repel the enemies assault by fire and close combat                 9




          15     Q     The next two messages, what do those contain?

         16      A.    They're links

         17      Q     Can you tell to what webpage?

          18     A.    It is to Wikipedia for a page called Fire and Movement           9




          19     Q    Mr. Abuja, you can go to what's marked as page seven of

         20      this document         If you can make the top set of messages just a

          21     little larger so they're easier to read.

         22                  Ms. Gutierrez, if you could again clarify who's

          23     sending these three messages?

         24      A.    The owner of the phone       9




         25      Q     And who is that?


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                 N8UBPER2                           Gutierrez - Direct
           1     A.   Jammal Abdullah Bey       9




           2     Q    Can you read the two text messages?

           3     A.    We could have five platoons with the same amount of people

           4     in this group        That's damn near a company            A company is a

           5     military unit typically consisting of 80 to 250 soldiers and

           6     usually commanded by a major or a captain.

           7                 Most companies are formed of three to six platoons,

           8     although the exact number may vary by country, unit, type and

           9     structure   9




          10     Q    What's in the message sent at 10:01 a.m.°

         11      A.    I think emoji

          12     Q     What's an emoji?

          13     A.   Little pictures that you text with           9




          14     Q     Mr. Abuja, if you could zoom out and zoom in on the bottom

          15     half of the page      9




         16                  What's the name of the individual who responds?

         17      A.    In the blue?

          18     Q     In the first blue box, the message at 10:01:32 a.m., who's

          19     that from?

         20      A.    Quinn .

          21     Q     And then the message received at 10:01 a.m.?

         22      A.    Tariff

         23      Q     And the last name?

         24      A.   Bey

         25      Q     And then the text sent from Jammal Abdullah Bey at


                                     SOUTHERN DI STRICT REPQRTERS I P C     9   9

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                                                                                           415

                 N8UBPER2                         Gutierrez - Direct
           1     10 03 07, what does that say?

           2     A.    This Could Be Us

           3     Q     And what follows that?

           4     A.    A link to You Tube    9




           5     Q    Ms. Gutierrez, did you review this chat before testifying

           6     today?

           7     A.    Yes

           8     Q     And did you have an opportunity to visit that link?

           9     A.    I did.

          10     Q    Mr. Abuja, if you could please publish what's in evidence

          11     as Government Exhibit 12028-1          9




          12                 Ms. Gutierrez, what is Government Exhibit 12028-1?

          13     A.    It's a screenshot

          14     Q     Are you f familiar with the screenshot?

          15     A.    Yes

         16      Q    Why?

         17      A.   Because I took it.

          18     Q     Where did the screenshot come from?

          19     A.    The screenshot of the page that appears when you type in

         20      that link from the messages that we just talked about                 9




          21     Q     So you visited the link in the message, it directed you to

         22      this page?

         23      A.    Yes

         24      Q     Can you read the title of the video?

         25      A.   U.S. marines military tactics, fire and movement


                                     SOUTHERN DI STRICT REPQRTERS I P C     9   9

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                 N8UBPER2                            Gutierrez - Direct
           1     Q    Mr. Abuja, if we could go back to Government Exhibit 12028               9




           2     I'm going to move to page ten of this document                 9




           3                 Ms. Gutierrez, as this conversation continues, are

           4     there additional links that are sent?

           5     A.    There are

           6     Q    Mr. Abuja, if you can zoom in on the bottom half, the green

           7     messages, those three       9




           8                 Did you have a chance to review these links before

           9     testifying today?

          10     A.    Yes

         11      Q     The first link, what time was that message sent?

          12     A.    7:04 p.m. on June 12      I    2021

          13     Q    Mr. Abuja, could you please publish what's in evidence as

          14     Government Exhibit 12028-2           9




          15                 Ms. Gutierrez, do you recognize this°

         16      A.    Ido
         17      Q     What is this?

          18     A.    It's a screenshot of the webpage that                the link that we

          19     just discussed brings you to when you type it into Google              9




         20      Q     Mr. Abuja, could you please return to Government Exhibit

          21     12028, and right back to where we were on page ten.

         22                  Did you also have an opportunity to visit the link at

         23      the bottom of the screen?

         24      A.    I did.

         25      Q     That was sent at 7:08:05 p.m.?


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                 N8UBPER2                         Gutierrez - Direct
           1     A.    Yes

           2     Q    Mr. Abuja, could you please publish what's in evidence as

           3     Government Exhibit 12028-3         9




           4                 Ms. Gutierrez, do you recognize this°

           5     A.    Ido
           6     Q     What's the name of the website in the top left-hand corner?

           7     A.    Army property.com store          9




           8     Q     What's shown in the slide?

           9                 What's the header in the slide?

          10     A.   Do you mean the M23?

         11      Q     If you can begin reading at M23              9




          12     A.   M23 blank firing adapter BFA, yellow, NSN, 1005-01-361-8208

          13     for M4/M4A1 rifle      9




          14     Q    Do you see where it says product description?

          15     A.    Yes

         16      Q     Can you begin reading where it says fits over?

         17      A.   Fits over the muzzle of the weapon and capture gas to make

          18     the weapon function and cycle with blank ammunition.                  Easy to

          19     install and does not alter the weapon.

         20      Q    Mr. Abuja, if we could return to 12028, go to page 11               9




          21                 If you could, Mr. Abuja, if you could just zoom in on

         22      those top two green messages               9   Make them a bit easier to reed

         23                  Ms. Gutierrez, can you read those two messages sent by

         24      Jammal Abdullah Bey?

         25      A.    If any Moors would like to coordinate to order blanks and


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                 N8UBPER2                             Gutierrez - Direct
           1     the blank firing adapter for your training event in July that

           2     would be great       9




           3     Q     And the next message?

           4     A.    With those we can practice firing and maneuvering against

           5     each other, practice ambushes, assault fighting positions, etc               9




           6     Q     Zoom out   9       And, Mr. Abuja, just zooming in on the last

           7     message on that screen.

           8                 The message received at 8:10:55 p.m. on 6/12/2021, Ms

           9     Gutierrez, could you please read that            9




          10     A.    We may need more than 1,000 blanks though             9




         11      Q     Mr. Abuja, if you could zoom out               We're next going to move

          12     to Government Exhibit 1202C, which per the stipulation is still

          13     from the Latimer phone           9




          14                 Ms. Gutierrez, is this a continuation of the same

          15     group chat?

         16      A.    Yes

         17      Q    Mr. Abuja, if we could go to page four, please, and just

          18     zoom in on the whole top half of the screen.

          19                 Before we read the content, I just want to clarify

          20     who's par ticipating in this conversation.                So that blue message

          21     on the left side of the screen, who is that from?

         22      A.   Jamil Rasul Bey         9




         23      Q     Can you read the phone number associated with that name?

         24      A.    1586131769     9




         25      Q     And the green message?


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                 N8UBPER2                           Gutierrez - Direct
           1     A.    Is from Jammal Abdullah Bey, and the number is 1608832021                  9




           2     Q    If you could please read that blue message?

           3     A.   Lucca has been abducted on "weapon charges" not sure what

           4     was the PC on why they even stopped him.

           5     Q     And then down to the message sent at 6:58:23 a.m., who's

           6     that from?

           7     A.    It's from Jammal Abdullah Bey

           8     Q     What does that message say?

           9     A.    There's an PDF attachment

          10     Q     And then the next message?

         11      A.    When is his date?       Is he held without bail?             How much is

          12     the bail

          13     Q    Mr. Abuja, if you could pull that off and move to 1202D,

          14     page four, please

          15                 Ms. Gutierrez, this is a continuation of the same

          16     group chat?

         17      A.    Yes

          18     Q     And again, before we get into content, these four blue

          19     messages, who were those sent by°

          20                 Mr. Abuja, if you could zoom in on the "from,               II




          21     A.    The contact name is AJ        9




         22      Q     And the phone number?

          23     A.    910443941

         24      Q     Who were those sent to?

          25     A.   Jammal Abdullah Bey       9




                                     SOUTHERN DI STRICT REPQRTERS I P C     9   9

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                 N8UBPER2                                 Gutierrez - Direct
           1     Q      If you could read the blue.               I will read the green

           2     beginning with the message on June 24, 2021 at 9:49:09 a.m.

           3     A.     " We are currently waiting for him to let us know.                They're

           4     trying to hit him with weapons charges though and appreciate

           5     :L t    Of course the pigs won't tell us what he was arrested for                  9




           6     Q      "Of course not              War is deception.

           7     A.     "Facts.        We will keep you updated as soon as we get some

           8     more info       II




           9     Q      Mr. Abuja, you can pull that down.

          10                 Mr. Abuja, if you want to pull up 1202E, moving to

         11      page four   9        Again on the right the owner of the phone is listed

          12     as who?

          13     A.     On the right it's Jammal Abdullah Bey

          14     Q      The first two blue messages here, who are those from.

          15     A.     Jamil Rasul Bey         9




         16      Q      And the phone number?

         17      A.     1586131769      9




          18     Q      You can pull that down.               Going to the next page, Mr. Abuja

          19                 The first message, who's that from?

         20      A.     Jammal Abdullah Bey           9




          21     Q      And what does that message read?

         22      A.     Y'all need to be in RI                It's less of a threat

         23      Q      You can zoom back out, and zoom in on the response, the

         24      last two in the blue

         25                  Before you read the messages, who's the first one


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                 N8UBPER2                           Gutierrez - Direct
           1     from?

           2     A.   Jamil Rasul Bey

           3     Q    Can you read that message?

           4     A.    Salaam.    GS      You are right         9   By September I would be out

           5     there

           6     Q     You can pull that down, please               9




           7                 Mr. Abuja, if you can publish what's in evidence as

           8     1202J, and go to page four, please

           9                 Who's this message from?

          10     A.   Jammal Abdullah Bey       9




         11      Q     Can you just read the message, please?

          12     A.    How f as is that from Brooklyn or the Bronx                 9       We have Moors

          13     in both areas     9




          14     Q    Pull that down.

          15                 MS. NICHOLAS           Your Honor, may I have one moment°

         16                  THE COURT:      Yes

         17      Q    Mr. Abuja, if you could publish what's in evidence as

          18     Government Exhibit 1208        9




          19                 Ms. Gutierrez, what are we looking at in 1208?

         20      A.    It's a Cellebrite report         9




          21     Q     And just above the information there's a header that says

         22      notes      What does that mean?

         23      A.    It comes from a notes app            9




         24      Q    Let's begin by talking about when this was created.

         25                  Mr. Abuja, if you could please zoom in on the


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                 N8UBPER2                         Gutierrez - Direct
           1     information in the column labeled time.

           2                 When was that note created?

           3     A.   June 22 I     2021, at 2:39 p.m.

           4     Q     You can zoom back out, please         9   And zoom in on the notes

           5     column •    What's the title of this note?

           6     A.    Operation Fountain Head.

           7     Q     After summary, what does it say?

           8     A.   Plan of execution.

           9     Q     After source?

          10     A.   Notes

          11     Q     And then beginning where it says, "body,            II
                                                                                if you could just

          12     read that first line?

          13     A.    Operation Fountain Head, 7/3 to 7/7

          14     Q     And then I'm going to have you read the section beginning

          15     with plan of execution, and ending with 2345 hours                 9




          16     A.   Plan of execution.

          17                  Gear check, noon on Friday at the field, load vehicles

          18     at 1500 hours, stage vehicles between 1530 and 1630, establish

          19     drivers and A-drivers, go over safety brief for if we are

          20     pulled over    9   Leave at 2345 hours      9




          21                  (Continued on next page)

          22

          23

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                 N8UAAPER3                          Gutierrez - Direct

           1     BY MS. NICHOLAS

           2     Q     Then the next section, we'll start at upon arrival and end

           3     at

           4     A.   Upon arrival ETA 5:45 hours, establish birthing area,

           5     establish designated hygiene area, establish designated head

           6     area, unload the vehicles, camouflage the vehicles and burning

           7     area, establish chain of command, establish two-man fire wash

           8     list, establish designated cooks, establish a range safety

           9     officer and establish armor                9




          10     Q     The next section beginning with "safety briefs" and ending

          11     with "hospital"

          12     A.    Safety brief, weapon safety rule, pick a battle buddy and

          13     stay with them at all times, establish a designated person who

          14     in the case of emergency will take the injured person to a

          15     hospital    9




          16                     MS. NICHOLAS     Pull that down.

          17                     (Pause)

          18     Q    Ms. Gutierrez, a few moments ago we talked about Government

          19     Exhibits 120281        I   B2 and BE            Do you see those in front of you?

         20      A.    Yes

          21     Q    Were those screen shots of what pages you personally

         22      visited?

         23      A.    Of the

         24      Q     Take a look the 120281           I       B2 and BE   9




         25      A.    Yes        Yes


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                 N8UAAPER3                        Gutierrez - Direct

           1     Q    Did the links from those web pages come from the chat

           2     messages that you reviewed?

           3     A.    They did.

           4     Q    Did you personally create those screen shots?

           5     A.    I did.

           6     Q     Setting aside those 100 series, I want move to the folder

           7     that has 1300 series on it.           Do you see that?

           8     A.    Yes

           9     Q    Returning to the stipulation briefly that's Government

          10     Exhibit 1003    9   In Paragraph Three, on or about July 3 of 2021

          11     law enforcement officers arrested, among other people, Quinn

          12     Cumber lander, a/k/a "Quinn Khabir".             On page two, Paragraph

          13     Seven, Government Exhibits 1301, 1304 including all subparts

          14     are true and accurate copies of data extracted from the

          15     Cumber lander phone 9

          16                 MS. NICHOLAS        Turning now to 1302A already in

          17     evidence        If I can please publish Government Exhibit 1302A.

          18                 (Pause)

          19     Q    Did you have an opportunity to review this report?               And

          20     again, you do have the hard copies if you want to take a closer

          21     look?

          22     A.    I did.

          23                 MS. NICHOLAS        Your Honor, apologies      9




          24                 Pull this down.

          25                 The government offers 1301, 1 3 0 2 A , 1 3 0 3 A , 13038 and


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                 N8UAAPER3                        Gutierrez - Direct

           1     1303C 9

           2                 THE COURT:      Yes, subject to the previous rulings on

           3     the objections, those are received.

           4                 (Government's Exhibits 1301, 1 3 0 2 A , 1 3 0 3 A , 13038 and

           5     1303C received in evidence)

           6                 MS. NICHOLAS        Go back to 1302A.

           7     Q     A moment ago you testified that you had a chance to review

           8     this par ticular government exhibit          9




           9     A.    Yes

          10                 MS. NICHOLAS        Could you place this side by side with

          11     what's in evidence as Government Exhibit 1202A.

          12                 (Pause)

          13     Q    Did you have an opportunity to compare these two Government

          14     Exhibits 1202A from the Latimer phone and 1302A from the

          15     Cumber lander phone?

          16     A.    Yes

          17     Q     What is you notice?

          18     A.    They're the same group chat        9




          19     Q    Did you notice any differences?

          20     A.   No

          21     Q    Did you notice any differences as to the contacts?

          22     A.    Oh, sorry       The contacts are named differently but they're

          23     the same numbers that are in the group chat              9




          24     Q     We are going to come back to that in a moment              9




          25                 MS. NICHOLAS        If you could please publish what's in


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                 N8UAAPER3                        Gutierrez - Direct

           1     evidence as Government Exhibit 1303C            9




           2                 (Pause)

           3                 MS. NICHOLAS        If you could begin by zooming in on the

           4     participant section at the top of this report              9




           5     Q    Ms. Gutierrez, if you could read who is participating in

           6     this chat?

           7     A.    AJ Moore and BROX and Quinn Khabir El           9




           8                 MS. NICHOLAS        If you could zoom out and then zoom-in

           9     on the messages please

          10     Q     The first blue message, can you read who it's from?

         11      A.    AJ

          12     Q    Read the whole line please beginning with "ring" 9

          13     A.    910443941 and it's AJ Moore BROX

          14     Q     What's the time and date that message is received?

          15     A.   June 29, 2021

         16      Q     And the time?

         17      A.   12:26 a.m.

          18     Q     Can you read the whole thing please?

          19     A.   6292021   I   12:26:31 a.m. UPC minus four

         20      Q     What does that message say?

          21     A.    Yo, downward signal

         22      Q     The next message?

         23      A.    Salem.

         24      Q     The message that follows?

         25      A.   More private     9




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                 N8UAAPER3                        Gutierrez - Direct

           1                   MS. NICHOLAS      If you could please pull up Government

           2     Exhibit 1303A.

           3                    (Pause)

           4     Q      Before we get into the messages focusing on the participant

           5     section just read the names of two people participating in this

           6     chat?

           7     A.     AJ Moore BROX and Quinn Khabir El          9




           8                   MS. NICHOLAS      Okay        Going to page three of this

           9     chat, like start with the first green message and highlight

          10     that whole section of the page          9




         11                     (Pause)

          12     Q      I would like you to read the green messages from Quinn

          13     Khabir El and I will read the blue from AJ Moor BROX, the

          14     firsts message at 11:13:23 a.m.?

          15     "A.     Lucca?

         16       HQ.    Yeah, they abducted him, bro

         17      "A.     WTO

          18                   MS. NICHOLAS      You can pull that one down.

          19                    (Pause)

         20      Q      I'm going to ask you to set that set of documents to the

          21     side         I want to have you find the folder that's labeled "1400

         22      series".

         23                     (Pause)

         24      Q      Did you find that?

         25      A.     Yes


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                 N8UAAPER3                        Gutierrez - Direct

           1     Q    Returning briefly to stipulation which is Government

           2     Exhibit 1003 in Paragraph 3 on or about July 3rd, 2021 law

           3     enforcement officers arrested, among other people, Aaron Lamont

           4     Johnson, a/k/a?

           5     A.    Tarrif Bey       On page two, Paragraph 8 Government Exhibits

           6     1401,   1403,   including all subparts true and accurate copies of

           7     data extracted from the Johnson phone            9




           8                 MS. NICHOLAS        You can pull that down.

           9                 At this time, your Honor, the government offers

          10     Government Exhibit 1402A.

          11                 THE COURT:       Subject to the previous rulings, received.

          12                 (Government's Exhibit 1402A received in evidence)

          13     Q    Did you have an opportunity to review this Cellebrite

          14     report?

          15     A.    I did.

          16                 MS. NICHOLAS        Can you place this side by side with

          17     Government Exhibit 1302A.

          18                 (Pause)

          19     Q     A moment ago you testified that 1202A and 1302A were from

          20     the same group chat      9   Did you also have the opportunity to

          21     compare 1302A and 1402A?

          22     A.    Yes

          23     Q     What did you notice?

          24     A.    Again, it's the same group chat but with different contact

          25     names


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                 N8UAAPER3                             Gutierrez - Direct

           1                 MS. NICHOLAS          So, I want to go back to comparing

           2     1202A and 1302A and then we'll bring back 1402A.                   So, if we can

           3     to start by displace 1202A and 1302A on the right

           4                 (Pause)

           5                 MS. NICHOLAS          In 1202A if you could please highlight

           6     the phone number that ends in 1769 it may help to zoom-in on

           7     this par ticular number as well on the first page please                9




           8                 (Pause)

           9     Q    How is 1769 can you read the full phone number the name

          10     please?

         11      A.    1586131769    9




          12     Q     And the name?

          13     A.   Jamil Rasul Bey.

          14                 MS. NICHOLAS          Zoom back out        Turning to 1302 A page

          15     two, the number ending in 1769

         16                  (Pause)

         17      Q     Is that the same number where you just write in 1202A?

          18     A.    Yes

          19     Q     1202A was saved as Jamil Rasul Bay           9   Can you read how it is

         20      saved in 1302A?

          21     A.   Jamil BROX Moor        9




         22                  MS. NICHOLAS         Like to move 1302A to the left and

         23      place 1302A on the right          9     Stick with that same phone number

         24      for a moment    9




         25                  (Pause)


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                 N8UAAPER3                           Gutierrez - Direct

           1                    MS. NICHOLAS         Sticking to that same number ending

           2     1769 in 1302A saved as Jamil BROX Moors             9    In 1402 you could

           3     zoom out   9




           4     Q     Can you read that phone number please?

           5     A.    1586131769    9




           6     Q    How is it saved in the 1402A phone?

           7     A.   Just "Jamil" •

           8                    MS. NICHOLAS         I want to do the same thing for one

           9     other phone number           9   Going back to 1202A and 1302A.

          10                    (Pause)

         11      Q     On the left side of the screen 1202A is from Jamal Latimer

          12     on the right side of the screen is 1302A is from Quinn

          13     Cumber lander           Focusing first on 1202A to focus on the phone

          14     number ending in 3941, if could you read that number as well as

          15     the contact name?

         16      A.    It's 910443941 and the name is AJ.

         17                     MS. NICHOLAS        Zoom back out        Same number ending in

          18     3941 in Government Exhibit 1302A.

          19                    (Pause)

         20      Q     In this phone belonging to Quinn Cumber lander, how is that

          21     number saved°

         22      A.    AJ Moor BROX       9




         23                     MS. NICHOLAS        Okay    We're going to move 1302A to the

         24      left and if you could please pull up 1402A on the right                9




         25      Q     1302A on page two, that number ending in 3941 you read as


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                 N8UAAPER3                         Gutierrez - Direct

           1     AJ Moor BROX    9   Turning to 1402 A, if you could find the number

           2     that ends in 3941?         I believe it is a on page two

           3                 Is this the same phone number we just looked at in

           4     1302?

           5     A.    Yes

           6     Q    How is it saved in 1402?

           7     A.    "Alban El"

           8                 MS. NICHOLAS        Can you pull those down.

           9                 Your Honor, if I may have a moment°

          10                 THE COURT:      Yes

         11                  (Pause)

          12                 MS. NICHOLAS        Nothing fur they, your Honor          9




          13                 THE COURT:      Cross-examination°

          14     CROSS-EXAMINATION

          15     BY MS » BAHARANYI

         16      Q     I think it's good afternoon, Ms. Gutierrez?

         17      A.    Good of ternoon.

          18     Q     You testified about reviewing certain messages on direct,

          19     right?

         20      A.    Yes

          21     Q     And you testified that you reviewed messages that were

         22      provided to you by the prosecutor's office?

         23      A.    Yes

         24      Q     And in the context specific of the Signal app, you reviewed

         25      certain Signal messages that have been provided to you by the


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                 N8UAAPER3                        Gutierrez - Direct

           1     prosecutor's office°

           2     A.    Yes

           3     Q    Ms. Gutierrez, you didn't review all the text messages that

           4     were sent from the devices you were testifying about today,

           5     right?

           6     A.    I only reviewed what I reviewed.            I don't know what else is

           7     out there    9




           8     Q     You didn't analyze the device yourself, right?

           9     A.    I did not

          10     Q     Or review any other messaging              actually, withdrawn.

          11                 So your testimony is today is based off of only what

          12     has been provided to you by the prosecutor sitting here?

          13     A.    Yes

          14                 MS • BAHARANYI       One moment

          15                  (Pause)

          16                 MS • BAHARANYI       Nothing fur they    9




          17                  THE COURT:     Anything else?

          18                 MS. NICHOLAS       No     Thank you, your Honor

          19                  THE COURT:     Thank you very much      9   You may step down.

         20                   Anything else from the government?

          21                 MS. SMYSER:      Your Honor, we just wanted to raise one

         22      thing       We believe yesterday we offered Government Exhibit

         23      1008, which was a transcript stipulation between the parties              9




         24      Out of an abundance of caution, we just wanted to make sure

         25      that that was received.


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                 N8UAAPER3                        Gutierrez - Direct

           1                 THE COURT:      Any objection?

           2                 MS • BAHARANYI       Your Honor, give us one moment       9




           3                 (Pause)

           4                 MS • BAHARANYI       No objection, your Honor        9




           5                 THE COURT:      Received .

           6                 (Government's Exhibit 1008 received in evidence)

           7                 All right       Does the government rest       9




           8                 MS. NICHOLAS        Your Honor, the government rests          9




           9                 THE COURT:      All right      Come to the side bar please        9




          10                 (Continued on next page)

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                 N8UAAPER3                        Gutierrez - Direct

           1                 (Side bar)

           2                 THE COURT:      Okay   •     Any motions from the defense?

           3                 MS • BAHARANYI         Yes     Two, your Honor            So at this

           4     time we would move for a mistrial             9   This is based off of the

           5     volume of evidence from the Massachusetts incident that has

           6     been admitted, has been discussed, evidence that we did move to

           7     limit, move to exclude in our motions in limine                   9   And the

           8     reason being that at this point we believe the evidence that

           9     the guns, the types of guns, the ammunition, the nature of this

          10     interaction on the street with Trooper Casey, the nature of the

         11      types of ammunition that were recovered from the vehicles in

          12     this incident have certainly led to, could certainly lead the

          13     jury to convict          based on this other incident in another

          14     jurisdiction, which we believe the government still hasn't

          15     sufficiently tied or shown to be relevant to the charges at

         16      issue here    9




         17                  We were always concerned about the potential or mini

          18     trial within a trial and I think as the Court has seen from the

          19     two hours of testimony today that's largely exclusively focused

         20      on the Massachusetts conduct and the hours of testimony

          21     yesterday this has in f act evolved in exactly what we feared,

         22      that we're taking up the Massachusetts case              9       It's a

         23      Massachusetts incident that has minimal relevance to the 922

         24       (a) (3) charge and conspiracy charge here and is certainly in

          25     danger of misleading the jury to convict on that basis instead


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                 N8UAAPER3                         Gutierrez - Direct

           1     of evidence for instead of for the 922 (a) (3) charge that he is

           2     charged with    9




           3                 THE COURT       Okay      That motion is denied.                I think

           4     we've really covered this in previous colloquies                    9       But to my

           5     mind the Massachusetts evidence is clearly and highly relevant

           6     to the conspiracy charge in this case and I see nothing in the

           7     way it's been presented that would pre judice the defendant

           8     other than in the way that is not prejudiced, which is to show

           9     that he conspired to commit the conspiracy that's charged here                            9




          10                 Now you had a second motion.

         11                  MS • BAHARANYI         We do, your Honor       At this time we

          12     would move under Rule 29 for a judgment of acquittal even

          13     viewing the evidence in the light most f favorable to the

          14     government, we don't believe a reasonable jury would convict on

          15     the f acts as presented.

         16                  THE COURT       That motion is denied as well               9




         17                  Now, is Ms. Otero here

          18                 MS • BAHARANYI         She is.

          19                 THE COURT       Okay      So we need to get her in now                    I

         20      will inquire more formally of the defendant after we excuse the

          21     jury, but tell me now whether he is going to take the stand or

         22      not?

         23                  MS • BAHARANYI         "NO"   is the answer        I do want to

         24      still speak with him one more time            9




         25                  THE COURT       Yes      So, we'll give you that opportunity


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           1     but let's get Ms. Otero on the stand and that's, other than the

           2     defendant, that's your only other witness, right?

           3                 MS • BAHARANYI       That's right

           4                 THE COURT:      We'll get that done, excuse the jury for

           5     lunch, we'll inquire of the defendant and then we'll be ready

           6     for summations this of ternoon.

           7                 MS • BAHARANYI       Understood.

           8                 (Continued on next page)

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                 N8UAAPER3                        Otero - Direct


           1                 (In Open Court)

           2                 THE COURT:      So, ladies and gentlemen, the defense is

           3     not required to call any witnesses           9   The burden of proof is, as

           4     I've told you now several times, remains always with the

           5     government         The government has a burden of proving one or both

           6     of the charges beyond a reasonable doubt             9   But the defense is

           7     given the opportunity, if they want, to present evidence                    They

           8     are going to call one witness, who I understand is ready to be

           9     called right now.

          10                 MS • BAHARANYI       That's correct, your Honor           Our

          11     paralegal specialist is getting her from the lobby.

          12                 THE COURT:      Very good.

          13         MARIA OTERO,

          14             called as a witness by the Defendant,

          15            having been duly sworn, testified as follows

          16                 COURTROQM DEPUTY         Please state your name slowly and

          17     spell it for the record.

          18                 THE WITNESS       My name is Maria Otero, M-a-r-i-a,

          19     O-t-e-r-o   9




          20     DIRECT EXAMINATION

          21     BY MS • BAHARANYI

          22     Q      Good afternoon, Ms. Otero

          23                 Ms. Otero, please tell us where you live?

          24     A.    Bronx, New York

          25     Q      What part of the Bronx?


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           1     A.    Mosholu Parkway     9




           2     Q    How long have you lived in the Bronx?

           3     A.    All my life

           4     Q    Ms. Otero, I want to turn to this case             9   Do you know the

           5     person seated next to my colleague at defense counsel table?

           6     A.    Yes, I do

           7     Q     What name do you know this person by?

           8     A.   His mother named him "Steven",            He goes by "Lucca" •       I

           9     accept him by "Lucca" •

          10     Q     And when you say Steven            Steven Perez, is that right?

         11      A.    Yes, ma'am.

          12     Q     And we'll refer to him as "Lucca" for the rest of this

          13     proceeding

          14                 How do you know Lucca?

          15     A.    He's my cousin.

         16      Q     How are you and Lucca cousins°

         17      A.   My grandmother and his great grandma are sisters                 9




          18     Q     What are their names?

          19     A.   Patricia Vasquez is my grandma and his great grandma is

          20     Macelina Baez     9




          21     Q    Ms. Otero, how long have you known Lucha°

         22      A.    All his life

         23      Q     And about how many years would that be?

         24      A.   33

         25      Q    Do you know where Lucca grew up?


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           1     A.    In the Bronx

           2     Q     What part of the Bronx?

           3     A.   Morrisania section of the Bronx          9




           4     Q     Can you explain to the jury what section that might be              9   Is

           5     that south Bronx, north Bronx9

           6     A.    That would be east Bronx       9




           7     Q    How do you know where Lucca grew up?

           8     A.    I lived with his grandma       9




           9     Q     And how does that give you information about where Lucca

          10     grew up?

         11      A.   His mother lived in the next building            9   We share the same

          12     roof top 9

          13     Q    Did you spend any time with Lucca when he was a child?

          14     A.    Yes

          15     Q    Ms. Otero, do you know someone by the name of Keith Vereen°

         16      A.    Yes, I do

         17      Q     How do you know Keith Vernen?

          18     A.    He's my cousin.

          19     Q     Can you explain how you and Mr. Vernen are related°

         20      A.   My grandmother and his great grandma are sisters                 9




          21     Q     So is this with Patricia Vasquez?

         22      A.    Yes, ma'am.

         23      Q    How long have you known Keith Vernen?

         24      A.    All his life

         25      Q    Ms. Otero, do you know if Keith Vernen and Lucca are


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           1     related?

           2     A.    Yes, I do

           3     Q     And how are they related?

           4     A.    Their grandmothers are sisters         9




           5     Q     Can you share with us their grandmothers' names?

           6     A.    Amina Nunez and Carmen Baez        9




           7     Q    Do you happen to know where Keith Vere en grew up?

           8     A.    In the Bronx

           9     Q     What part of the Bronx?

          10     A.    Courtlandt Avenue, South Bronx         9




         11      Q     South Bronx    9   Now, how f as away is the part of the Bronx

          12     that Keith Vere en grew up from where Lucca grew up?

          13     A.    A bus ride, maybe 40 minutes, 30 to 40 minutes

          14     Q    Do you know if Keith Vere en and Lucca have ever spent time

          15     together?

         16      A.   I'm pretty sure they did.

         17      Q    When you say "pretty sure", is there any occasion you are

          18     thinking of?

          19                    MS. NICHOLAS     Objection.

         20                     THE COURT:     I'll allow it.

          21     Q    When you say "pretty sure" is there any occasion that you

         22      are thinking of?

         23      A.    I saw them in a barbecue that I went to            9       It was a f amity

         24      barbecue   9




         25      Q     And about how long ago was that?


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           1     A.    That was 2018    9




           2                 MS • BAHARANYI         Sarah, can you please show just the

           3     witness, Ms. Otero, what's been marked for identification as

           4     Defense Exhibit C1         9




           5                 (Pause)

           6     Q    Ms. Otero, are you able to see a photograph on your screen°

           7     A.    Yes, I do

           8     Q     And without going into too much detail, what is this a

           9     picture of?

          10     A.   Family, men

         11      Q    Do you know who is in this picture?

          12     A.    Yes

          13     Q    Do you recognize Keith Vere en in this picture?

          14                 MS. NICHOLAS          Objection.

          15                 THE COURT          Overruled.

         16      Q    Do you recognize Keith Vere en in this picture?

         17      A.    Yes, I do

          18     Q    Do you recognize Lucca El in this picture?

          19     A.    Yes, I do

         20      Q     Can you describe an article of clothing that Keith Vere en

          21     is wearing?

         22                  MS. NICHOLAS          Objection.

         23                  Your Honor, this is not in evidence           9




         24                  THE COURT:         Excuse me

         25                  MS. NICHOLAS          This photograph is not in evidence,


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           1     your Honor    9




           2                 THE COURT:      Well, I agree with that

           3                 MS • BAHARANYI        Let me back up one step, your Honor         9




           4                 THE COURT:      Yes

           5     Q      Is this a f air and accurate representation of both Keith

           6     Vere en and Lucca El at a f family event that you were describing?

           7     A.    Yes

           8                 MS • BAHARANYI        Your Honor, at this time we would move

           9     to admit Defense Exhibit C1         9




          10                 THE COURT:      Any objection.

         11                  MS. NICHOLAS       No objection.

          12                 THE COURT:      Received .

          13                 (Defendant's Exhibit C1 received in evidence)

          14                 MS • BAHARANYI        Sarah, can you publish this for the

          15     jury
         16                  (Pause)

         17      Q    Ms. Otero, I want to turn back to this photograph                9   Can you

          18     please describe an article of clothing that Keith Vere en is

          19     wearing?

         20      A.     White T-shirt and back shorts with black sneakers              9




          21     Q     And can you describe an article of clothing being worn by

         22      Lucha in this photograph?

         23      A.     A red hat, white tank top, blue jeans, white sneakers

         24      Q      Where in the photograph is Keith Vere en located, just

         25      moving from left to right?              And by that I mean is he the first,


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           1     second, third person?

           2     A.   He's on the left side next to Lucca's f other in between the

           3     f other and the brother      9




           4     Q     When you say "in between the f other and brother", you are

           5     talking about Lucca's f other?

           6     A.   His f other and his brother           9




           7     Q     And where in this photograph is Lucho's f other?

           8                 MS. NICHOLAS             Objection.

           9                 THE COURT:      No         Overruled.

          10     Q     Where in the photograph is Lucho's f other?

         11      A.    The f at end of the left behind Keith            9




          12     Q     Where in this photograph is Lucho's brother?

          13     A.   Right next to Keith         9




          14     Q     And does that put Keith in the middle of the two?

          15     A.    Yes

         16      Q     Were you also present at this celebration?

         17      A.    Yes, I was

          18     Q     And what was the nature of this celebration?

          19                 MS. NICHOLAS             Objection.

         20                  THE COURT:      Sustained.

          21     Q     The individuals in the photograph are these individuals

         22      that you're related to?

         23      A.    Yes

         24      Q    Ms. Otero, how of ten do these f family gatherings take place?

         25                  MS. NICHOLAS             Objection.


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           1                  THE COURT:     As phrased, sustained.         Although I think

           2     there is a possible question that could be put there                  9   I'll put

           3     :L t


           4                  Do you have a specific memory of seeing Lucca and

           5     Keith Vere en together on any occasion other than the one that

           6     we've just looked at?

           7                  THE WITNESS      No

           8                  THE COURT:     Okay     Very good.

           9     Q      As for this f amity gatherings, you did see Lucho and Keith

          10     Vernen together, right?

         11      A.     Yes

          12                  MS • BAHARANYI        Your Honor, no further questions         9




          13                  THE COURT:     Okay .    Cross-examination°

          14                  MS. NICHOLAS       Briefly, your Honor

          15     CROSS-EXAMINATION

         16      BY MS. NICHOLAS

         17      Q      Good afternoon, Ms. Otero

          18     A.     Good of ternoon.

          19     Q      Ms. Otero, you weren't with Keith Vere en on September 14th

         20      of 2020, were you?

          21     A.     No

         22      Q      You weren't with Steven Perez on September 14th of 2020,

         23      c:orrec:t°

         24      A.     No

         25      Q      You weren't with Keith Vere en or Steven Perez on September


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           1     16th of 2020, were you?

           2     A.   No

           3     Q     You weren't with Keith Vere en and Steven Perez on October

           4     3rd of 2020, were you?

           5     A.   No

           6     Q     Specifically, you weren't with them at three in the

           7     morning, right?

           8     A.   No

           9     Q     You weren't with Keith Vere en and Steven Perez on October

          10     4th of 2020, were you?

          11     A.   No

          12     Q     You weren't with Keith Vere en and Steven Perez on October

          13     22nd of 2020, were you?

          14     A.   No

          15     Q     You weren't with Keith Vere en and Steven Perez on November

          16     1st of 2020, were you?

          17     A.   No

          18                 MS. NICHOLAS        Thank you

          19                 THE COURT:      Anything else?

          20                 MS • BAHARANYI       No, your Honor

          21                 THE COURT:      Thank you, so much         You may step down.

          22                 (Witness excused)

          23                 THE COURT:      All right       Subject to the one matter that

          24     we'll take up after the jury goes to lunch, does the defense

          25     rest?


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           1                 MS • BAHARANYI         We do, your Honor

           2                 THE COURT:      Okay     Very good.

           3                 So, ladies and gentlemen, I have one question for you                  9




           4     I ' d like to give you till two o'clock for your lunch so I can

           5     take up some matters with counsel           9   But the summations will

           6     take as much as but no more than two and a half hours                 9    If we

           7     take a 15-minute break midaf ternoon, that would put us at 4:45

           8     rather than 4 30         Is going to 4:45 a problem for anyone?

           9                 Very good.      Okay     Have a good lunch and we'll see you

          10     at two o'clock

          11                 (Jury not present)

          12                 THE COURT:      Please, be seated.

          13                 Defense counsel wanted to discuss one last time with

          14     her client whether or not he wants to take the stand.                     So, go

          15     ahead .

          16                 MS • BAHARANYI         Thank you, your Honor

          17                 (Pause)

          18                 MS • BAHARANYI         Thank you for that indulgence, your

          19     Honor      At this time         not at this time     9   Lucca will not be

          20     testifying

          21                 THE COURT:      Mr. Perez, do you confirm that that is

          22     your decision?        That your decision is not to testis y?

          23                 THE DEFENDANT:         That is my decision, sir, but I would

          24     rather go by "Lucca El"

          25                 THE COURT:      I'm sorry      So, Lucca El, is that your


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           1     decision not to testify?

           2                 THE DEFENDANT:       It is.

           3                 THE COURT       Very good.     All right       Now, I will get

           4     you      my law clerk is almost finished, I think, putting in my

           5     edits       my charge   9   You can look it over before you give your

           6     summations

           7                 There are three things I want to mention                  One is I ve
                                                                                               I




           8     decided not to give the aiding and abetting charge that the

           9     government requested.         I really think the substantive count

          10     here doesn't, really has not been argued on an aiding and

         11      abetting basis and I think it would be more confusing to the

          12     jury than helpful to have the aiding and abetting charge

          13                 I should mention that            Well

          14                 Second, I am tentatively of the view not to give the

          15     good f with charge but I am willing to hear briefly any further

         16      argument       Here is the reason, some of which we discussed last

         17      night      To the extent that the good f with charge is based on,

          18     and this also applies to the defense's theory of the case which

          19     was identical        To the extent that the claim is that the

         20      defendant believed that these laws were unconstitutional

          21     because he had an unfettered constitutional right to receive an

         22      out-of-state gun or whatever, that argument cannot be made and

          23     must not be made to the jury         9    It's precluded by Cheek

         24                  To the extent he is arguing that he did not, that he

         25      was f familiar with the underlying laws but did not for whatever


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           1     reason believe they applied to him or something like that, a

           2     mistake of law defense that is precluded by Bryan.

           3                 So, I'm not sure what's left of the good f with

           4     defense      If there is something left I would probably charge it

           5     but I'm not sure what is left                         So let me hear from defense

           6     counsel

           7                 MS • BAHARANYI              Your Honor, for this moment we think

           8     it's important to call in our expert on this, which is Kendra

           9     Hutchinson from our office                9




          10                 THE COURT:            Yes, who I had the pleasure of having

          11     before me last night          9        So I'm glad we are getting the world's

          12     greatest living expert             9




          13                 MS. HUTCHINSON                Good of ternoon.       Kendra Hutchinson.

          14     I can pass my card afterwards                 9




          15                 I understand your Honor's position.                        You know, we

          16     discussed this yesterday about Cheek and Bryan.                             We're posing a

          17     challenge to Bryan's cur tail rent of this type of defense in

          18     light of the change       9




          19                 THE COURT             I think that's a great issue for appeal

         20      but of course I am bound by the decision.                        As it stands, Bryan

          21     has never been overruled.

         22                  MS. HUTCHINSON                I understand that, your Honor, but we

         23      would contend that to the extent that we've amended the charge

         24      that we requested, I think your Honor probably noted that we

         25      amended the good f aith request                   9




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           1                 THE COURT       Yeah, but what I received last night

           2     and by the way, I thank both sides for the letters I received

           3     at nine o'clock         It was a wonderful evening        9       My wife and I

           4     did a very hot rumba and the Yankees won a game for a change

           5     but best of all, of course, was receiving your respective

           6     letters

           7                 But what you asked for in that letter                       and by the

           8     way, these letters have not yet been docketed.                        Both sides

           9     should docket them           is that Lucca El contends that he

          10     believed in good f with that his actions were lawful                        That's on

         11      your good f with defense request         9   And then under the theory of

          12     defense "Here Lucca El contends that he believed in good f with

          13     that his actions were lawful and that negates the willfulness

          14     requirement     II




          15                 So, my problem is if you are arguing that he believed

         16      in good f with that his actions were lawful because the

         17      Constitution overrules in effect of any restrictions that might

          18     otherwise have existed, that's precluded by Cheek, that

          19     argument       To the extent if you are arguing that he didn't have

         20      specific knowledge of this statute and therefore, may have

          21     mistaken what the law said such as, for example, that he could

         22      have believed an import are or something like that, that kind

         23      of defense is precluded by Brian.

         24                  So, I'm not sure what's left that you can argue

         25      because this general language doesn't specif y                9




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           1                 MS. HUTCHINSON        I think what I would turn to then,

           2     judge, is the Doyle case that we cited.               The Second Circuit

           3     case providing that good f with is a defense to willfulness                         9




           4     That good f with is a defense to many specific crimes including

           5     intent to fraud and the wire fraud statute, et cetera                 9           And so

           6     I think that at a minimum, that would be warranted here                       9     I

           7     understand

           8                 THE COURT       But the good f with that comes up as you

           9     correctly say, for example, very of ten in fraud cases                9           But the

          10     context there is even though the government says this statement

          11     was f also I believed it was true and I in good f aith believed

          12     it was true and therefore, I'm not guilty of fraud.                   That's the

          13     situation.      The situation here is to the extent the argument is

          14     I believed that any restrictions were unconstitutional or I in

          15     good f with believed that the statute didn't apply to me, those

          16     are both precluded by the two Supreme Court cases I mentioned.

          17                 MS. HUTCHINSON        But referring back to the willfulness

          18     instruction itself, your Honor, we don't know how your Honor is

          19     going to charge it, but this is reading from Bryan which we

          20     agree controls at least as to the willful element here                    9        And

          21     there does have to be this bad purpose to disobey the law.

          22                 THE COURT       Let me grab from my law clerk while he is

          23     busy putting in my edits            So,   I'll tell you what I'm going to

          24     charge on willfulness       9




          25                 MS. HUTCHINSON        Thank you, your Honor, very much


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           1                 (Pause)

           2                 THE COURT:           Okay      This is under the third element,

           3     substantive count and then it is picked up again as a

           4     conspiracy count        9




           5                 The third essential element the government must prove

           6     beyond a reasonable doubt is that the defendant in receiving

           7     out-of-state firearms into his state of residency, acted

           8     knowingly and willfully                  and by the way, I previously defined

           9     in the earlier receiving and transporting and all that stuff                      9




          10     "Knowingly" means purposely rather than negligently or

         11      accidently, but the defendant need not be aware of the specific

          12     law that his conduct has violated.                 Willfully means to act with

          13     a bad purpose, an evil intent to act unlawfully even if the

          14     defendant does not have specific knowledge of the par ticular

          15     law he has violated.              That's it.    And if I weren't going to

         16      insert, if there were a good f with defense, it would be the

         17      next paragraph     9        So that's what I'm going to charge

          18                 That I think is exactly what Bryan says                 9   In f act it

          19     may be a little bit better for you by using in addition to bad

         20      purpose which Bryan uses            9     I used evil intent straight out of

          21     Blackstone       So I think the defense is going to be able to

          22     argue to the jury the government hasn't shown that he acted

         23      with a bad purpose           9   The government's f ailed to show that he

         24      acted with evil intent, whatever you want to say in that regard

         25      but, not the argument that he believed it was constitutional,


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           1     that he believed in good f with it was within the law, et

           2     cetera, et cetera      9




           3                 MS. HUTCHINSON          Judge, we are not in our amended

           4     charge for good f with defense, we're not asking for or that his

           5     actions comply, were Constitutional any longer               9   We amended it

           6     in response to the Court's concerns and we ask that the Court

           7     charge, a person does not act willfully if it believes good

           8     f with that he is acting within the law or that his actions

           9     comply with the law.           So we're not referencing the

          10     Constitutionality or any specific legal provisions at all or

          11     requiring the government to prove that he knew of a specific                      9




          12                 THE COURT         What is the evidence?       Other than the

          13     arguments that I say, you can't make for reasons discussed many

          14     times that the defendant believed in good f with that he was

          15     acting within the law, the sole thing that you pointed me to

          16     yesterday was that his statement when he was approached in the

          17     Massachusetts case about the Constitution, and that's not going

          18     to do it for reasons we've already discussed.

          19                 So what other evidence do you have that he believed

          20     what he was doing was lawful?

          21                 MS. HUTCHINSON          Would my co-counsel like to?

          22                 MS • BAHARANYI          On the f acts I think the full extent

          23     the body-worn camera captures his statements that                 II   I   didn't do

          24     anything wrong"            So, in terms of his the evidence that he

          25                 THE COURT         But


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           1                 MS • BAHARANYI               was acting in good f with, I think

           2     that is evidence of that        9       It is a reflection of his mens rea

           3     in that moment        He didn't think he was doing anything wrong

           4                 MS. NICHOLAS                cites the Constitution in that

           5     statement, your Honor           He is snaking that precluded

           6                 THE COURT       That is my recollection as well               9            In clear

           7     context in reference to the Constitution.

           8                 MS. NICHOLAS        Is this case, your Honor, we are

           9     sitting right now, your Honor, where the defendant did not

          10     testis y     The government's position is that the willful

          11     instruction captures this           9    To add to the good f with

          12     instruction is going to do nothing but confuse the jury                                9   The

          13     willful instruction addresses this concern.

          14                 THE COURT       Okay         Well, defense has their many

          15     excellent arguments but I am going to adhere to not giving a

          16     good f with instruction.

          17                 Now the last question I had which is for the

          18     government is you suggested language in your letter                   9           Let me

          19     find it.     This is towards the bottom of page two of your letter

         20      and so that I wouldn't miss it, it's all in both places                                    II   The

          21     defendant does not have to himself purchase the firearms out of

         22      state but it is enough to prove only that the defendant

         23      received or accepted the guns in a state of residence                         9
                                                                                                   II




         24                  That part I am going to give almost those exact words

         25      slightly different          But then you say "The government will have


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           1     been found to have satisfied this element if he caused an

           2     agent, employee or other associate to bring the guns into his

           3     state of residence      9   A defendant who uses another person or

           4     person to purchase the guns from out of state through the use

           5     of      statement other ways firearms under the law                          I'm not

           6     going to give that second sentence, which is more I think in

           7     the way of the very last of the sentences, more in the way of

           8     summation for you to argue but not for me to state                       9   But in the

           9     middle sentence the government will have been found to have

          10     satisfied the elements            into the state of residence                 9   Is that

         11      a necessary element°

          12                 MS • BAHARANYI       Your HOUOI9

          13                 THE COURT:      I am wondering whether the law isn't that

          14     if you know the gun was purchased or obtained out of state and

          15     then you receive it in your state of residency, that's a

         16      different state; isn't that enough?

         17                  MS. NICHOLAS        I think that that is enough, your

          18     Honor      I think

          19                 MS • BAHARANYI       Can I interrupt?        HIm
                                                                                So
         20      Honor      Can we excuse Lucha°                                          So
                                                                                            ory
                                                                                                I Yo
          21                 THE COURT       Yes, absolutely
                                                                                                        Ur
         22                  (Defendant not present)

         23                  THE COURT       Go ahead.

         24                  MS. NICHOLAS        To the extent the phrase            II
                                                                                          otherwise

         25      obtained" needs to be defined, that's kind of the genesis of


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           1     the government's proposal here but the government is fine

           2                 THE COURT:      I'm going to leave it the way I understand

           3     the law to be which is that if you know it's coming to you from

           4     out of state and it's not from the state of your residency,

           5     then you violate the law if you receive it.

           6                 MS. NICHOLAS           Understood.

           7                 THE COURT       Okay       All right      Very good.            I will get

           8     you those charges sometime in the next few minutes                     9    Let me

           9     give the edits back to my law clerk              9   And we'll see you at two

          10     o'c:lock     Oh, I'm sorry           And I'll also get you                 although,

         11      we'll have time later at the end of the day                      the verdict form

          12     because I do want to hear whatever you have to say.

          13                 MS. NICHOLAS           Your Honor, is it your Honor's

          14     preference to send an exhibit list back to the jury?                         And :Lf

          15     so, should we essentially sanitize that exhibit list?

         16                  THE COURT       Yes       You should prepare     9       This is because

         17      I don't want you to be spending tonight sleeping or anything

          18     like that, tonight you need to prepare a joint exhibit list

          19     although the government's part will be the larger part                        9   That

         20      is basically a sanitized exhibit list, a number and brief

          21     description of what it is and we are sending them all the

         22      exhibits except instead of the videotapes               9   We'll send them a

         23      laptop and a thumb drive that they could play the videotapes on

         24      and even that same thumb drive needs to be the Excel sheet so

         25      is that they can access        9




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                 N8UAAPER3                        Otero - Cross

           1                 MS. NICHOLAS        Thank you

           2                 THE COURT:      We're not sending in the guns or

           3     ammunition but they will be instructed if they want to see

           4     them, they can.

           5                 MS. NICHOLAS        Thank you

           6                 (Luncheon recess)

           7                 (Continued on next page)

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                 N8UBPER4                           Summation - Ms. Smyser
           1                                   AFTERNOON SESSION

           2                                          2:00 p.m.

           3                 (Jury not present)

           4                 THE COURT       By the way, I assume that the defense

           5     counsel at the close of all the evidence renewed the motions,

           6     and those motions are deemed renewed and are deemed denied

           7     again •

           8                 MS • BAHARANYI         Thank you, your Honor, yes

           9                 THE DEPUTY CLERK:        Jury entering the courtroom.

          10                 (Jury present)

          11                 THE COURT       Please be seated.       So, ladies and

          12     gentlemen, we're about to hear closing arguments of counsel             9     I

          13     want to remind you, as I did before opening statements that

          14     nothing that counsel says is evidence                The evidence came from

          15     the testimony, from the exhibits, and from the stipulations I           I




          16     but it may be useful before you begin your deliberations to

          17     hear what each side believes the evidence shows or f ails to

          18     show as the case may be        9




          19                 So this is their opportunity to suggest to you what

          20     they think the evidence has proved or f ailed to prove, and it's

          21     because the government bears the burden of proof that the

          22     government gets both an opening summation and a rebuttal

          23     summation.      And in between that, we'll hear from defense

          24     counsel, so we'll start with the government's opening

          25     summation.


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                 N8UBPER4                              Summation - Ms. Smyser
           1                 MS. SMYSER:      May I proceed, your Honor?

           2                 THE COURT:      Please

           3                 MS. SMYSER:      II   I   don't need a permit         A permit is a

           4     permission.    II
                                     Those are the words of a man who knew he was

           5     violating the laws      9   Laws that he decided did not apply to him,

           6     and the evidence shows that he knew exactly what he was doing                         9




           7     Let's listen to the defendant's own words

           8                 (Media played)

           9                 (Media stopped)

          10                 MS. SMYSER:      Those words tell you exactly what you

          11     need to know, that this man decided that the legalities and the

          12     regulations and the mandates and all of that extra stuff, that

          13     extra stuff designed to keep us safe did not apply to him.

          14     That is a willful violation of the law.

          15                 Members of the jury, I'm now going to walk you through

          16     the charges and the evidence in this case              9       And as I do, I ' l l

          17     show you how it all fits together             9   And by the time I sit down,

          18     you will know beyond a reasonable doubt that the defendant is

          19     guilty

          20                 First, we're going to discuss Count Two                    In that

          21     count the defendant is charged with receiving the Canik or the

          22     Yurik 9mm gun that you heard so much about                 9    He received this

          23     Canik in his residence in New York, and he did so without a

          24     license      After that, we're going to discuss Count One                     His

          25     agreement with others to transport and receive firearms


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                 N8UBPER4                          Summation - Ms. Smyser
           1     interstate without a license          9   And as we walk through each one

           2     of these charges, I'm going to talk with you about the evidence

           3     that shows you that the defendant knew that he was acting with

           4     a bad purpose; that is, that he was acting willfully

           5                    So let's start with Count Two, receiving the Canik in

           6     New York   9     We'll discuss each one of the elements of the crime

           7     that are on the screen here, that the defendant was not

           8     licensed to deal in firearms, that he received the firearm in

           9     his state of residence, which had been purchased outside of his

          10     state of residence, and that he acted willfully               9   And as we go

          11     through each one of those elements, you'll see that there's

          12     actually a lot that's not in dispute

          13                    So what do the parties agree on?         For starters we

          14     agree that the defendant was not a licensed importer, l i c e n s e

          15     manufacturer, licensed dealer or licensed collector of

          16     firearms         not now, not ever         And the parties agreed on that

          17     in Government Exhibit 1001 which is on your screen.                   You also

          18     saw that in a blue ribbon cer unification from the ATE, it shows

          19     that the defendant never applied for or was issued a license to

          20     deal firearms      9    That's element one       The defendant was not

          21     licensed to do this        9




          22                    The next element involves the defendant's state of

          23     residence, and here again the parties agree the defendant

          24     resides in New York state         9   The second part of this element

          25     involves the defendant receiving the gun, that Canik in his


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                 N8UBPER4                         Summation - Ms. Smyser
           1     state of residence, New York.               There's also no serious dispute

           2     here, but I'm going to walk you through this timeline that's on

           3     the slide which shows you how you know that the defendant

           4     received the Canik in New York          9




           5                 Let's start with September 21, 2020                On that day, the

           6     defendant communicated with Vere en, Keith Vere en.                   Before we

           7     discuss the relevance of those communications and others, I

           8     first just want to make crystal clear also there's no serious

           9     dispute about this that Vere en and the defendant were the users

          10     of the two relevant phones         9   You know that Vernen was using the

         11      device ending in 0166, the green device here which you heard

          12     about from Mr. Peterson, because he gave this phone number to

          13     Western Union.       And you see those records in the upper

          14     right-hand corner of the screen.

          15                 And Mr. Archuleta explained to you that Vernen would

         16      have to use his ID and provide his information in order to pick

         17      up money transfers from Western Union.                In addition, you know

          18     that the 0166 number is Keith Anthony Vere en's phone number in

          19     Cash App or block records, and those are in the bottom right of

         20      your screen, Government Exhibit 801             9   You also know that the

          21     defendant is the user of the Steven Perez device ending in

         22      1561     Like Vere en, the defendant gave this number to Western

         23      Union when he was sending money to Vere en.               And it is also

         24      subscribed to him in T-mobile records which you see in the

         25      bottom right side of the screen.


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                 N8UBPER4                          Summation - Ms. Smyser
           1                 The defendant and Vere en talked on September 21st

           2     multiple times. This was a little over a week before Keith

           3     Vernen purchased that Canik in South Carolina                  9       You saw

           4     evidence of these communications in the call records or CDRS

           5     that Mr. Petersen discussed and which are shown on the screen

           6     here      These CDRs and the cell site analysis are contained in

           7     Government Exhibit 901        9   The calls from September 21st were

           8     about Vernen buying a gun for the defendant                9       And how do you

           9     know?    Because the day after the defendant repeatedly talks to

          10     Vernen on the phone, he sends Vernen money             9




          11                 Members of the jury, you also know that the defendant

          12     and Vere en are relatives, but that's not all they are                        9   They

          13     are co-conspirators       9   They are men working together to

          14     transport and receive firearms          9   Now, on September 22, the

          15     defendant sent $350 to Vernen from a check cashing store in the

          16     Bronx      Vernen picked up this money at a store in South

          17     Carolina, which you can see in the Western Union records                             That

          18     money was for a gun.          You know this because a week later Vere en

          19     went out and bought the Canik as well as other guns                       9




          20                 On October 1, 2020, Vernen walked into an FOL Dicks

          21     Pawn Shop West in South Carolina               You see that on the

          22     right-hand side of the screen.              He filled out an ATE 4473 form

          23     that shows that he was purchasing the hmm Canik with serial

          24     number 20CB25810      9   He was purchasing this gun, this gun which

          25     he then delivered to the defendant in New York                     9    When Vernen


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                 N8UBPER4                            Summation - Ms. Smyser
           1     bought this gun, he lied for the defendant.                  As you can see in

           2     the bottom box, Vere en attested under penalty of per jury that

           3     he was not purchasing the firearm on behalf of another person.

           4     He did this despite the bold warning on the bottom of the form

           5     that says very simply that he could not purchase this on behalf

           6     of someone else, someone like the defendant              9




           7                 I want to pause for just a moment on Keith Vere en.

           8     Vere en, like the defendant, did not have a license to deal in

           9     firearms, and this is shown in the ATE blue ribbon

          10     cer unification on the screen             Yet, the defendant chose Vere en

         11      who lived hundreds of miles away to buy him a gun and to bring

          12     it to New York        9     So Vernen lied and bought that gun on October

          13     1st     When did the defendant get it?            Just two days later on

          14     October 3rd,          You saw this with Mr. Peterson.                 Mr. Peterson

          15     showed you that on October 2nd and October 3rd, Vere en traveled

         16      from South Carolina where he lived and where he had bought that

         17      gun up to New York           9   He got there late, sometime before 2:12

          18     a.m. as indicated in the box in the upper right-hand side of

          19     the screen.

         20                  After Vere en got to New York, he went to the Bronx,

          21     and he didn't go just anywhere in the Bronx                      He went to see

         22      the defendant              You see this in the cell site records and in

         23      the call logs     9       First starting at 2:31 a.m. right after he gets

         24      to New York, Vere en called the defendant            9   Indeed he called the

         25      defendant multiple times              And then around 3 a .m., the two


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                 N8UBPER4                         Summation - Ms. Smyser
           1     connected to the same cell site.             Why?    They were meeting        9




           2     They were exchanging guns and money at 3 a.m.

           3                 On October 6 Vernen is back in South Carolina             9       As

           4     we'll discuss later, this happens over and over again.                    Vernen

           5     buys guns       He travels to New York           He calls the defendant            •




           6     He meets with the defendant, and they exchange guns and money

           7     It's no secret what is happening here            9   Each time Vernen was

           8     buying guns in South Carolina and delivering them to the

           9     defendant in New York          Everything we've talked about so f at is

          10     sufficient to show you the defendant received the Canik in New

          11     York

          12                 But this is not the only evidence you have                You have

          13     the f act that the defendant was arrested in the Bronx in June

          14     of 2021 with that gun.          This was the stop with Officer Smalls                   9




          15     Officer Smalls was responding to a 911 call reporting that a

          16     man had a firearm in the area of East Gun Hill Road and Perry

          17     Avenue in the Bronx      9    The radio transmission reported that the

          18     man was Hispanic, 5 6, wearing a white T-shirt, black pants, a
                                           I




          19     blue purse, a black and white turban and that he went by the

          20     name Lucca       And when Officer Smalls responded, he saw the

          21     defendant just as you see on the screen here              9




          22                 Officer Smalls looked inside the defendant's bag and

          23     he found the defendant's gun, the Canik, the gun that the

          24     defendant had paid Vere en to purchase in South Carolina and

          25     that the defendant got from Vere en on a trip to New York                 9        So



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                 N8UBPER4                         Summation - Ms. Smyser
           1     the defendant has not only clearly committed the first element

           2     of this crime, but also the second.              He received in New York

           3     his state of residence a Canik which Vere en had purchased out

           4     of state   9




           5                    The third and final element here is that the defendant

           6     acted willfully, and I want to talk just a little bit about

           7     willfulness        Before I do, you should know that Judge Rakoff's

           8     instructions of the law govern.              If I or any lawyer says

           9     anything that is inconsistent with those instructions, you

          10     should follow them.         But I expect that Judge Rakoff will

          11     instruct you that willfulness does not require that the

          12     defendant knew what specific law he was violating                          Instead, he

          13     just needs to know that he was acting with a bad purpose                       9   And

          14     although this seems to be the main dispute at this trial, it's

          15     actually not a close call        9       The evidence proves beyond a

          16     reasonable doubt that the defendant was acting willfully, that

          17     he acted with a bad purpose          9




          18                    And I'm now going to walk you through the three ways

          19     you know that the defendant was acting willfully               9       First, the

          20     defendant used a straw purchaser in South Carolina                 9       Why did he

          21     do that?       Because he wanted guns in New York, but he had a

          22     problem.       He didn't have a permit to purchase his own guns in

          23     New York   9     You can see that this is yet another point on which

          24     the parties agree, that's Government Exhibit 1006, that the

          25     defendant has never been granted a firearms license                    9     The



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                 N8UBPER4                         Summation - Ms. Smyser
           1     defendant's lack of a firearms permit is why he didn't just

           2     walk into a gun store in the Bronx and buy a gun himself                                    It's

           3     why he sought the help of a straw purchaser living 600 miles

           4     away to lie at gun stores to buy guns for him.                        It's why the

           5     defendant called Vernen.           It's why he paid Vernen, and it's why

           6     they met in the middle of the night at 3 a.m.

           7                Members of the jury, use your common sense                   9        You don't

           8     meet in the middle of the night to get a gun that you think you

           9     can have      No     You meet in the middle of the night SO that you

          10     can get an illegal gun without being detected.                        You get someone

         11      to travel hundreds of miles to see you            9       That is how badly the

          12     defendant wanted guns

          13                 The second reason you know that the defendant was

          14     acting willfully is how he reacted during his arrest in the

          15     Bronx      I want to take a moment to talk about that arrest                            9   As

         16      we do, I want you to think about whether this is a man who had

         17      no idea he was doing something unlawful               9   The evidence shows

          18     that the answer to that is no          9   What is the first thing that

          19     the defendant does when the officers approach, he tells them

         20      not to go in his bag       9




          21                 (Media played)

         22                  (Media stopped)

         23                  MS. SMYSER:        "Don't go in my bag, brother                 II
                                                                                                   The

         24      defendant does not want that officer in his bag                   9    Why?        Because

         25      he knows he's possessing the Canik in New York was illegal and


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                 N8UBPER4                         Summation - Ms. Smyser
           1     he doesn't want to get arrested.             He doesn't say he has an arm

           2     until he already knows that Officer Smalls has frisked his bag,

           3     and he knows that he's been caught                And what does he do next?

           4     He lies about his address        9




           5                 (Media played)

           6                 (Media stopped)

           7                 MS. SMYSER:      "What's this building I have no idea             II




           8     Did the defendant actually have no idea what this building was?

           9     No     This is the building where he lived, as you can see in his

          10     DMV records Government Exhibit 601           9    He was lying         Why was he

         11      lying?     He'd been caught, and he knew that he was breaking the

          12     law.     To be clear, he was not bewildered or confused as to why

          13     he was being arrested.          He knew exactly why he was being

          14     arrested, and this video makes that clear              9




          15                 (Media played)

         16                  (Media stopped)

         17                  MS. SMYSER:      Officer Smalls found the gun and asked

          18     the defendant if he had a permit                 The defendant doesn't say,

          19     What do you mean.        I had no idea I needed one                Where do I get

         20      one. What should I do          No     He says I don't need a permit                A

          21     permit is a permission, and I'll deal with this in court

         22                  Now this is not an instance where the defendant just

         23      didn't know the laws surrounding how you get guns

         24                  (Media played)

         25                  (Media stopped)


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                 N8UBPER4                               Summation - Ms. Smyser
           1                 MS. SMYSER:      II   I|m   not worried about a permission.                     A

           2     permit is a permission.           II
                                                        This is a man who knows about the laws

           3     and has decided that they do not apply to him.                                That is a

           4     willful disregard of the law.                And I know you've seen this clip

           5     already, but I want to watch it again because it shows a man

           6     who knows exactly what he was doing                 9




           7                 (Media played)

           8                 (Media stopped)

           9                 MS. SMYSER:      The defendant here tells the officers

          10     that they should learn                 They should learn not to uphold the

          11     legalities and regulations and mandates and all of that extra

          12     stuff      He's not confused as to why he's being arrested.                               He's

          13     not trying to comply with the law.                      No       He's disregarding it

          14     and telling the officers to do the same                      9    That is acting with a

          15     bad purpose

          16                 Third and finally, you know that the defendant knew he

          17     was doing something wrong because after he was arrested in the

          18     Bronx, he doubled down.                He was told he needed a permit                9    His

          19     gun was taken away, but he did not stop and think twice                              9    He

         20      did not go out and try to get a gun permit                        9   He did not try to

          21     do the right thing      9   Instead, just two weeks later he packed up

         22      his guns in the Bronx and he headed to Rhode Island with them

         23      to meet his friends, the Rhode Island residents, and they

         24      headed to Massachusetts           9     And it was there that he was arrested

         25      with his friends and with the guns              9




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                 N8UBPER4                          Summation - Ms. Smyser
           1                 We will talk a little bit about the details of that

           2     arrest later, but for now it shows that all along the defendant

           3     knew that he had been acting with a bad purpose                9     These three

           4     reasons      That the defendant used a straw purchaser; his

           5     reaction to the Bronx arrest; and the f act that he was arrested

           6     in Massachusetts just two weeks later show you that the

           7     defendant was not trying to lawfully get guns              9       Instead, he was

           8     choosing not to follow a law because he did not like it.                    But

           9     as Americans, we all have to live by the same laws, even if we

          10     don't agree with some of them.            You don't get to decide which

         11      laws apply to you      9




          12                 So as we've discussed, the defendant was not a license

          13     firearms dealer            He received a firearm in New York that was

          14     purchased outside of his state of residence, and he did so

          15     willfully       That is why the defendant is guilty of Count Two               9




         16                  Now that you know that the defendant is guilty of

         17      Count Two, I want to talk about Count One which is the

          18     conspiracy charge      9     As I expect Judge Rakoff will tell you, a

          19     conspiracy is just an agreement, and here you know that the

         20      defendant agreed to violate Section 922(a) (3) for the reasons

          21     we've already walked through and more             9   Let's focus on the

         22      evidence that we've already seen.               We've already talked about

         23      the f act that the defendant got the Canik from Vere en in New

         24      York and that he did SO willfully           9




         25                  His relationship with Vereen is sufficient in and of


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                 N8UBPER4                         Summation - Ms. Smyser
           1     itself to convict on Count One          9   The defendant agreed with

           2     Vere en at minimum to transport and receive firearms from out of

           3     state, but there is more to the defendant's conspiracy than

           4     that     You know, for example, that Vernen bought many more guns

           5     than just the Canik, at least 24 guns in total to be exact. You

           6     can see that in Government's Exhibit 902                9   Many of those

           7     purchases took place right before Vere en traveled to New York

           8     and met with the defendant            You can see that in the

           9     highlighted rows on the screen.

          10                 But it's not just the defendant, these trips also took

         11      please after the defendant's friends Jamil Bey and Ricardo

          12     Rodriguez paid Vernen for guns          9   Bey and Rodriguez are the

          13     defendant's co-conspirators too              They were paying Vere en for

          14     guns that Vere en delivered to the Bronx            9       Let's focus on Bey

          15     for a moment    9   Bey paid Vere en on September 12th                 9   He did not

         16      have a gun license, as you can see in the bottom right-hand

         17      side of the screen, and he lives in the Bronx                  9       His DMV and

          18     Western Union records show that his address was 2759 Webster,

          19     but his cell phone records also show a connection to 236 East

         20      Gun Hill Road, which is an address that shows up in his DMV

          21     history, and it's also an address where his cell phone

         22      frequently is.

         23                  There's no question that the person who sent the money

         24      to Vernen is Jamil Rasul Bey, the same Bey who was arrested

         25      with the defendant in Massachusetts, which we'll talk about a


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                 N8UBPER4                            Summation - Ms. Smyser
           1     little bit in the bit         9    The defendant is the link between Bey

           2     and Vernen            The defendant talked to Vere en almost 22 times

           3     over this couple of month period and Bey almost 50 times, but

           4     Bey and Vere en, they never called each other                  9           The defendant

           5     was their go-between.             The defendant brought Bey into the

           6     conspiracy and communicated on his behalf              9       He linked Bey and

           7     Vernen •

           8                    Let's talk next about Rodriguez             The defendant is

           9     also the link between Rodriguez and Vere en.                       Like Bey,

          10     Rodriguez paid Vere en on September 12, 2020               9           He's from the

          11     Bronx, and he didn't have a license to deal in firearms as you

          12     can see here, and again the calls show that the defendant is

          13     the link         Rodriguez talked to Vere en just twice on September

          14     14 and September 16 when Vere en is in New York after Rodriguez

          15     had paid him for a gun              But Rodriguez talked to the defendant

          16     all the time, almost 200 times in three months                         9       The defendant

          17     was Rodriguez's guy               This all shows that the defendant is the

          18     link to Vernen's guns              He brought his friends Bey and

          19     Rodriguez into the conspiracy, and he helped them get guns from

          20     out of state      9




          21                    Both Bey and Rodriguez like the defendant are

          22     residents of New York and didn't have firearm licenses to

          23     lawfully get guns from out of state, yet they did it anyway

          24     together   9     In other words, they're in a conspiracy.                         I want to

          25     briefly walk through Vernen's trips which are one of the


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                 N8UBPER4                             Summation - Ms. Smyser
           1     powerful pieces of evidence of the defendant's conspiracy                           9        As

           2     you heard in this trial, Vernen took four trips to New York

           3     from September 2020 through November 2020                   9       The first trip is

           4     September 14th      9     The next is October 3rd,              The third is October

           5     22nd, and finally November 1st                  We'll walk through each of

           6     these starting with the first            9




           7                    On September 12, Bey and Rodriguez paid Vere en.                         That

           8     day and the next Vere en bought seven guns, and you see those

           9     gun purchases here, six guns from three FFLs all in South

          10     Carolina   9     After Vernen bought those guns, he took a trip to

          11     New York   9    He first traveled up to New York                9        And after a call

          12     with Rodriguez and the defendant, he met with the defendant                              9




          13     And two days later, he met with all of them before heading back

          14     home, delivering guns, getting paid and going home

          15                    Trip two is more of the same         9   I'm not going to dwell

          16     on it since we've already discussed it, but on October 1st and

          17     2nd Vernen bought four guns in South Carolina, including the

          18     Canik      You can see those purchases here             9       As I said, he bought

          19     four guns plus the Canik         9    He then traveled and met with all

          20     these co-conspirators again                  You know that he met with the

          21     defendant on October 3rd at 3 a.m., and the next day he's in

          22     the same vicinity as the defendant and Bey and Rodriguez

          23     delivering guns getting paid, going home                9       A few weeks later,

          24     Vernen and the defendant did it again.                  Vernen bought guns in

          25     South Carolina, three guns to be exact, which you can see here                                    9




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                 N8UBPER4                           Summation - Ms. Smyser
           1     He then traveled to New York and he met with the defendant                      9




           2                 Here he is traveling up, meeting with the defendant,

           3     and heading back home less than 12 hours in the Bronx

           4     delivering guns, getting paid, heading home                  Finally, Vernen

           5     did it one more time       9   He bought two guns in South Carolina                 9




           6     He traveled to New York        9    Here he is going up, delivering the

           7     guns to the defendant, getting paid, going home

           8                 Members of the jury, these are Vere en's only trips to

           9     New York over that nine month period from September 2020

          10     through July 2021      9   These trips happen only after Vere en

          11     purchases guns in South Carolina, talks to the defendant and

          12     then meets with the defendant, and sometimes he meets with the

          13     defendant's co-conspirators too              This is not a situation where

          14     Vernen is just traveling to New York to see his f family or his

          15     friends or celebrate a holiday          9   He's coming for quick trips to

          16     see the defendant and deliver guns               Sometimes staying for only

          17     a few hours 9

          18                 Use your common sense       9   This is not a coincidence           9




          19     Again, this is all you need to convict on Count One                    9   You have

          20     the defendant        You have Vernen.        You have Bey    9   You have

          21     Rodriguez all in conspiracy together, agreeing to purchase guns

          22     from outside their state of residence without licenses                     9   But

          23     again, that is not all the evidence you have about the

          24     conspiracy       You have the Massachusetts arrest           9   You know that

          25     Vernen bought a gun, a Glock on July 23, 2020, which is


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                 N8UBPER4                            Summation - Ms. Smyser
           1     highlighted here      9




           2                   The defendant and Jamil Bey and others were then

           3     arrested on July 3, 2021        9     This group of men was arrested with

           4     the Glock and with many other guns            9   They were all part of a

           5     conspiracy to transport and receive guns from out of state

           6     without the proper licenses           9   How do you know?       Let's start

           7     with the defendant and with Bey               This is from Government

           8     Exhibit 330C, Jamal Latimer's body worn camera               9    On that camera

           9     you see the defendant on the right wearing body armor                  9   The

          10     parties have agreed on that, and he is standing right next to

          11     Jamil Bey whom he helped get guns from Vere en.                  Let's watch

          12     this

          13                   (Media played)

          14                   (Media stopped)

          15                  MS. SMYSER:     Latimer, the leader asked twice, nothing

          16     is stolen, right          Nothing is stolen, right           And Bey says,

          17     nah, nah, hell nah          And as Bey is answering, the defendant,

          18     w h o 's   the man in the upper right-hand corner of the screen is

          19     standing next to him shaking his head no confirming that those

          20     guns were not stolen.

          21                   Watch this again and pay careful attention to the

          22     defendant's head shake as Latimer ask if the guns are stolen.

          23                   (Media played)

          24                   (Media stopped)

          25                  MS. SMYSER:     The defendant knows that these guns


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                 N8UBPER4                         Summation - Ms. Smyser
           1     aren't stolen.        How does he know that?         Because he and Bey are

           2     the ones who brought the guns from New York to Rhode Island to

           3     Massachusetts     9    They're the ones who are legally supplied the

           4     guns for the group, only two weeks after the defendant's arrest

           5     for illegally possessing a firearm in the Bronx                 9




           6                 Let's step back for a second and talk about this group

           7     and who they are and why they wanted guns              9   First, let's focus

           8     on Jamal Latimer          He was the leader and spokesperson for the

           9     group that you saw on Trooper Casey's body camera                   9   He was

          10     arrested that day as you see here on the screen, and he is a

          11     Rhode Island resident, which you see in his DMV records,

          12     Government Exhibit 605           He also does not have a license to

          13     deal firearms          This is the other individual who's featured in

          14     that body worn camera clip which Latimer is asking if the guns

          15     are stolen.      This individual is sitting in the car when Latimer

          16     is asking that question.           The defendant is confirming that

          17     they're not stolen.

          18                 This is Aaron Jiminez, Alban El Curran, he is a New

          19     York resident, and he also does not have a license to deal in

          20     firearms, and DMV records show that at least one point in time

          21     he was the defendant's neighbor and they were living at the

          22     same address          One question you might have is why            9   Why are the

          23     defendants and Bey and all these other men agreeing to

          24     illegally transport firearms from out of state?                     Because they

          25     are part of a so-called militia who wants to train with their


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                 N8UBPER4                            Summation - Ms. Smyser
           1     weapons      And that training as Jamil Bey tells the defendant

           2     here on the screen starts on July 3rd, 2021, the day they are

           3     arrested in Massachusetts            9       When they are arrested, they are

           4     headed to operation Fountain Head which is led by Jamal

           5     Latimer, the commander of operations as you see here                     9   Latimer

           6     sends a packing list to a group chat with many of the people

           7     who were arrested.         That packing list has a lot of military

           8     equipment on it, but it also has firearms at the very top                      9




           9                 Latimer wants to use this equipment to train.                     You see

          10     here he says he wants blanks to practice firing and ambushes

          11     and assault fighting positions, etc                     Essentially Latimer wants

          12     them to be a military unit               9    We could have five platoons with

          13     the amount of people in this group                 9   That's damn near a company

          14     he says      And a man named Quinn responds in the bottom

          15     right-hand corner of the screen, Quinn is Quinn Cumber lander,

          16     one of the people who was arrested.                    Q u i n n , like Latimer, is a

          17     Rhode Island resident and does not have a license to deal

          18     firearms       You see that here on Rhode Island residency in

          19     Government Exhibit 606          9




          20                 Now, the defendant is not part of that group chat that

          21     we were talking about, but it's very clear that he knows what's

          22     going on.      This makes sense because his friend Jamil Rasul Bey

          23     is in that group chat       9       You could see that here, as is Aaron

          24     Jiminez, his friend and old neighbor                     And as you see here on

          25     June 21st, Latimer sends out the packing list to the group,


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                 N8UBPER4                         Summation - Ms. Smyser
           1     which includes a daysack in addition to firearms                        9     That same

           2     day just a few hours later Jiminez ask the defendant if the

           3     defendant needs a daypack, and the defendant responds that he

           4     already has one      9




           5                 You also know that the defendant knew what was going

           6     on in this group chat because the next day he is starting to

           7     text other people about it.           You should come to the three day

           8     training       He's testing on Signal, this unsent message. Signal

           9     as you heard was an encrypted messaging application which is

          10     more private     9   The text messages and the group chat also show

          11     that the defendant is a trusted member of this group                           9   When the

          12     defendant was arrested in the Bronx, Jamil Bey informed the

          13     group of that arrest       9   More precisely he said that the

          14     defendant had been abducted.            The group sprung into action.

          15     They offered thoughts, and they asked for updates                             And just a

          16     few days later Jamal Latimer even sends a text saying countless

          17     members of their group, including the defendant included, are

          18     :Ln jail      And these repeated arrests of their group members

          19     show that they know that they are violating the law and they

          20     are just choosing to ignore it.

          21                The defendant gets out of jail in time to go to that

          22     training on July 3rd,          The group had a plan.            They would travel

          23     from out of state, including the Bronx members, to meet in

          24     Rhode Island where Latimer lives, their leader                  9           That's also

          25     where another co-conspirator Quinn Cumber lander lived.                            And


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                 N8UBPER4                         Summation - Ms. Smyser
           1     from there, they would drive from Massachusetts and other

           2     states to Maine. They were going to travel in two cars which

           3     were loaded with firearms supplied at least in part from the

           4     defendant and Bey who came from New York, and those cars also

           5     had a lot of ammunition.          Latimer explain this plan to Trooper

           6     Casey who comes across the group around 1 a.m. on the 4th of

           7     July weekend.

           8                 (Media played)

           9                 (Media stopped)

          10                 MS. SMYSER:      They are a militia decked out in AR-15

          11     and military f atigues heading to Maine to train.                          The defendant

          12     who was helping to get guns for the group knows what's going

          13     on.    Which guns is he getting?          He's getting these guns

          14                 MS • BAHARANYI       Objection, your Honor

          15                 THE COURT:      Overruled.

          16                 MS. SMYSER;      One of these guns was purchased by

          17     Vernen •    It is a Glock with serial number AELY222                   9     It's this

          18     gun right here purchased by Vere en in South Carolina brought to

          19     the defendant in New York            But that is not the only gun that

          20     the defendant is tied to during this stop               9




          21                 (Media played)

          22                 (Media stopped)

          23                 MS. SMYSER:      In this video the defendant is holding

          24     what appears to be an AR-15 for Latimer             9       That is the photo on

          25     the left       In that video he also appears to have a firearm


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                 N8UBPER4                            Summation - Ms. Smyser
           1     strapped across his chest that's sitting on his hip                     9       You see

           2     that here in the middle of the screen.               Plus there is the gun

           3     purchased by Vernen, the defendant's straw purchaser                            And

           4     these guns are passed around between the group members because

           5     they are group guns, guns that this group wanted to transport

           6     interstate without a license           9




           7                 Based on all of this evidence, you know that the

           8     defendant was in a conspiracy to transport and receive firearms

           9     into the state of residence of the ultimate receiver                        9    The

          10     Massachusetts arrest as I mentioned earlier also provides

          11     strong evidence of this group's willfulness              9       Why?       Remember

          12     that this arrest came two weeks after the defendant's arrest,

          13     two weeks after the group learned about the defendant's arrest                            9




          14     They had plenty of notice that they were probably doing

          15     something unlawful      9




          16                 But on July 3rd when the police calmly asked them to

          17     put their guns away, they refused.              They refused to put away

          18     their guns        They passed around their guns, including to the

          19     defendant       They had their guns and their ammunition and their

          20     magazines at the ready, specifically they had nine guns,

          21     including assault rifles, over a thousand rounds of ammunition

          22     and almost 20 magazines         9    This arsenal shows that they planned

          23     this      They needed to transport guns interstate in order to

          24     make this happen.           The Massachusetts arrest tells you what was

          25     in the defendant's mind.             It shows you that the defendant knew


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                 N8UBPER4                         Summation - Ms. Smyser
           1     that he was acting with a bad purpose, just two weeks before

           2     he'd been arrested in the Bronx, informed that he needed a

           3     permit for the gun.

           4                 And two weeks later what is he doing, he's not trying

           5     to comply with the law.          Instead, he's moving guns from New

           6     York to Rhode Island, including to residents of that state, and

           7     to Massachusetts and they plan to go to Maine for a military

           8     training exercise          He knows exactly what he is doing               9   Now

           9     that you've seen the evidence, you know that the defendant and

          10     others agreed to violate the law              You know they didn't have

          11     gun licenses        You know that they transported and received

          12     firearms in their states of residence like New York and Rhode

          13     Island, and you know that the defendant acted willfully

          14                 Members of the jury, this is not a man who received a

          15     gun once       This is not a one-off thing         9       It is not a mistake       9




          16     The defendant is a man who disregards the laws that he doesn't

          17     like, laws that are designed to keep everyone safe                     9   He is a

          18     man who thinks he is above the law.              That should end today

          19     cause when you consider all of the evidence and when you use

          20     your common sense, you will come to the only conclusion that's

          21     consistent with the evidence and the law, that the defendant is

          22     guilty

          23                 THE COURT       Thank you very much        9    Now we'll hear from

          24     defense counsel

          25                 MS • BAHARANYI       Your Honor, before we begin, is it


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                 N8UBPER4                         Summation - Ms. Smyser
           1     possible to take a brief break.

           2                 THE COURT:      All right.      I| m going to give you a longer

           3     break later this afternoon, but we|II take a five-minute break

           4     at this time     9




           5                 (Continued on next page)

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                 N8UBPER4                         Summation - Ms. Smyser
           1                   (Jury not present)

           2                   THE COURT:    Please be seated.        Let me just mention in

           3     the final instructions that I sent you earlier today, there

           4     were a couple of typos on page 21           9   In the last sentence

           5     "willfully" means to act with bad purpose and evil intent,

           6     there should be no comma after intent, to act unlawfully even

           7     if the defendant does not know the specific law he is

           8     violating     9




           9                   On page 23 in the third sentence there should be more

          10     plural, so it should read in Count One, The unlawful purpose

          11     alleged to be the object of the conspiracy is an agreement to

          12     transport firearms that were obtained outside the states of

          13     residency of the eventual receivers into the states of

          14     residency of the receivers         9
                                                        I ve also change slightly, but not
                                                         I




          15     in any substantive way, the next sentence, and I'll get you all

          16     this before I give the jury the charge tomorrow.                    But the

          17     sentence beginning the gist of, it now reads, The conspiracy

          18     here charged is that several persons, including the defendant,

          19     agreed to a plan to commit the same kind of substantive

          20     violations        9




          21                   The previous sentence had referred back to Count Two            9




          22     And finally the next sentence               and please bear in mind I

          23     added I ve slight few words there
                           I
                                                                 Please bear in mind the

          24     conspiracy is an entirely distinct and separate offense from

          25     the par ticular substantive crime charged in Count Two of the


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                 N8UBPER4                          Summation - Ms. Smyser
           1     defendant actually receiving a specific out of state firearm in

           2     the defendant's state of residence

           3                 Finally, with apologies to Blackstone, I think the

           4     word llevilu should be taken out of the instruction on page 21

           5     So in addition to the typos I previously corrected, I ' m

           6     correcting it by deleting the word "evil,             II
                                                                            So it now reads,

           7     willfully means to act with a bad purpose and intent to act

           8     unlawfully, even if the defendant does not know the specific

           9     law he is violating       9    Okay

          10                 Defense counsel is ready, we'll bring in the jury

          11                 MS • BAHARANYI        I am, your Honor

          12                 THE COURT         Very good.

          13                 (Continued on next page)

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                 N8UAAPER5                        Closing Statement - Ms. Baharanyi

           1                 (Jury present)

           2                 THE COURT:      Please be seated.

           3                 Okay, counsel

           4                 MS • BAHARANYI       Yes, your Honor

           5                 "That's my arm, sir          It is my constitutional right to

           6     have it.      I'm not doing anything wrong          II




           7                 When Lucca El was surrounded by officers outside of

           8     his home, he didn't know why they were approaching him.                    He had

           9     been listening to music, chatting with his f favorite neighbors,

          10     minding his own business on a warm summer night                  9   He had no

          11     idea why they approached him.            He had no idea why they

          12     surrounded him.        He had no idea why they were grabbing his bag

          13     and he certainly did not understand why he was being arrested

          14     or grabbing his arm and his bag          9   Lucca El, did not believe

          15     that he was doing anything wrong in carrying a firearm.                    And he

          16     certainly did not believe he was doing anything wrong in

          17     receiving a firearm from a different safe                9




          18                 Your role as a jury is not to decide whether Lucca El

          19     was mistaken.       Your role is not to decide whether he was wrong

          20     on the law.       The question for you to decide are whether the

          21     government proved beyond a reasonable doubt that Lucca El

          22     unlawfully received a handgun from someone that he knew, from a

          23     f amity member and whether the government's proven beyond a

          24     reasonable doubt that Lucca El agreed or conspired with others

          25     to unlawfully receive a handgun.             Those are the questions        9




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                 N8UAAPER5                        Closing Statement - Ms. Baharanyi

           1     Based on what Lucca El says, you know the answer's no                         Based

           2     on what Lucca El does, you know the answer is no                      9   Based on

           3     what he believes, you know the answer is no              9




           4                  The government wants you to convict Lucca based on the

           5     places that he's been, the people that he knows, the guns

           6     gathered by those other people without Lucho's involvement                         9




           7     They have weaved together a complicated tale of twists and

           8     turns based on what they believe              But the truth is simple              9




           9     Lucca El had no intent to break the law in receiving a firearm

          10     from out of state      9   He'd made no agreements with other people

          11     to unlawfully receive or transport firearms              9       He had no bad

          12     purpose      He did not act with bad intent              And SO he is not

          13     guilty.

          14                 So then what is this case about?             Why are we talking

          15     about militias in Massachusetts when we're here in federal

          16     courthouse in New York City?            Who are those people he made

          17     agreements with and where are those agreements to receive

          18     firearms ?     Where are the messages, the communications that show

          19     you that he is receiving firearms unlawfully?

          20                  The government, the confusion you might feel based off

          21     of what you heard over the past two and a half days, three

          22     days, is a product of the government's misdirection.                         The

          23     government's waived other people in front of you, other places,

          24     other agreements to distract you from the truth that was in

          25     Lucca's mind, that he was doing nothing wrong                         And as my


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           1     colleague explained in opening, what is in Lucca's mind was

           2     what's matters         That is what distinguishes unlawful conduct

           3     from lawful conduct       9




           4                 I'll talk briefly about the law.             The judge will

           5     instruct you that the government, the government alone has an

           6     extremely high burden of proving that Lucca is guilty beyond a

           7     reasonable doubt on two counts          9   In Count One Lucca is charged

           8     with conspiracy to unlawfully transport firearms out of state

           9     and into the state of residency of the receiver                   9   In Count Two

          10     Lucca El is charged with unlawfully receiving or transporting

          11     an out of state firearm into his state of residence, New York                         9




          12                 To prove Count One the government would have to prove

          13     beyond a reasonable doubt that Lucca and at least one other

          14     person specifically agreed to willfully receive or transport

          15     firearms into their states of residence             9




          16                 The government would have to prove for Count Two

          17     beyond a reasonable doubt that Lucca willfully received a Cynic

          18     or Janie TP 9 firearm from out of state into New York                    9




          19                 For both of those counts willfulness matters                 9   What

          20     was in his mind matters

          21                 Now the concept of willfulness is simple and will be

          22     explained by the judge when he gives you his instructions but I

          23     expect the judge to say, a person acts willfully when they do

          24     something, when they act with a bad purpose              9       A person acts

          25     willfully when they act with a bad purpose in their mind.                        In


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           1     short, to prove Count One the government must prove that there

           2     was some unlawful agreement and bad purpose              9       And to prove

           3     Count Two, the government must also prove that there was bad

           4     purpose          His mind matters     What was in his head matters               9       And

           5     the government fell f as short of proving these two counts,

           6     proving willfulness beyond a reasonable doubt                9       And for that

           7     Lucca El is not guilty

           8                 Now a couple of days ago the government opened with a

           9     story      They opened with a story about Lucca coordinating

          10     purchases with the straw purchaser f ar off over 60 miles away

          11     and coordinating these purchases for a group that Lucca was a

          12     member of    9




          13                 From the beginning this story has never made sense                       9




          14     On the screen you can see the Western Union payment between

          15     Lucca and Keith Vernen           This was a payment sent using Lucca's

          16     biological name, his address, his phone number                   9       Nothing was

          17     hidden •    And this is the payment that the government says was

          18     for the purchase of the firearm that is described in Government

          19     Exhibit 430       9




          20                 Look at the price of that firearm, $ 4 9 5               9    Lucca sent

          21     $350 over a week before this firearm was purchased.                          What straw

          22     purchaser or gun trafficker buys a gun at a financial loss?                               At

          23     a $150 loss?          That's not something that a straw purchaser does                     9




          24     That is something that your f amity might do             9




          25                 Maria Otero took the stand for her cousin, Lucca                     9       She



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           1     took the stand to explain to you the real relationship between

           2     Lucca and Vernen.        Not the straw purchaser straw, purchase

           3     relation that was presented to you in openings                  9       No       Lucca ' s

           4     grandmother and Keith's grandmother are sisters                     9    They both

           5     grew up in the Bronx          9    They've attended f amity functions

           6     together   9     Defense Exhibit C1, you can see Lucca surrounded by

           7     f amity and Keith Vernen surrounded by Lucca's brother and

           8     Lucca's f other        This is not a straw purchaser relationship                       9




           9      This is f family      And from f amity Lucca accepted a handgun, a

          10     handgun that had been purchased in a gun store, an FFL, a

          11     handgun with a serial intact written on its side, a handgun

          12     with all the appropriate markings, the manufacturer number, the

          13     make, the model, the importer               Lucca did not believe that he

          14     was doing anything wrong in receiving a handgun for self

          15     protection in an increasingly dangerous neighborhood.

          16                    And Officer Smalls told you exactly what the

          17     neighborhood that Lucca El was like is from.                    He told you

          18     exactly what Lucho El's neighborhood is like, gang violence,

          19     assaults, robberies       9       Lucho El received this handgun for his

          20     own self protection.              He didn't intend to disobey the law in

          21     receiving a handgun.              He did not act with bad purpose            9     He

          22     accepted this from f family

          23                    But how will you know that Lucca did not have bad

          24     purpose in his mind when you received this firearm?                          How will

          25     you know?        Well, we spoke a little bit earlier about the


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           1     firearm but take a look at this          9       You can see clearly the

           2     details on this firearm.           As I mentioned, the manufacturer, the

           3     model, the importer and ATF Agent Lenna Gordon got on the

           4     stand .     She explained that these markings on a firearm, they

           5     are important     9     They are the way that the ATF can trace a

           6     firearm, the way that the ATE can determine who purchased a

           7     firearm, who bought a firearm.               And without this information

           8     without the manufacturer, without the serial number, without

           9     the model, tracing these guns are almost impossible                    9




          10                 Lucca did not file off the serial number                       You can see

          11     it right there in front of your f ace              9   Lucca El did not remove

          12     or hammer it off        9   He did not remove what is the easiest way to

          13     prove where a gun came from and who purchased it and he didn't

          14     do that      He didn't remove that because he did not believe that

          15     receiving a firearm from his cousin was somehow unlawful                       9




          16                 How else will you know is that Lucca did not act with

          17     bad purpose in his mind?           The proof is on the video           9




          18                  (Video playing)

          19                 MS • BAHARANYI        Officers approached Lucca, surrounded

          20     him.      He never tries to run away         9    He never tries to fight the

          21     officers       In f act, he gives the officers his ID card with his

          22     address, the address that he is standing in front of, 3318

          23     Perry Avenue           He hands that to officers during this

          24     interaction.          He explains to officers why he believes he has a

          25     right to carry that firearm.            He tells them, " I t ' s my


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           1     constitutional right".

           2                 Now, if you are sitting there and you are thinking

           3     everybody knows you can't have a gun in New York City, if

           4     that's going through your mind, I want you to acknowledge it.

           5     I want you to take those beliefs, those preconceived notions

           6     and I want you to leave them outside the deliberation room.

           7     Your job today is to consider the f acts and evidence, the f acts

           8     that were presented and decide if the government's met their

           9     burden, their heavy burden.             And from the f acts that are in

          10     evidence here in this courtroom, the f acts about Lucca's

          11     actions about his words, about his beliefs, you'll know be did

          12     not act with a bad purpose in his mind.

          13                 The government spent a lot of time talking about Keith

          14     Vernen and Keith Vernen's trips up and down the Atlantic coast

          15     in the f all of 2020      9   These trips are not proof of Lucca El's

          16     role in the conspiracy        9     They're not proof of Lucca El's state

          17     of mind when receiving a firearm from Keith              9       These trips are

          18     distractions        Over dozens of slides and nearly two hours of

          19     testimony from Mr. Peterson, you did not hear any reliable

          20     information on the location of the four devices that

          21     Mr. Peterson reviewed and analyzed.               Mr. Peterson, who is the

          22     government's frequently used and very well paid expert or cell

          23     site location consultant testified at length about cell site

          24     location information.             But his testimony made clear that he

          25     can't pin a cellphone to a par ticular location.                      And his


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           1     testimony made clear that the general vicinity, his estimate

           2     about a phone being in the general vicinity is based on the

           3     assumption that a cellphone connects to the closest tower               9




           4      That's an assumption you heard him say he didn't test                 He

           5     didn't go to the neighborhood at east Gun Hill Road in

           6     Bainbridge       He didn't drive to the Bronx to check out the

           7     towers that he was testifying about             9   He didn't do those drive

           8     tests that can provide concrete information on the signal

           9     strength of a tower       9   He provided conclusions to you, the jury,

          10     without proof to back it up               But even if you were to set aside

          11     our concerns about the reliability of Mr. Peterson's

          12     testimony, the reliability of his conclusions about the Bey

          13     device, Lucca's device, Rodriguez's device, Vere en's device,

          14     even if you set that aside and you accept his conclusions, this

          15     does not mean that Lucca El was part of any elicit conspiracy

          16     to deal in firearms, receive firearms, transport firearms               9




          17                 As you know from Ms. Otero, Keith Vernen is from the

          18     Bronx      he grew up in the Bronx         9   He has a f amity still living

          19     in the Bronx, Maria, Lucca, all of the men in the f family that

          20     you saw in those photographs          9    He has ties here in the Bronx

          21     and a community in the Bronx and all of that location

          22     information could each suggest is that when he comes to town he

          23     visits f family   9    He visits his community

          24                 And Mr. Peterson was clear when I asked him, the call

          25     detail records don't tell you what phone calls were about               9




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           1      Text messages, the content of text messages aren't recorded on

           2     call detail records       9   So anything the government has to say

           3     about what was said to whom or when or where, all of that is

           4     speculation.        They don't know.      They're guessing          But you

           5     shoulder ' t

           6                    We also know from Mr. Peterson from his

           7     cross-examination that he didn't include all the towers, the

           8     cell site, location towers that Vere en used when he traveled

           9     between September and November 2020            9   What that means is he

          10     didn't include all the towers that he says can help determine

          11     or give a general vicinity of where a cellphone is located and

          12     that's no f ault to Mr. Peterson.             The government told

          13     Mr. Peterson what areas to focus on.                The government gave

          14     Mr. Peterson the par ticular call detail record they wanted him

          15     to review.        The government told Mr. Peterson, here is the

          16     limits

          17                    We took the time to go through the records for Keith

          18     Vernen's phone         We didn't limit ourselves           We didn't limit

          19     ourselves to the location or to the par ticular people the

          20     government wants to focus on, and what we found was telling                   •




          21      Towers and different parts of the Bronx that Vere en used that

          22     weren't used by Lucca, the tower at 815 Gerard Avenue and the

          23     tower at 643 Tiptop Avenue used multiple times during this same

          24     time period that did not show up on Mr. Peterson's maps

          25                    Towers in different cities that Vere en passed through


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                 N8UAAPER5                              Closing Statement - Ms. Baharanyi

           1     that he used while he is on his trips, a tower in Ramsey, New

           2     Jersey, these locations weren't provided to you                   9   Neither were

           3     the different phone numbers, phone numbers other than the

           4     numbers provided by the government               9   Phone numbers that did not

           5     show up in Mr. Peterson's direct testimony                       But there are

           6     different phone numbers that the Vere en device called multiple

           7     times over and over during the months of September, October and

           8     November 2020     9




           9                 We spoke at length about one of these numbers,

          10      9178038650       That number showed up over 100 times over 100 on

          11     Vere en's device during this timeframe               •   That number was not

          12     part of his presentation and that number certainly didn't

          13     belong to Lucca

          14                 All of this matters because Lucca El had one firearm,

          15     one firearm from his cousin                 Yet the government wants you to

          16     believe that Lucca El is somehow connected to 23 other

          17     firearms       And this isn't based on any communications that the

          18     government has        9     This isn't based on any video surveillance

          19     footage that the government has              9   This is not based on any

          20     trail of money payments            9    It's not based in f act        It's

          21     speculation.          And the call detail records show that this

          22     speculation is unwarranted.               Especially when there are other

          23     people that Vere en contacted other places that Vere en went                  9




          24     There were other recipients of those 23 guns                 9




          25                 Now, how else do we know that Lucca was only involved


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                 N8UAAPER5                               Closing Statement - Ms. Baharanyi

           1     in receiving that one firearm, that one from his cousin?                              The

           2     call detail record do show a pattern.                      The records show that

           3     before Keith Vere en took his trip to New York on August

           4     excuse me        October 1        I   2020?     Before that trip he spoke to

           5     Lucca multiple times          9       There are five calls between Vere en and

           6     Lucca before that trip            9    Again, this trip where Keith Vere en

           7     purchased the firearm that was given to Lucca, the one, these

           8     communications with Vernen coordinating with Lucca before

           9     leaving South Carolina and before arriving in New York                           9   But

          10     for every other trip discussed by the government, Vere en's

          11     device only communicates with Lucca when Vere en is already in

          12     New York City     9    He is already in town                There's no coordination

          13     beforehand.      For his trip                  excuse me         for the purchase of a

          14     gun in South Carolina on September 12 and September 13 Keith

          15     Vernen's device connected with Lucca only after Vernen was

          16     already in New York       9       There is no coordination.                 There is no

          17     arrangements          For the gun purchased on October 21, 2020 and

          18     then the trip that Vere en took after that gun purchase, there

          19     were no phone calls between Lucca, Lucca El and Keith Vere en,

          20     none, no coordination, no planning, nothing

          21                 And finally, for that last trip that was discussed,

          22     the gun was purchased on October 31st                      Vernen's trip was from

          23     October 31st to November 1st               9    His device didn't connect to

          24     Lucca's a single time                 No communications      9    No arrangements      9




          25     No coordination.         The pattern of these communications was


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           1     September 14 through October 21st, for October 31 is consistent

           2     with Vernen saying hey, cousin, I'm in town, when he shows up

           3     It is not consistent with Lucca coordinating gun purchases                     9   If

           4     Lucca were working with Vere en to coordinate the purchase of

           5     nearly two dozen firearms worth thousands of dollars for

           6     himself or for anyone else, you'd see proof of that                    9   You'd see

           7     a conversation.        A message, arrangements, phone calls at the

           8     time of purchase or before the purchase                 There is nothing like

           9     that here and there is nothing like that because Lucho did not

          10     receive or conspire with anyone else or Keith Vere en to receive

          11     23 firearms    9   Lucca had one gun.        And for that one gun he

          12     accepted it from his cousin without knowing that he did

          13     anything wrong

          14                 Now, the government does claim that Lucca, the

          15     government claims that Lucca coordinated purchases of firearms

          16     for a group, a group that he had joined and a group that is

          17     planning to go camping and conduct firearms training in Maine                       9




          18     The government told you in openings that Lucca El wasn't only

          19     charged with the important task of coordinating firearm

          20     purchases for the group but he was a trusted member of their

          21     inner circle        From the two and a half days of testimony that

          22     you heard you now know this story was another distraction.                         The

          23     only thing that the government got right about Lucca El and his

          24     membership or relationship to that group is they planned to

          25     learn and train with firearms and camp out in July 3, 2021                     I




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                 N8UAAPER5                               Closing Statement - Ms. Baharanyi

           1     that group       9        And there's no question that Lucca El knows

           2     members in this group             9    But Lucca was not a trusted member of

           3     the inner circle responsible for receiving or transporting

           4     firearms             He was not involved in the planning of this training

           5     in July 2021                And he certainly did not coordinate with others

           6     receiving or transporting firearms for this training                                9




           7                 This afternoon we spent a long time on text messages

           8     and group chats a couple of hours                  9       This particular group chat

           9     which is Government Exhibit 1202A involves dozens of Moors and

          10     was created by Mr. Abdullah Bey, the owner of the chat                                  9   And,

          11     yes, in this chat there is conversation about a training in

          12     July 2021    9        But look closely at the numbers             9       The phone numbers

          13     and the people who were involved in this group chat                             9       Lucca

          14     El's not one of them.                 He's not a member of this group                   9   We

          15     spent hours talking about text after text, group chats, duo

          16     chats that Lucca was not part of •             9       Lucca's name and his number

          17     was not part of this thread because he is not part of this

          18     conversation.              Lucca did not receive any firearm packing list                          9




          19     He did not receive new firearms, packing lists from this group

          20     thread .    Again, he was not in this conversation.                            He's not a

          21     trusted member of this inner circle                    9    He isn't the middleman

          22     for firearms          9    He want even in the group chat             9




          23                 Not a single one of the messages that you saw today

          24     during the government's last witness involves Lucca discussing

          25     firearms             There is not a single text with Lucca discussing how


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           1     to obtain firearms, send firearms, transport them across state

           2     lines, coordinate the purchases of firearms for other people,

           3     nothing      No text   9       No communication.    That's because Lucca had

           4     nothing to do with obtaining firearms for this group                        9




           5                 And with this par ticular group the absence of text is

           6     not out of a fear of detection.             They are not trying to hide

           7     how much they valued the second amendment              9   They are not trying

           8     to hide how much they, how proud they are to possess firearms                             9




           9     They have no problem discussing plans with firearms by text

          10     message

          11                 You can see on the screen this is one of the messages

          12     shared in the group        9     This message discussed Marine Corp, the

          13     use of different maneuvers, the use of close combat                     9       These are

          14     not individuals who are afraid of firearms or anything in that

          15     realm and is not afraid of putting it in writing                    9




          16                 Lucca is not in any of these texts because he never

          17     agreed to transport or receive anyone's state of residence a

          18     firearm.      These messages are sent in group chats and group

          19     texts without Lucca by people who are not Lucca and have

          20     nothing to do with Lucca

          21                 The government's own theory about why Lucho would have

          22     been gathering or helping others gather firearms for a July

          23     2021 training makes no sense chronologically                    You see from the

          24     messages Lucca is told about this training in May 2021                          9     Those

          25     told about this training by someone named Jamil Bey                     9       The


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           1     government's story is that Lucca worked to purchase or

           2     coordinate purchases with Keith Vere en in September and

           3     October, November 2020 for a training that he hadn't even been

           4     invited to until May 2021          9     That doesn't make sense                     The

           5     chronology doesn't make sense                 The timeline doesn't make sense

           6     and that's because Lucca was not coordinating with anyone to

           7     receive or transport firearms out of state                  9




           8                 A lot was made, a big deal was made out of Lucca's

           9     arrest in Massachusetts        9       This arrest in Massachusetts with

          10     other members of this training group is not proof that he was

          11     part of a federal conspiracy to receive firearms into his state

          12     of residence        It is just a final distraction.                      That's it.

          13                 And how do you know this is a distraction?                              Well, you

          14     saw the DMV record for different people that the government

          15     believes were involved in this conspiracy               9       No one's state of

          16     residence?      Massachusetts      9    Not a single person lives there                    9




          17     Massachusetts is not the state of residence for any of people,

          18     any of the other people mentioned this case, not a single

          19     person could be found guilty for receiving a firearm into the

          20     state of Massachusetts because they don't live there                            9




          21                 But beyond the problem, the geography for the

          22     government Lucca doesn't say or do anything in this arrest that

          23     proves his membership in is conspiracy              9   His membership in a

          24     conspiracy to receive guns into states of residence                         9        He was

          25     not the leader of this group             9   He was not the spokesperson for


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           1     this group       9    You heard Trooper Casey testis y that he couldn't

           2     really recall ever interacting with Lucca in Massachusetts                            9




           3                 The government made a very big deal about what a

           4     headshake meant during this Massachusetts arrest                       9       I want us to

           5     take a look at that again.

           6                 (Video played)

           7                 MS • BAHARANYI           Stop there   9




           8                 The government asks you to assume from that clip those

           9     few seconds that Lucca's headshake meant that he knew the guns

          10     were not stolen, that he new where the guns came from, that he

          11     somehow agreed with other people to transport guns into

          12     Massachusetts or into other states of residence                    9       They asked

          13     you to make layers and layers of assumptions about what this

          14     head shake meant            9




          15                 So use your common sense          9       There is only one right

          16     answer when the leader of your group approaches you and another

          17     individual, asks you are any of these firearms stolen right

          18     before you are about to get arrested by the police                         9    A

          19     headshake    9        That headshake says nothing about the origins of

          20     the guns             That headshake says nothing about whether the guns

          21     were received into states of residence and that headshake is

          22     truly just a headshake in a moment where Lucca appeared

          23     bewildered was largely silent and panicked.

          24                 There were guns found inside of the cars in

          25     Massachusetts          9   Now I want to take a moment to discuss those


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           1     guns      The government has asserted claims that Lucca somehow

           2     brought these guns or coordinated with others to bring these

           3     guns from New York to Rhode Island to Massachusetts                    9   But of

           4     the nine guns that were inside of those cars, zero had any

           5     connection to Lucca       9   One was purchased by Keith Vere en.              The

           6     other eight don't even show up on the list of purchases that

           7     Vernen made        And for the single gun that shows up in those

           8     cars that's connected to Keith Vernen, Lucca didn't send any

           9     money to Keith for that gun.            There aren't messages between

          10     Keith Vernen and Lucca about this gun.               And Lucca was certainly

          11     not stopped in Massachusetts holding this gun.                      That's because

          12     Lucca never possessed this firearm.              He was in no way connected

          13     to it.     And the government's claim that Lucca brought,

          14     tailgated with these guns from New York to Rhode Island to

          15     Massachusetts is a statement and claim that you've seen

          16     absolutely no f act or evidence to support and that's because it

          17     didn't happen.

          18                 So really, why did you hear so much about

          19     Massachusetts from two different witnesses?                Why were you shown

          20     photographs of big guns that Lucho never touched and Lucho

          21     never bought and never brought?             Why has the government spent

          22     so much time talking about other people and other places?                       The

          23     reason is because the government does not have proof that Lucca

          24     willfully disobeyed the law             And that is because Lucca did not

          25     violate the law.        He did not know that he was doing anything


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                 N8UAAPER5                          Closing Statement - Ms. Baharanyi

           1     wrong or unlawful      9   He did not form any agreements with other

           2     people to do anything wrong or unlawful, to receive firearms

           3     into other states of residence          9    He had no bad purpose in his

           4     mind .    He formed no bad agreements and that's the simple truth              9




           5     And for lunately for Lucca, the government has not find a word

           6     on this       There are important legal principles that protect

           7     Lucca El and there is you, the jury

           8                 Judge Rakoff will tell you in a few moments or perhaps

           9     tomorrow that there are two fundamental protections that exist

          10     for people in Lucca's position, people accused of crimes that

          11     they did not commit          The first, the presumption innocence

          12     The second, reasonable doubt                These protections are put in

          13     place to make sure that we don't wrongfully convict people                9




          14     Make sure we don't wrongfully convict innocent people like

          15     Lucca El

          16                 These principles protect Lucca today just as they

          17     would protect any of you sitting in those chairs                9   The

          18     presumption of innocence means that we presume that Lucca is

          19     innocent and that can be very easy to say              9   But it can

          20     sometimes be hard to do        9   So here's a good way to think about

          21     :L t


          22                 Think of someone you admire, you respect, maybe a

          23     sibling, a parent, a close friendly               Now imagine you get a

          24     call one day and you are told that this person that you admire,

          25     this person you respect, this person that you trust committed a


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                 N8UAAPER5                        Closing Statement - Ms. Baharanyi

           1     serious crime like the one Lucca El is charged with                       Imagine

           2     how you would feel, the shock, the disbelief                     No way      That

           3     feeling is the presumption of innocence                 That is the way that

           4     the law requires you to feel about Lucca El              9       You must presume

           5     that Lucca did not act willfully or with bad purpose to violate

           6     the law when he received a firearm from his cousin.                       You must

           7     presume that Lucca did not agree with other people to violate

           8     the law, to unlawfully receive firearms into their states of

           9     residence       That's what the presumption of innocence requires

          10     in that case

          11                 Now the second fundamental protection that's in place

          12     for all of us is reasonable doubt           9   Before the government can

          13     convict someone convict, a person of a serious crime they have

          14     to prove their case beyond a reasonable doubt                9     The judge will

          15     instruct you in a moment on what that means as well                       And I

          16     expect he will tell you that reasonable doubt is doubt that

          17     would cause a reasonable person to hesitate to act in a matter

          18     of importance in their life         9




          19                 Proof beyond a reasonable doubt is so convincing that

          20     you would not hesitate to rely on it in your important affairs                        9




          21      This is a high burden.         This is an extremely high burden,

          22     higher than what it takes for the state to take someone's child

          23     away, and it has to be high         9




          24                 Proof beyond a reasonable doubt is what protects

          25     innocent people like Lucca El from wrongful conviction.                      Only


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                 N8UAAPER5                        Closing Statement - Ms. Baharanyi

           1     if the government satisfies its burden, proves its case beyond

           2     a reasonable doubt, can you convict Lucca              9       But they can't in

           3     this case because he did not act unlawfully                9        He did not act

           4     with bad purpose      9   And if you are left with any questions about

           5     what Lucca El really intended when he received a firearm from

           6     his cousin, then you have reasonable doubt and the government

           7     has not proved its case

           8                 MS. SMYSER:      Objection.

           9                 THE COURT       Well, I will give you tomorrow morning the

          10     exact definition of reasonable doubt and that will be what

          11     governs

          12                 MS • BAHARANYI       If you are having trouble

          13     understanding how Lucca fits into that conspiracy with people

          14     he's never spoken to about firearms, he's never communicated

          15     with about firearms, people who have their own group chats,

          16     their own conversations and their own agreements, if you are

          17     having trouble connecting those dots, that is reasonable doubt                       9




          18                 And if you have lingering questions about Lucca El's

          19     state of mind or lingering questions about the conspiracy

          20     because of all the people you did not hear from, then again,

          21     the government has not met its burden.               You have another reason

          22     to doubt

          23                 And of course, if based on all of the evidence and the

          24     lack of evidence, you conclude that Lucca El never unlawfully

          25     received or agreed with others to unlawfully receive firearms


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                 N8UAAPER5                        Closing Statement - Ms. Baharanyi

           1     into their states, then you must find Lucca, Lucca El not

           2     guilty

           3                 In Spanish, "Lucca El Por Libertad" means quite simply

           4     "the struggle for freedom".              And throughout this case we asked

           5     you to focus on Lucca       9   We've asked you to call him by his

           6     right name to honor him.          And even as the government dangles

           7     distraction after distraction in front of you and even when

           8     they stand back up after me to remind you of those

           9     distractions, what matters is what Lucha El intended, what was

          10     in his mind.       He did not receive a firearm into New York with

          11     the intent to violate the law.             And he never agreed with others

          12     to unlawfully receive firearms into their states of residence            9




          13                 Lucca El Por Libertad should not be sitting in that

          14     chair      Like I said, "Lucca El Por Libertad" means "the

          15     struggle for freedom"           And, jury, today you have the power

          16     You have the ability and you have the duty to help him in that

          17     struggle       When you finished what is a very heavy

          18     responsibility of deliberating in this case I will ask you to

          19     return the only just verdict, not guilty             9




          20                 THE COURT       Thank you very much      9




          21                 All right       Ladies and gentlemen, I will give you a

          22     15-minute break at this time         9




          23                 (Recess)

          24                 (Continued on next page)

          25



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                 N8UBPER6                         Rebuttal - Ms. Nicholas
           1                 THE DEPUTY CLERK:          Jury entering the courtroom.

           2                 (Jury present)

           3                 THE COURT:      Please be seated.           All right          Now we'll

           4     hear rebuttal from the government           9




           5                 MS. NICHOLAS        Your Honor, may I proceed°

           6                 THE COURT:      Please

           7                 MS. NICHOLAS        Ladies and gentlemen, I'm not going to

           8     respond to everything you just heard because I don't need to                          9




           9     You sat through this trial         9    You know that a lot of what you

          10     heard just doesn't make any sense                   A little over an hour ago,

          11     my colleague Ms. Smyser walked you through the evidence in this

          12     case      She took you through step by step each part of the proof

          13     that shows the defendant is guilty              9    I'm not going to redo that

          14     now, but there are a few points that were brought up by defense

          15     counsel that I do want to respond to, and those are points that

          16     have very little to do with the evidence in the case; things

          17     that are intended to distract you           9       Because when you look at

          18     the evidence, when you closely examine the government's

          19     exhibits, when you think about the testimony you heard from the

          20     witnesses that sat on that stand under oath, you will come to

          21     the only conclusion that's consistent with that proof that the

          22     defendant is guilty

          23                 Now before I go any fur then, I want to talk about the

          24     burden that the government bears in a criminal case                    9     I told

          25     you in my opening statement that the government would prove its


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                 N8UBPER6                           Rebuttal - Ms. Nicholas
           1     case beyond a reasonable doubt.             The defense talked about that

           2     burden .     They refer to it as a heavy, heavy burden, and it is,

           3     and we embrace it.            We don't run from it.      Of course that's the

           4     standard .     We embrace it, but it's not a magical standard.

           5     It's the standard that's guided by common sense, and it's not

           6     insurmountable       9     It's the standard that's been used in every

           7     criminal case in the history of this country               9       It's been met

           8     before, and we've met it here

           9                  I want to be clear that the defense has no burden.                    We

          10     embrace the burden that sits on the government's table and

          11     never leaves     9       But when a defendant through their counsel

          12     decides to make arguments, you should scrutinize those

          13     arguments just like you do any other piece of evidence                    9   So

          14     let's talk about some of those arguments             9   Defense counsel

          15     invited you to make your decisions in deliberation based on

          16     what the defendant said and what the defendant did.                     So let's

          17     talk about what the defendant said.

          18                 When the defendant is standing on the sidewalk in the

          19     Bronx after having just been placed under arrest for possessing

          20     a gun, his response is not confusion.               It's not a desire to do

          21     the right thing, to make sure he's in compliance with the law.

          22     His response is to say, I'm not worried about a permission.                        A

          23     permit is permission.            I'm not giving my right away            I'm not

          24     going to do it because I am above the law and I can do what I

          25     want


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                 N8UBPER6                         Rebuttal - Ms. Nicholas
           1                     Let's keep going      Same interaction.                    Starting at line

           2      18    "Telling me I need a permit                    I don't need a permit                A

           3     permit is permission.          You should learn that               9       You guys take

           4     your oaths to uphold the Constitution, not to uphold legalities

           5     and regulations and mandates and all that extra stuff                            9   You

           6     took your oaths to uphold the Constitution.                   II




           7               What he's saying there?              I know there are laws. I know

           8     there are rules          There are legalities and regulations and

           9     mandates, all that extra stuff            9     I know.      But you guys should

          10     ignore it because that's what I'm doing                      It doesn't apply to

          11     me     I can do what I want           That's what he says                    And what does

          12     he do?      He gets arrested.       Officer Smalls tells him he needs a

          13     permit          Does he go apply for a permit?              Does he try to make

          14     sure that he gets in compliance with the law because he

          15     respects these gun laws and he wants to make sure he's done the

          16     right thing          Absolutely not   9       He packs his guns in his car in

          17     the Bronx and he heads to Rhode Island.                     He heads to Rhode

          18     Island where he gets arrested again with guns                          9    And we're going

          19     to talk more about that arrest            9




          20                     Defense counsel said that none of those guns had any

          21     connection to Lucca       9   One of those connections is the man on

          22     the right, Jamal Latimer            Ladies and gentlemen, what the

          23     defendant says to the police in the Bronx, " W e could argue this

          24     :Ln court         I ' d deal with this in court             I don't need a permit

          25     for that    9     It's my constitutional         II
                                                                         That should sound f familiar


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                 N8UBPER6                                Rebuttal - Ms. Nicholas
           1     because it's the same thing Jamal Latimer says in

           2     Massachusetts     9
                                           "Of Course, so here's the thing                    It's already

           3     going to court        9     I already know it's going to court                 II
                                                                                                       That ' s

           4     not a firmly held belief            9     It's a script        These guys know

           5     they're going to court                  They know they're going to court

           6     because they know they're breaking the law.                          And here we are         9




           7     We are in court              We have seen the evidence          9




           8                 Why did they think they were ending up in court?

           9     Because they knew about the legalities                    9   They knew about the

          10     mandates       They knew about the regulations, and they decided to

          11     ignore it because they're above the law.                       They knew all those

          12     gun laws existed.             They didn't like them, SO they didn't follow

          13     them .    He thought he could do whatever he wanted and get away

          14     with it.     Not anymore        9   Now, the defense knows that the

          15     evidence here is overwhelming, so the best thing they can try

          16     to do is distract you           9   They can try to persuade you to care

          17     about things that don't actually matter in the case, and they

          18     offered a lot of distractions hoping that you'd mistake those

          19     distractions for reasonable doubt                    9




          20                 We saw some slides            9       One of those slides the defense

          21     showed you had a bunch of names and places on it, things they

          22     said were the government's attempts at distraction.                                 But let's

          23     stop and scrutinize exactly what the defense just tried to

          24     characterize as distractions                  9    One of the things on that list

          25     was Keith Vernen.             Far from a distraction.               Keith Vernen is the


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                 N8UBPER6                           Rebuttal - Ms. Nicholas
           1     straw purchaser that the defendant used to avoid having to

           2     follow the gun laws       9   Another thing on that list, Myrtle Beach,

           3     South Carolina, where Keith Vere en bought the guns for the

           4     defendant

           5                 Another name on that list, Jamil Abdullah Bey, Jamal

           6     Latimer, the leader of the group               9   We're going to come back to

           7     him in a second.        On that list Wakefield, Massachusetts where

           8     they get arrested with all of these guns                        9    Another name on that

           9     list, Jamil Bey         Not only is he there in Massachusetts, but

          10     you also know he sent a wire payment from a Western Union in

          11     the Bronx to Keith Vernen in South Carolina                          9       Another name on

          12     that list, Ricardo Rodriguez, also sent a wire payment from the

          13     Bronx to Keith Vernen in South Carolina                     9       Far from

          14     distractions        These are essential elements of the case                             9   These

          15     are the f acts that prove to you beyond a reasonable doubt the

          16     defendant was working with other people to acquire guns from

          17     out of state and have them brought to his state of residency                                   9




          18                 Let's talk about some things that are actually

          19     distractions        The f act that the defendant and Keith Vere en are

          20     cousins       That makes sense      9       Keith Vere en committed a federal

          21     crime for the defendant        9    He lied on forms under which he had

          22     an obligation to be truthful            9     That's a big risk for somebody

          23     you don't really know, but maybe that's a risk you're willing

          24     to take for a member of your f amity               9       That makes sense          9




          25      There's nothing mysterious about that                 9        And I want to stay on


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                 N8UBPER6                            Rebuttal - Ms. Nicholas
           1     that for a second to talk about just how absurd it is to think

           2     that a relationship with your cousin could explain what was

           3     going on between these two people                      9    A lot of people have

           4     cousins that live out of town.                        Those cousins may very well

           5     travel into town to visit them.                       They may come at the holidays               9




           6     They may stay for a few days, maybe they bring flowers, maybe

           7     they make a stop, get a nice bottle of wine before they get to

           8     the apartment      9     What they don't do is drive directly to your

           9     apartment from a gun store              9    They don't bring handguns with

          10     them .    They don't just swing by at three in the morning almost

          11     directly from a gun store           9       They don't just come to town for

          12     about 12 hours right from the gun store and head back to South

          13     Carolina   9     That's not consistent with a social relationship                         9




          14                    What is that consistent with?                     That's the relationship

          15     between co-conspirators         9       These men weren't just cousins                 They

          16     were men who were working together to break the law.                             Western

          17     Union .    A few points on Western Union.                       First, the defense

          18     tried to suggest that it's only a single payment so you should

          19     ignore it.        Of course it's a single payment                         We're talking

          20     about committing serious federal crimes                            You heard a witness

          21     sit on that stand for almost 30 minutes and explain to you in

          22     detail all the information that Western Union records when you

          23     come and you use their service                9        They write down your name,

          24     your phone number, your address                   9        They maintain all of that

          25     information.           You're committing a crime, and you do that once                        9




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                 N8UBPER6                             Rebuttal - Ms. Nicholas
           1     You may realize it's a pretty bad idea, maybe we shouldn't do

           2     it again.      Maybe going forward, I'll just pay cash

           3                 Let's talk about the amount of cash            9   Defense counsel

           4     seem to suggest that the f act that a $350 payment is less than

           5     the par ticular price for a par ticular gun is somehow persuasive

           6     evidence that that wasn't a firearm purchase               9   I think defense

           7     counsel said something to the effect of what kind of gun

           8     trafficker accepts par till payment. Well, what kind of out of

           9     state firearms recipient make a full payment before they have

          10     the gun in their hand.               It's a down payment       I'll send you the

          11     350 now. You go buy the gun.              And then when I see you in New

          12     York when you put the gun in my hand, I'll hand you the rest of

          13     the cash       There's nothing nefarious about that                That ' s

          14     exactly what they're doing               It's not a mystery        It's not a

          15     par till payment 9          It's a down payment, a down payment between

          16     co-conspirators        9




          17                 Now defense counsel ask you to leave your preconceived

          18     notions at the door          9   That's not actually what they're asking

          19     you to do. What they're actually asking you to do is leave your

          20     common sense at the door, because when we really look at the

          21     evidence in this case and use our common sense, it's very clear

          22     what was going on here           9   You don't need to know what was said

          23     in the phone calls to understand what was happening in these

          24     communications     9       And this is important because the evidence in

          25     this case came in, in pieces, and each piece of that evidence


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                 N8UBPER6                         Rebuttal - Ms. Nicholas
           1     is like a puzzle piece           None of it tells the whole story by

           2     itself      Put it altogether, and that's what Ms. Smyser did for

           3     you in her closing      9   She explained to you how all these things

           4     fit together, which is why it's such a problem that defense

           5     counsel kept one of those pieces from you when they tried to

           6     suggest that there wasn't a pattern.

           7                 Defense counsel told you, look, on September 21 there

           8     were five phone calls       9   And then time goes by, and then there

           9     is a gun purchase on October 1st                 That's the only time they

          10     talked between gun purchase                 That's the only time there's

          11     communication before a gun purchase              9   That one shows you

          12     there's nothing to worry about here              9   Ladies and gentlemen, the

          13     Western Union payment from the defendant to Keith Vere en was on

          14     September 22nd,        So it's not September 21st silence, gun buy

          15     It's September 21st, set up the payment, talk about how to get

          16     this done       September 22, Western Union payment, then gun buy

          17     Every single piece of this puzzle is critical in understanding

          18     how this story fits together            9    It's not a complicated tale like

          19     defense counsel called it.              It's quite simple           It's quite

          20     simple

          21                 Now, the pattern of those purchases is obviously

          22     important       Communications, gun buy, travel, meeting; but SO is

          23     the f act that the defendant was arrested twice with the guns

          24     bought by Keith Vernen.          It's not some random pattern the

          25     government cobbled together         9       It's a clear pattern shows how


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                 N8UBPER6                           Rebuttal - Ms. Nicholas
           1     those two guns ended up in his hands.                You also heard testimony

           2     about encrypted messaging applications, Signal, What'sApp                         The

           3     defendant learned his lesson at Western Union, don't leave a

           4     paper trail, don't give up all your information.                  We saw a text

           5     from one of the defendant's co-conspirators, you, download

           6     Signal      It's more private           I want to talk about text for a

           7     couple of minutes because defense counsel really focused on

           8     this group chat            You heard that Lucca's name doesn't come up

           9     anywhere in the thread.             That's just not true

          10                 MS • BAHARANYI          Objection, your Honor

          11                 THE COURT         Overruled.

          12                 MS. NICHOLAS           Lucca has been abducted on weapon

          13     charges, not sure what the PC on why they even stopped him.

          14     The response. Nobody responds, who's L u c c a             What are you guys

          15     talking about      9     The response is all about getting bail money             9




          16      There's concern. They're asking for updates                 This isn't just

          17     some random person they reported has been arrested.                        This is a

          18     member of their group          9   They're worried about him. They're

          19     getting ready to go for training, training with guns                   9    They're

          20     concerned about somebody in their group getting arrested with a

          21     gun .

          22                 There's also suggestion that the packing list never

          23     made it to the defendant, that he's not really part of this

          24     group      Ladies and gentlemen, you saw the videos                He got the

          25     packet list    9       He's got body armor on.       He's got gloves on.


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                 N8UBPER6                           Rebuttal - Ms. Nicholas
           1     He's wearing his BDUS              He's in came, his hat.           He's got the

           2     whole thing going      9   He knew exactly what he was suppose to be

           3     wearing when he went to this training            9   He got the packing

           4     list      He got the message, and he got the other message                   9   We're

           5     above the law.       We do what we want      9   We like guns             We like

           6     traveling with our guns        9     We're going to get them regardless of

           7     what the law says about it.

           8                 Now, there's an important moment in one of those

           9     videos that both parties have talked a lot about, and over the

          10     course of the case, ladies and gentlemen, there's of ten little

          11     moments that tell you everything you need to know.                        Let's watch

          12     this video

          13                 (Media played)

          14                 (Media stopped)

          15                 MS. NICHOLAS           Let's put this in context              The leader

          16     of the group, Jamal Latimer, he is trying to figure out whether

          17     or not the weapons that his men, those are his words, my men.

          18     He's trying to figure out if the weapons that his men are

          19     carrying are stolen.         He wants to know what's the status of

          20     these guns        In that moment, who does he go talk to?                   All those

          21     people you saw on the list that were arrested that day when

          22     Latimer wants to know what's the status of my guns, he talks to

          23     the defendant and he talks to Jamil Bey, two men that you know

          24     sent wire payments from New York to South Carolina                    9




          25                 And in that moment when he's approached by the leader


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                 N8UBPER6                         Rebuttal - Ms. Nicholas
           1     of the group, what does he do?            He tells the truth        9   He shakes

           2     his head.        They're not stolen.      The only way he could say that,

           3     the only way he could indicate to the leader of his group,

           4     we're good, they're not stolen, is if he knew where the guns

           5     came from.       And he wasn't worried, ladies and gentlemen,

           6     because he thought he outsmarted the law.                He was using a straw

           7     purchaser    9   He was having his cousin walk into gun stores and

           8     lie for him.       He thought the paperwork looked good.                He thought

           9     he'd outsmarted the system.           So as long as the cops don't think

          10     these guns are stolen, we're good, because I made sure the

          11     paperwork was clean because I knew what I needed to do was get

          12     guns from out of state           I knew I needed to get these guns

          13     unlawfully         That's exactly what he did.

          14                 Now there's only a few more points I want to make                 9




          15     They're really all related.           And what they are things that are

          16      just not defenses in this case, things that defense counsel

          17     asked you to think about which are simply not relevant                   9   The

          18     f act that the defendant lived in the Bronx and felt like he

          19     needed a gun for safety is not relevant             9   Just because you want

          20     a gun or feel like you need a gun doesn't mean you get to make

          21     little exceptions to use for yourself for gun laws                  9   There are

          22     properly and legal ways to do things, and then there's

          23     violating the law.         The defendant decided that the law that

          24     applies to everyone didn't apply to him.                The f act that his

          25     straw purchaser was his cousin, not a defense as we talked


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                 N8UBPER6                         Rebuttal - Ms. Nicholas
           1     about, just explains why they trusted one another                              9    And the

           2     f act that he's not a leader in the conspiracy, doesn't mean

           3     he's not in the conspiracy

           4                    In f act, I expect that when Judge Rakoff instructs you

           5     on the law, he's going to tell you that the defendant not

           6     necessarily need to be fully informed of all the details of the

           7     conspiracy in order to justify an inference of membership                                   9




           8     He's obviously part of this conspiracy             9           He's sending money

           9     He's making phone calls           He's showing up                He's showing up

          10     with guns

          11                    Ladies and gentlemen, very shortly Judge Rakoff is

          12     going to instruct you that what I say is not evidence, nor is

          13     anything else that any of the lawyers have said.                                   You, the

          14      jury, are entrusted with finding the f acts in this case                               9       When

          15     you do that, look pass all of the distractions                         9       Look at the

          16     evidence, scrutinize the evidence, put the puzzle pieces

          17     together   9     Members of the jury, it's clear what happened here

          18     The defendant lived in New York          9   He got guns from South

          19     Carolina         He knew what he was doing, and he knew it was

          20     against the law         Members of the jury, the defendant is guilty                                   9




          21                    THE COURT    Thank you very much            9     All right             Ladies

          22     and gentlemen, even though you were kind enough to agree to

          23     stay till 4:45 if necessary, turns out not to be necessary, so

          24     tomorrow we will begin promptly at 9:30                9       First order of

          25     business will be for me to give you my instructions of law, and


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                 N8UBPER6                         Rebuttal - Ms. Nicholas
           1     l'll take about a half hour and then the case will be yours to

           2     deliberate       So to prepare for that, don't even think about the

           3     case tonight        Don't discuss it with anyone                I don't know if

           4     the Yankees are playing tonight          9   They played last night and

           5     they won and that was so amazing to me to see               9     I was in pure

           6     ecstasy       In any event, don't even think about this case, but

           7     tomorrow it will be yours to deliberate after I give you your

           8     instructions        Have a very good evening, and we'll see you at

           9      9 30

          10                 (Continued on next page)

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                 N8UBPER6                           Rebuttal - Ms. Nicholas
           1                 (Jury not present)

           2                 THE COURT:       Please be seated.         So the only thing that

           3     remains is the verdict         9   I just sent you a tiny revision of it,

           4     but it's essentially what you've seen previously                      Any

           5     objections to the verdict from the government?

           6                 MS. SMYSER:       No objections from the government             9




           7                 THE COURT        Any from the defense?

           8                 MS • BAHARANYI         Your Honor, I think we did request a

           9     special verdict form.

          10                 THE COURT        You did and I considered that        9    I almost

          11     never do that except when the Second Circuit has expressly

          12     stated that it wants a special verdict             9    And the reason is that

          13     after more than 300 jury trials, it seems to me clear from

          14     talking to the jurors afterwards that the important part of

          15     jury service is the jury's overall feeling about the case based

          16     on the evidence and based on the instructions of law.                       The main

          17     advantage of a special verdict is to make it easier for the

          18     Second Circuit     9     Rather than having to send back a case if they

          19     think there's been some question raised, they say, oh, we got a

          20     special verdict, and now we know whether that question was

          21     resolved or not by the jury          9   I have nothing but admiration for

          22     the folks in the Second Circuit           9   They have their job and I

          23     have mine, SO I will not give a special verdict in this case                     9




          24                 MS • BAHARANYI         Your Honor, no further objections on

          25     that then.      On the jury charge briefly, not to take up too much


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                 N8UBPER6                         Rebuttal - Ms. Nicholas
           1     time .

           2                 THE COURT:      Go ahead.

           3                 MS • BAHARANYI       But we have received the Court's final

           4     instructions, and I think we object to the Court not accepting

           5     our versions of the

           6                 THE COURT       I should make clear on the record that all

           7     previously raised objections to the charge are fully preserved

           8     for purposes of the appeal         9




           9                 MS • BAHARANYI       The only additional one was for the

          10     conspiracy, the first element             We raise an objection to that

          11     as well regarding the wording of that charge, that it seems

          12     like it might marshal a bit of the government's evidence or

          13     case

          14                 THE COURT       In what respect?        Some of the things they

          15     asked for would have done that, but I rejected their proposals                  9




          16                 MS • BAHARANYI       We're grateful for that, your Honor

          17      This is just on that first paragraph           9




          18                 THE COURT       I left my copy downstairs        9   Let me get it.

          19     Which page?

          20                 MS • BAHARANYI       On page 23, the wording of this

          21     par ticular instruction, the last sentence in that about, The

          22     gist of the conspiracy here charged is that several persons,

          23     including the defendant agreed to obtain and transport several

          24     out of state firearms in order to enable the conspirators to

          25     receive these firearms in their state of residency                9    In reading


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                 N8UBPER6                           Rebuttal - Ms. Nicholas
           1     that it seems like there is some sort of leaning towards the

           2     government's sort of f act pattern and evidence there                  9




           3                    THE COURT       All I'm saying is that's what's charged.

           4      This is in             just so the record is clear        the paragraph

           5     reads "Starting with the first essential element, what is a

           6     conspiracy      9      Conspiracy is an treatment or an understanding of

           7     two or more persons to accomplish by concerted action one or

           8     more unlawful purposes, known as the object or objects of the

           9     conspiracy      9      In Count One, the unlawful purpose alleged to be

          10     the object of the conspiracy is an agreement to transport

          11     firearms that were obtained outside the state of residency of

          12     the eventual receiver into the state of residency of the

          13     receiver   9         I have already instructed you on the essential

          14     elements of that underlying crime when I instructed you on

          15     Count Two             The gist of the conspiracy here charged is that

          16     several persons, including the defendant, agreed to obtain and

          17     transport several out of state firearms in order to enable the

          18     conspirators to receive the firearms in states of their

          19     residency       II




          20                    I'm not understanding what you think is more than a

          21     f fairly straightforward statement of what the charge is.

          22                    MS • BAHARANYI      For one example, conspiracy only

          23     requires one other person.            It's certainly the government's

          24     view that this was a conspiracy involving several individuals                    9




          25                    THE COURT       Do you want me to change             several of


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                 N8UBPER6                         Rebuttal - Ms. Nicholas
           1     course could include two, but do you want me to change several

           2     to one or more?

           3                 MS • BAHARANYI       One moment, your Honor           There's a

           4     reason why we consult experts. I'm going to withdraw that

           5     par ticular objection.

           6                 THE COURT       Very good.

           7                 MS • BAHARANYI       I think the Court may have already

           8     addressed this yesterday, but we do maintain our objection to

           9     the Court not charging the good f with defense theory defense                         9




          10                 THE COURT       I think that has been the heart of many of

          11     your objections right now, and it's fully preserved for

          12     purposes of appeal      9




          13                 MS • BAHARANYI       And then our very last piece on this,

          14     this is outside of the jury instructions, your Honor                   9       But

          15     regarding the slides that were used in the government's

          16     presentation of its summation, we do believe that there                              the

          17     slides were pre judicial, par ticularly the one that I objected

          18     to with respect to the firearms in combination with the

          19     government's comment that, These guns came from Lucca                      9    And

          20     it's a level of pre judice that warrants a mistrial in this

          21     case, so that we would be moving for a mistrial on the basis of

          22     this pre judicial presentation or slide show that was presented

          23     with their summation.

          24                 THE COURT:      Let me make sure I understand your

          25     argument       You previously made the argument which I re jected


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                 N8UBPER6                             Rebuttal - Ms. Nicholas
           1     that those, for lack of a better word, bigger guns were

           2     pre judicial       And I have rejected that because I think it was

           3     part of the evidence of the conspiracy              9




           4                 So what further objection              that objection is fully

           5     preserved.      Is there anything more that you were objecting to?

           6                 MS • BAHARANYI           I think there is just the added l e v e l

           7     of pre judice we believe comes with including those images

           8     again, and all of the things that came in about Massachusetts,

           9     we would move for a mistrial             9   We understand the Court may not

          10     grant it.

          11                 THE COURT          Yes     That motion is denied.

          12     Notwithstanding your apparent view that Massachusetts is a

          13     foreign country f as removed from the Southern District of New

          14     York, last I checked federal law applies to the entire United

          15     States, and that includes conspiracies that occur anywhere in

          16     the United States, as long as some act occurs in the venue               9     So

          17     that objection is denied.

          18                 MS • BAHARANYI           I think just to preserve that issue

          19     for our sake, your Honor, we'd ask to have the exhibits                      not

          20     the exhibits, the presentation used to support summation moved

          21     I guess        excuse me   9     It's been a long day

          22                 THE COURT          I know.

          23                 MS • BAHARANYI           Entered as Court exhibits    9




          24                 THE COURT:         How is the Court of Appeals going to be

          25     able to view that?


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                 N8UBPER6                           Rebuttal - Ms. Nicholas
           1                 MS • BAHARANYI         Right.

           2                 THE COURT:       I think that all the videotapes are in

           3     evidence

           4                 MS • BAHARANYI          I think for the language and the

           5     presentations, that's not going to be actually part of the

           6     record •

           7                 THE COURT:      On appeal you can say, in their summation

           8     on page 75, at lines three and four, they referred again to

           9     this highly           in your view, highly pre judicial image and said

          10     the following     9    And attached to our brief is a photograph of

          11     the image that they put on the               the Court of Appeals will

          12     allow that 9      I don't think they will even count it against your

          13     25 pages

          14                 MS • BAHARANYI          I'm not the expert on that, but I do

          15     think we just want to make the record clear about what was

          16     presented to the jury        9




          17                 THE COURT:      Okay      Very good.     Thank you very much   9   I

          18     have another matter so if you can all clear out and we'll see

          19     you tomorrow at 9 30

          20                 MS. SMYSER:          Your Honor, we have two brief things we

          21     want to raise     9




          22                 THE COURT:      Go ahead.

          23                 MS. SMYSER:          The first is on this sentence on the gist

          24     of the conspiracy that we were just talking about. I do think

          25     that


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                 N8UBPER6                         Rebuttal - Ms. Nicholas
           1                 THE COURT       The next case is, by the way, mostly about

           2     Maryland, which is even more remote than Massachusetts                 9




           3                 MS. SMYSER:      This sentence makes a reference and says

           4     that the conspiracy was to transport several out of state

           5     firearms in order to enable the co-conspirators to receive the

           6     firearms       Our view is that that should be transport any

           7     firearms, because one firearm is sufficient for a conspiracy                       9




           8                 THE COURT       So you think that the language that they

           9     were objecting to and then withdrew their objection, you now

          10     think is too f favorable to them, and that makes me think I got

          11     it right       No, this is just the gist of what you argued.                   I

          12     make clear elsewhere that you only need one conspirator                    9   I'm

          13     very clear on that in the instruction that you only need one

          14     firearm.      That's all contained elsewhere in the instructions                   9




          15     But my effort in all of this as was pointed out the other day

          16     is to present the jury with something that is simple English

          17     that corresponds to what they've just heard and seen and I

          18     think that sentence really is consistent with that, SO I will

          19     leave it as is.

          20                 MS. SMYSER:      Understood.      Finally, the government

          21     wanted to bring up is that defense counsel in her closing

          22     statement made several mentions of this case being about

          23     Lucca's belief followed by a statement about his Constitutional

          24     beliefs

          25                 THE COURT       Well,   I think mostly just at the very


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                 N8UBPER6                         Rebuttal - Ms. Nicholas
           1     beginning

           2                 MS. SMYSER:      At the beginning, there were several          9




           3                 THE COURT:      And I was waiting for you to stand up and

           4     object because given our entire discussion previously, that was

           5     the time to object      9   But you decided to sit on your derriere,

           6     and I think it's much too late now to raise that objection.                      My
           7     own view is, although she came awfully close to the line that I

           8     had forbidden, I'm not sure she went over that line                    She was

           9     careful      So, anyway, I don't think she went over that line

          10     But in any event, the objection was waived by not making it at

          11     the time

          12                 MS. SMYSER:      Understood, your Honor. We just ask for

          13     the record, making a request for a curative instruction based

          14     on

          15                 THE COURT:      We can have a curative instruction right

          16     after we have the new trial because of the mistrial that your

          17     adversary wants     9   All denied.

          18                 MS. SMYSER:      Understood.

          19                 THE COURT:      Very good.      Okay     Anything else?

          20                 MS. SMYSER:      No, your Honor

          21                 THE COURT:      Very good.      We'll see you all tomorrow at

          22      9 30

          23                 (Adjourned to August 31, 2023, at 9:30 a.m.)

          24

          25



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                    UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF NEW YORK
                    ....................................................................................X
                    UNITED STATES OF AMERICA

                                           -V-                                                              22-cr-644 (JSR)

                    STEVEN PEREZ (A/K/A "LUCHA EL POR
                     LIBERTAD"),

                                            Defendant.
                    ....................................................................................X




                                          THE COURT'S INSTRUCTIONS OF LAW TO THE .TURY




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                                                   I. GENERAL INSTRUCTIONS

                                                       INSTRUCTION no. 1

                                                          Duty of the Court

                    We are now approaching the most important part of this case, your deliberations. You

             have heard all the evidence in the case, as well as the final argmnents of the lawyers for the

             parties. Before you retire to deliberate, it is my duty to instruct you as to the law that will govern

             your deliberations. These are the final and binding instructions, which entirely replace the             1-




             preliminary instruction I gave you earlier. As I told you at the start of this case, and as you

             agreed, it is your duty to accept my instructions of law and apply them to the facts as you

             determine them.

                     Regardless of any opinion that you may have as to what the law may be or ought to be, it

             is your sworn duty to follow the law as I give it to you. Also, if any attorney or other person has

             stated a legal principle different from any that I state to you in my instructions, it is my

             instructions that you must follow.

                     Because my instructions cover many points, I have provided each of you with a copy of

             them, not only so that you can follow them as I read them to you now, but also so that you can

             have them with you for reference throughout your deliberations. In listening to them now and

             reviewing them later, you should not single out any particular instruction as alone stating the

             law, but you should instead consider my instructions as a whole.

                                                                    4




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                                                       INSTRUCTION no. 2

                                                          Duty of The July

                    Your duty is to decide the fact issues in the case and arrive, if you can, at a verdict. You,

            the members of the jury, are the sole and exclusive judges of the facts. You pass upon the weight

            of the evidence, you determine the credibility of the witnesses, you resolve such conflicts as

            there may be in the testimony, and you draw whatever reasonable inferences you decide to draw

            from the facts as you determine them.

                    In determining the facts, you must rely upon your own recollection of the evidence. To

            aid your recollection, we will send you at the start of your deliberations a list of all the exhibits, a

            laptop on which you can view the videotapes, all the other exhibits themselves except the guns

            and ammunition (which will remain outside unless you ask to see them, and certain Excel

            spreadsheets that, for convenience, you can view on the laptop). If you need to review particular

            items of testimony, we can also arrange to provide them to you in transcript or read-back form.

                    Please remember that none of what the lawyers have said in their opening statements, in

            their closing arguments, in their objections, or in their questions, is evidence. Nor is anything I

            may have said evidence. The evidence before you consists of just three things: the testimony

            given by witnesses that was received in evidence, the exhibits that were received in evidence,

            and the stipulations of the parties that were received in evidence.




                                                                   5




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                   Testimony consists of the answers that were given by the witnesses to the questions that

            were permitted. Please remember that questions, although they may provide the context for

            answers, are not themselves evidence, only answers are evidence, and you should therefore

            disregard any question to which I sustained an objection. Also, you may not consider any answer

            that I directed you to disregard or diet I directed be stricken from the record. Likewise, you may

            not consider anything you heard about the contents of any exhibit that was not received in

            evidence.


                   Furthermore, you should be careful not to speculate about matters not in evidence. For

            example, there is no legal requirement flat de Government prove its case through a particular

            witness or by use of a particular law enforcement technique. Nor should you speculate about why

            one or another person whose name may have figured in the evidence is not part of this trial or

            what his or her situation may be. Your focus should be entirely on assessing the evidence that

            was presented here for your consideration.

                   It is the duty of Dre attorney for each side of a case to object when Dre other side offers

            testimony or other evidence that die attorney believes is not properly admissible. Counsel also

            have the right and duty to ask the Court to make rulings of law and to request conferences at the

            side bar out of the hearing of the jury. All such questions of law must be decided by me. You

            should not show any prejudice against any attorney or party because do attorney objected to the

            admissibility of evidence, asked for a conference out of the hearing of die jury, or asked me for a

            ruling on the law.
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                   I also ask you to draw no inference from my rulings or 8om the fact that on occasion I

            asked questions of certain witnesses. My rulings were no more than applications of the law and

            my questions were only intended for clarification or to expedite matters. You are expressly to

            understand that I have no opinion as to the verdict you should render in this case.




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                                                      INSTRUCTION NO. 3

                                                        Duty of Impartiality

                   You are to perform your duty of finding the facts without bias or prejudice as to any

            party. You are to perform your final duty in an attitude of complete fairness and impartiality.

            You are not to be swayed by rhetoric or emotional appeals.


                   The fact that the prosecution is brought in the name of the United States of America

            entitles the Government to no greater consideration than that accorded any other party. By the

            same token, it is entitled to no less consideration. A11 parties, whether the Government or

            individuals, stand as equals at the bar ofjustice.

                   Please also be aware that the question of possible punishment is the province of the

            judge, not the jury, and it should therefore not enter into or influence your deliberations in any

            way. Your duty is to weigh the evidence and not be affected by extraneous considerations.

                   It must be clear to you that if you were to let bias, or prejudice, or fear, or sympathy, or

            any other irrelevant consideration interfere with your thinking, there would be a risk that you

            would not arrive at a true and just verdict. So do not be guided by anything except clear thinking

            and calm analysis of the evidence.




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                                                      INSTRUCTION no. 4

                                         Presumption oflnnocence and Burden of Proof

                   The defendant here, Steven Perez, also known as Lucha El, is charged with two federal

            crimes about which I will instruct you shortly. Please bear in mind, however, that the charges, or

            "counts" as they are called, are not themselves evidence of anything.


                   The defendant has pleaded not guilty. To prevail against the defendant on a given charge,

            the Government must prove each essential element of that charge beyond a reasonable doubt. If

            the Government succeeds in meeting this burden, your verdict should be guilty on that charge; if

            it fails, your verdict must be not guilty on that charge. This burden never shifts to the defendant,

            for the simple reason that the law presumes a defendant to be innocent and never imposes upon a

            defendant in a criminal case the burden or duty of calling any witness or producing any evidence.


                   In other words, as to each charge, the defendant starts with a clean slate and is presumed

            innocent until such time, if ever, that you as a jury are satisfied that the Government has proved

            that he is guilty of that charge beyond a reasonable doubt.




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                                                        INSTRUCTION no. 5

                                                          Reasonable Doubt

                   Since, to convict the defendant of a given charge, the Government is required to prove

            that charge beyond a reasonable doubt, the question then is: What is a reasonable doubt? The

            words almost define themselves. It is a doubt based upon reason. It is doubt that a reasonable

            person has after careiillly weighing all of the evidence. It is a doubt that would cause a

            reasonable person to hesitate to act in a matter of importance in his or her personal life. Proof

            beyond a reasonable doubt must therefore be proof of a convincing character that a reasonable

            person would not hesitate to rely on in making an important decision.

                   A reasonable doubt is not caprice or whim. It is not speculation or suspicion. It is not an

            excuse to avoid the performance of an unpleasarlt duty. The law does not require that the

            Government prove guilt beyond all possible or imaginable doubt: proof beyond a reasonable

            doubt is sufficient to convict.

                      If, after fair and impartial consideration of the evidence, you have a reasonable doubt as

            to the defendant's guilt with respect to a particular charge against him, you must find the

            defendant not guilty of that charge. On the other hand, if, after fair and impartial consideration of

            all the evidence, you are satisfied beyond a reasonable doubt of the defendant's guilt with respect

            to a particular charge against him, you should not hesitate to find the defendant guilty of that

            charge.

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                                                      INSTRUCTION no. 6

                                                Direct and Circumstantial Evidence

                   In deciding whether the Government has met its burden of proof; you may consider both

            direct evidence and circumstantial evidence.

                   Direct evidence is evidence that proves a fact directly. For example, where a witness

            testifies to what he or she saw, heard, or observed, that is called direct evidence.


                   Circumstantial evidence is evidence that tends to prove a fact by proof of other facts. To

            give a simple example, suppose that when you came into the courthouse today the sun was

            shining and it was a nice day, but the courtroom blinds were drawn and you could not look

            outside. Later, as you were sitting here, someone walked in with a dripping wet umbrella, and,

            soon after, somebody else walked in with a dripping wet raincoat. Now, on our assumed facts,

            you cannot look outside of the courtroom and you cannot see whether it is raining. So you have

            no direct evidence of that fact. But on the combination of the facts about the umbrella and the

            raincoat, it would be reasonable for you to infer that it had begun raining.

                    That is all there is to circumstantial evidence. Using your reason and experience, you

            infer from established facts the existence or the nonexistence of some other fact. Please note,

            however, that it is not a matter of speculation or guess: it is a matter of logical inference.




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                  The law makes no distinction between direct and circumstantial evidence. Circumstantial

           evidence is of no less value than direct evidence, and you may consider either or both, and may

           give them such weight as you conclude is warranted.




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                                                     INSTRUCTION NO. 7

                                                       Witness Credibility

                   It must be clear to you by now that counsel for the Government and counsel for the

           defendant are asking you to draw very different conclusions about various factual issues in the

            case. Deciding these issues will involve making judgments about the testimony of the witnesses

            you have listened to and observed. In malting these judgments, you should carefully scrutinize all

            of the testimony of each witness, the circumstances under which each witness testified, and any

            other matter in evidence that may help you to decide the truth and the importance of each

            witness's testimony.

                   Your decision to believe or to not believe a witness may depend on how that witness

            impressed you. How did the witness appear? Was the witness candid, frank, and forthright, or

            did the witness seem to be evasive or suspect in some way? How did the way the witness

            testified on direct examination compare with how the witness testified on cross-examination?

            Was the witness consistent or contradictory? Did the witness appear to know what he or she was

            talldng about? Did the witness strike you as someone who was trying to report his or her

            lmowledge accurately? These are examples of the lands of common sense questions you should

            ask yourselves in deciding whether a witness is or is not truthful.

                   How much you choose to believe a witness may also be influenced by the witness's bias.

            Does the witness have a relationship with the Government or the defendant that may affect how

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            he or she testified? Does the witness have some incentive, loyalty, or motive that might cause

            him or her to shade the truth? Does the witness have some bias, prejudice, or hostility that may

            cause the witness to give you something other than a completely accurate account of the facts he

            or she testified to?

                    As to all witnesses, you should also consider whether a witness had an opportunity to

            observe the facts he or she testified about and whether the witness's recollection of the facts

            stands up in light of the other evidence in the case.


                    In other words, what you must try to do in deciding credibility is to size up a person just

            as you would in any important matter where you are trying to decide if a person is truthful,

            straightforward, and accurate in his or her recollection.




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                                                     INSTRUCTION no. 8

                                               A Defendant's Right to Not Testify

                   The defendant did not testify in this case. Under our Constitution, a defendant has no

            obligation to testify or to present any evidence, because it is the Government's burden to prove a

           defendant guilty beyond a reasonable doubt. A defendant is never required to prove that he or

            she is innocent.

                   Accordingly, you must not attach any significance to the fact that the defendant did not

            testify. No adverse inference against the defendant may be drawn by you because he did not take

            the witness stand, and you may not consider it against the defendant in any way in your

            deliberations in the jury room.




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                                                       11. THE CHARGES


                                                      INSTRUCTION NO. 9


                                                     Summary of the Charges

                   With these preliminary instructions 'm mind, let us tum to the two specific charges against

            the defendant, Steven Perez, who goes by the name Lucha E1 Por Libertad or (as he prefers)

            Lucha El. These charges were originally set forth in what is called an Indictment, which is

            simply a charging instrument and is not itself evidence, so it will not be presented to you. The

            indictment in this case charges Lucha E1 with a total of two charges, or "counts" as they are

            called, and each count charges a different crime. I will, for convenience, refer to each charge or

            count by its number as it appears in the Indictment.

                   Count One charges the defendant with conspiring to unlawfully transport or receive

            firearms that were purchased out-of-state into the state of residency of the person receiving or

            transporting the firearm. Count Two charges dle defendant with unlawfully receiving or

            transporting a specific firearm purchased out-of-state into his state of residence.

                   Before the defendant can be convicted of any of these charges, the Government must

            prove every essential element of the particular charge you are considering beyond a reasonable

            doubt. In your deliberations and in reaching your verdict, you must consider each charge

            separately and determine whether the Government has carried its burden of proof with respect to

            each essential element of that particular charge.

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                          For convenience, I will start with Count Two, which charges the defendant with

           willfully receiving a specific out-of-state firearm in his state of residency, New York. After that,

           I will tum to Count One, which charges the defendant with conspiring with other people to

           willfully transport or receive out-of-state firearms in states of their residency.




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                                                     INSTRUCTION no. 10

                              Count Two: Interstate Transport or Receipt of Out-of-State Firearms

                   Count Two, sometimes referred to as a "substantive count," charges the defendant with

           unlawfully receiving or transporting a specific out-of-state firearm into his state of residence.

           Before the defendant can be convicted on this Count, the Government must prove beyond a

           reasonable doubt three elements:

                   First, that the defendant was not licensed to receive out-of-state firearms, specifically,

            that he was not a licensed importer, licensed manufacturer, licensed dealer or licensed collector

           of firearms,

                   Second, that the defendant transported or received into the state in which he resided a

            specific firearm purchased or otherwise obtained outside that state, and


                   Third, that the defendant acted knowingly and willfully.

                   I will now address each of the three elements of Count Two in detail.




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                                                       INSTRUCTION NO. 11

                                            Count Two - First Element .... Lack of License

                      Starting with the first essential element, the Government must prove beyond a reasonable

           doubt that the defendant was not licensed to receive out-of-state flreamls, specifically, that he

            was not a licensed importer, manufacturer, dealer or collector of iireanns.

                       A person is an "importer" when he is "engaged in the business of importing or bringing

            firearms or ammunition into the United States for purposes of sale or distribution."

                       A person is a "manufacturer" when he is "engaged in the business of manufacturing

            firearms or ammunition for purposes of sale or distribution."

                       A person is a "dealer" when he is "engaged in the business of selling firearms at

            wholesale or retail."


                       A person is a "collector" when he "acquires, holds, or disposes of firearms as curios or
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            relics.

                       The terms "licensed importer," "licensed manufacturer," "licensed dealer" and "licensed

            collector" mean any such persons who are licensed under the provisions of the federal Gun

            Control Act. In order to be a "licensed dealer" a person must file an application with and receive

            a license from the Urlited States Secretary of the Treasury.




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                                                     INSTRUCTION NO. 12

                         Count Two - Second Element - Transport or Receipt of Out-of-State Firearms

                   The second essential element that the Government must prove beyond a reasonable doubt

            is that a specific firearm - in this case, a Century Arms Canik 9mm handgun, serial number

            20CB25810 - was purchased or obtained outside of the defendant's state of residence and then

            was received by the defendant in his state of residence. In order to satisfy this element, the

            Government must prove that the state in which the firearm was purchased or was otherwise

            obtained was not the defendant's state of residence and that the state in which the defendant

            received the firearm was the defendant's state of residence.

                   The defendant does not have to himself purchase the firearm out-of-state. A defendant

            who, knowing that another person has purchased the gun out of state, then receives the gun in the

            defendant's state of residence, satisfies the second essential element.

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                                                       INSTRUCTION no. 13
 ,
                                           Count Two - Third Element - Criminal Intent

                            The third essential element the Government must prove beyond a reasonable

             doubt is that the defendant, in receiving the out-of-state firearm into his state of residency, acted

             knowingly and willfully. "Knowingly" means purposely, rather than negligently or accidentally;

             but the defendant need not be aware of the specific law that his conduct is violating. "Willfully"

             means to act with a bad purpose and intent to act unlawfully even if the defendant does not know

             the specific law he is violating.




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                                                    INSTRUCTION no. 14

                       Count One: Conspiracy to Transport and Receive Firearms from Outside States of

                                                        Residency

                   Count One, sometimes referred to as the "conspiracy count," charges the defendant with

            conspiring with others to unlawfully transport firearms that were purchased out-of-state into the

            state of residency of the persons actually receiving the firearm. Before the defendant can be

            convicted of this Count, the Government must prove beyond a reasonable doubt three elements:

                   First, the existence of the charged conspiracy,

                   Second, that the defendant knowingly and willfully became a member of that conspiracy;

            and

                   Third, that at least one of the co-conspirators committed an overt act in furtherance of the

            conspiracy.

                   I will now address each of the three elements of Count One in detail.




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                                                     INSTRUCTION NO. 15

                                             Count One - First Element - Conspiracy

                   Starting with the first essential element, what is a conspiracy? A conspiracy is an

            agreement, or an understanding, of two or more persons to accomplish by concerted action one

            or more unlawful purposes, known as the "obj ect" or "objects" of the conspiracy. In Count One,

            the unlawful purpose alleged to be the object of the conspiracy is an agreement to transport

            firearms that were obtained outside the states of residency of the eventual receivers into the

            states of residency of the receivers. I have already instructed you on the essential elements of that

            underlying crime when I instructed you on Court Two. The conspiracy here charged is that

            several persons, including the defendant, agreed to a plan to commit the same kind of substantive

            violations.

                   Please bear in mind that conspiracy is an entirely distinct and separate offense from the

            particular substantive crime charged in Coimt Two of the defendant actually receiving a specific

            out-of-state firearm in the defendant's state of residency. The actual commission of the object of

            the conspiracy is not an essential element of the crime of conspiracy. Rather, the Government is

            required to prove beyond a reasonable doubt only that two or more persons, in some way or

            manner, explicitly or implicitly, came to an understanding to accomplish the objective of

            unlawfully obtaining or transporting one or more out-of-state firearms in order to enable one or

            more conspirators to receive them in their states of residency.


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                    While the indictment charges that the alleged conspiracy began in or around May 2020

             and continued up to in or around July 2021 , it is not essential that the Government prove that the

             conspiracy started and ended on those specific dates or that it existed throughout that period.

             Rather, it is sufficient to satisfy the first element that you find that in fact a conspiracy was

             formed and that it existed for anv time within the charged period.




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                                                      INSTRUCTION NO. 16

                                      Count One - Second Element - Joining the Conspiracy


                   If you conclude that due Government has proved beyond a reasonable doubt that the

            charged conspiracy ezdsted, you must then consider whether the Government has proved beyond

            a reasonable doubt the second essential element: that the defendant joined and participated in the

            conspiracy and did so knowingly and willfully. I have already defined the terms "knowingly"

            and "willfully" for you in in Instruction No. 13, and the same definitions apply here.

                   To join and participate 'm a conspiracy, it is not necessary that the defendant be fully

            informed of all the details of the conspiracy in order to justify an inference of membership on his

            part. Nor does the defendant need to know the full extent of the conspiracy or all of its

            participants. It is also not necessary that the defendant receive any monetary benefit from

            participating in the conspiracy. A11 that is necessary is proof beyond a reasonable doubt that the

            defendant joined and participated in the conspiracy knowingly, and with the intent to aid in the

            accomplishment of its unlawful object as previously discussed.

                   The defendant also need not have joined the conspiracy at the outset. The defendant may

            have joined it at any time in its progress, and he will still be held responsible for all that was

            done before he joined, as well as all that was done during the conspiracy's existence while the

            defendant was a member. The law does not require that each conspirator have an equal role in



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           the conspiracy. Even a single act may be sufficient to draw the defendant within the ambit of a

           conspiracy if it meets the essential requirements I have described.

                  However, I want to caution you that the mere association or friendship by one person

           with another person does not make the first person a member of the conspiracy, even when

           coupled with knowledge that second person is committing a crime. In other words, knowledge

           without participation is not sufficient. What is necessaly is that the defendant have participated

           in the conspiracy with knowledge its object and with an intent to aid in the accomplishment of

           that unlawful object.




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                                                     INSTRUCTION no. 17

                                                                          -
                                             Count One - Third Element Overt Act

                   The third essential element of Count One is that one of the conspirators -. not necessarily

            the defendant, but any one of the conspirators - took at least one overt act in furtherance of the

            conspiracy. An overt act in furtherance of the conspiracy can be any act of any kind taken by any

            member of the conspiracy that is done to effectuate the conspiracy in any respect. The overt act,

            itself, need not have been an unlawful act. While the Government need not prove more than one

            overt act, you must unanimously agree on which specific overt act or acts, if any, Me

            Government has proven beyond a reasonable doubt.




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                                                       INSTRUCTION no. 18

                                                                Motive

                    Proof of motive is not a necessary element of any of the crimes with which the defendant is

            charged. Proof of motive does not establish guilt, nor does the lack of proof of motive establish that

            the defendant is not guilty. If the guilt of a defendant is shown beyond a reasonable doubt, it is

            immaterial what that defendant's motive for the crime or crimes may be, or whether that defendant's

            motive was shown at all. The presence or absence of motive is, however, a circumstance which you

            may consider as bearing on the intent of a defendant.




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                                                   INSTRUCTION no. 19

                                                            Venue

                  One last requirement. Before the defendant can be convicted of any of the foregoing

           charges, the Government must also establish what is called "venue," that is, that some act in

           furtherance of that charge occurred in the Southern District of New York. As relevant here, the

           Southern District of New York is the judicial district that includes (among other places)

           Manhattan, the Bronx, and Westchester. Venue is proven if any act in furtherance of the count

           you are considering occurred in any of these counties, regardless of whether it was an act of the

           charged defendant or anyone else.

                  Furthermore, on the issue of venue-and on this alone the Government can meet its

           burden by a preponderance of the evidence, that is, by showing that it was more likely than not

           that an act in furtherance of a given charge occurred in the Southern District of New York.




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                                              111. CONCLUDING INSTRUCTIONS


                                                     INSTRUCTION no. 20

                              Selection of Foreperson: Right to See Exhibits and Hear Tesftimonvz
                                                Communications with the Court


                   You will shortly retire to the jury room to begin your deliberations. As soon as you get to

           the jury room, please select one of your number as the foreperson, to preside over your

           deliberations and to serve as your spokesperson if you need to communicate with the Court.


                  You will be bringing with you into the jury room a copy of my instructions of law and a

           verdict form on which to record your verdict. In addition, we will send into the jury room a list

           of all the exhibits, a laptop that can be used to see and hear the videos and see certain Excel

           spreadsheets that were also admitted into evidence, and all the other exhibits that were admitted

           into evidence except for the guns and ammunition (which will be kept here but which you can

           examine on request). If you want any of the testimony provided, that can also be done, in either

           transcript or read-back form. But please remember that it is not always easy to locate what you

           might want, so be as specific as you possibly can be in requesting portions of the testimony.

                  Any of your requests, in fact any communication with the Court, should be made to me in

           writing, signed by your foreperson, and given to the marshal, who will be available outside the

           jury room throughout your deliberations. After consulting with counsel, I will respond to any




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            question or request you have as promptly as possible, either in writing or by having you return to

            the courtroom so that I can speak with you in person.




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                                                     INSTRUCTION no. 21

                                         Verdict; Need for Unanimity, Duty to Consult

                   You should not, however, tell me or anyone else how the jury stands on any issue until

            you have reached your verdict and recorded it on your verdict form. As I have already explained,

            the Government, to prevail on a particular charge against the defendant, must prove each

            essential element of that charge beyond a reasonable doubt. If the Government carries this

            burden, you should find the defendant guilty of that charge. Otherwise, you must find the

            defendant not guilty of that charge.

                   Each of you must decide the case for yourself; after consideration, with your fellow

            jurors, of the evidence in d1e case, and your verdict must be unanimous. In deliberating, bear in

            mind that while each juror is entitled to his or her opinion, you should exchange views with your

            fellow jurors. That is the very purpose of jury deliberation-to discuss and consider the

            evidence, to listen to the arguments of fellow jurors, to present your individual views, to consult

            with one another, and to reach a verdict based solely and wholly on the evidence. Ii after

            carefully considering all the evidence and the arguments of your fellow jurors, you entertain a

            conscientious view that differs from the others', you are not to yield your view simply because

            you are outnumbered. On the other hand, you should not hesitate to change an opinion that, after

            discussion with your fellow jurors, now appears to you erroneous.

                    In short, your verdict must reflect your individual views and must also be unanimous.

                    This completes my instructions of law.

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                 N8VBPER1                         JURY TRIAL
           1     UNITED STATES DTSTRTCT COURT
                 SOUTHERN DTSTRTCT OF NEW YORK
           2                                                  *X

           3     UNITED STATES OF AMERICA,

           4                    v.                                    $1 22 CR 644 (JSR)

           5     STEVEN PEREZ, A/K/A "LUCHA,         II
                                                          I




           6                         Defendant

           7                                                  'X

           8                                                          New York, N.Y.
                                                                      August 31, 2023
           9                                                          9:30 a.m.

          10
                 Before
          11
                                              HON. JED s. RAKOFF,
          12
                                                                      District Judge
          13

          14                                        APPEARANCES

          15     DAMIAN WILLIAMS
                      United States Attorney for the
          16          Southern District of New York
                 ASHLEY NICHOLAS
          17     MADISON SMYSER
                 SARAH MORTAZAVI
          18          Assistant United States Attorneys

          19     FEDERAL DEFENDERS OF NEW YORK
                      Attorneys for Defendant Perez
          20     ZAWADI BAHARANYI
                 AMANDA MAYO
          21
                 ALSO PRESENT: ANANYA SANKAR, Paralegal, U.S. Attorney's Office
          22          ARJUN AHUJA, Paralegal, U.S. Attorney's Office
                      SARAH KWON, Paralegal, Federal Defenders of New York
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                 N8VBPER1                            JURY TRIAL

           1                 (Trial resumed; jury not present)

           2                 THE COURT:          While we're waiting for that juror, at the

           3     end of yesterday we had an interesting discussion about a

           4     sentence in my charge beginning with the words "the g i s t            II




           5     Counsel for both sides and the Court were all looking at the

           6     wrong version, what was labeled the revised version, but not

           7     the second revised version.

           8                 And in f act, even though I stout the defendant the

           9     language in the revised version, I had changed the language

          10     pretty much in accordance with the issues that both sides had

          11     raised.     So you got last night the final version, and I will

          12     give my courtroom deputy a copy of my charge marked as Court

          13     Exhibit 1 to docket         9




          14                 THE DEPUTY CLERK:          And all jurors are present now.

          15                 THE COURT           Now we've just received three, four, five

          16     notes from the jury         9    They're all dated 9:30, so there's no

          17     par ticular order 9         But the notes are        and it's unclear who

          18     they're from.        One was any search made in the house of the

          19     accused •     Two,   if yes, were any firearms found that was

          20     purchased by the straw purchaser           9




          21                 Next note   9       What is the law on searching someone's

          22     belongings?      Does he have to provide permission?

          23                 Third note           Your Honor, it is important what state

          24     the defendant received the gun in.               If he received the gun in a

          25     different state other than New York, did he still break the


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                 N8VBPER1                         JURY TRIAL

           1     law.     With regard to charge number two, the same             9




           2                 Your Honor, I find the definition of "willfulness" is

           3     operating with bad intent to be too vague to reason about                  9




           4     What is " b a d " and by whose judgment must it be bad.                Certainly

           5     many cases are connected by people who do not think they are

           6     doing something bad, and yet they are doing something bad by

           7     someone else's judgment           Can you help make this more clear            9




           8     Thank you       And finally, can we hear the 911 call

           9                 You will recall that the government wanted to put that

          10     in.     Defense objected, and I sustained the objection.                 So it's

          11     clear they've been thinking about this overnight                9
                                                                                     My
          12     suggestion is that we bring them in, deliver the charge, and

          13     then tell them if they still have any questions, then's the

          14     time to send us a new note through their foreperson and we'll

          15     deal with the note then.           Any objection to that?

          16                 MS. NICHOLAS        No objection, your Honor        9   I just will

          17     raise that in par ticular I think the third note about which

          18     state the guns were obtained in is exactly what the government

          19     was getting at with the proposed instruction about use of an

          20     agent      So I think we would want to renew that request to add

          21     the sentence back in about that being otherwise attaining

          22     within the definition of the law.

          23                 THE COURT       I'm not going to change the charge at this

          24     point, but I will respond to any questions they have after

          25     we've given them the charge         9




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                 N8VBPER1                         JURY TRIAL

           1                 MS. NICHOLAS       Understood.
           2                 MS • BAHARANYI       That's fine, your Honor.
           3                 THE COURT:      That's fine from the defense?
           4                 MS • BAHARANYI       Yes, your Honor        That's fine
           5                 THE COURT:     Okay .   Very good.      O ka y       Let's bring in
           6     the jury
           7                 (Continued on next page)
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                 N8VBPER1                          Charge

           1                 (Jury present)

           2                 THE COURT:        Good morning, ladies and gentlemen.                   Thank

           3     you again for your promptness          9   Please be seated.            Thank you

           4     also for your notes       9    We're going to read together now and then

           5     you'll have with you to take into the jury room my instructions

           6     of law.     I this that will answer some of your questions                  9




           7                 But if it doesn't answer all your questions, then

           8     after you get back in the jury room, the formal way to do this

           9     is to have your foreperson, whoever you select as your

          10     foreperson, then send me a note with whatever questions you

          11     still have and I'll be happy to answer them at that time                        9    But

          12     let's take a look at the instructions of law                    As you will see

          13     from the table of contents, they're divided into three

          14     sections

          15                 First, there are general instructions which pretty

          16     much apply not just to this case, but all criminal cases                             Then

          17     there is a section on the specific charges in this case, and

          18     finally there's some concluding instructions about how you fill

          19     out your verdict form and things like that              9   So let's turn to

          20     page four and begin with instruction number four                    9




          21                 We are now approaching the most important part of this

          22     case, your deliberations. You have heard all the evidence in

          23     the case, as well as the final arguments of the lawyers for the

          24     parties. Before you retire to deliberate, it is my duty to

          25     instruct you as to the law that will govern your deliberations                             9




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                 N8VBPER1                           Charge

           1     These are the final and binding instructions, which entirely

           2     replace the preliminary instruction I gave you earlier. As I

           3     told you at the start of this case, and as you agreed, it is

           4     your duty to accept my instructions of law and apply them to

           5     the f acts as you determine them.

           6                 Regardless of any opinion that you may have as to what

           7     the law may be or ought to be, it is your sworn duty to follow

           8     the law as I give it to you. Also, if any attorney or other

           9     person has stated a legal principle different from any that I

          10     state to you in my instructions, it is my instructions that you

          11     must follow.

          12                 Because my instructions cover many points, I h a v e

          13     provided each of you with a copy of them, not only so that you

          14     can follow them as I read them to you now, but also so that you

          15     can have them with you for reference throughout your

          16     deliberations. In listening to them now and reviewing them

          17     later, you should not single out any par ticular instruction as

          18     alone stating the law, but you should instead consider my

          19     instructions as a whole        9




          20                 Your duty is to decide the f act issues in the case and

          21     arrive, if you can, at a verdict. You, the members of the jury,

          22     are the sole and exclusive judges of the f acts. You pass upon

          23     the weight of the evidence; you determine the credibility of

          24     the witnesses; you resolve such conflicts as there may be in

          25     the testimony; and you draw whatever reasonable inferences you


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                 N8VBPER1                         Charge

           1     decide to draw from the f acts as you determine them.

           2     In determining the f acts, you must rely upon your own

           3     recollection of the evidence         9




           4                 To aid your recollection, we will send you at the

           5     start of your deliberations a list of all the exhibits, a

           6     laptop on which you can view the videotapes, all the other

           7     exhibits themselves except the guns and ammunition (which will

           8     remain outside unless you ask to see them, and certain Excel

           9     spreadsheets that, for convenience, you can view on the

          10     laptop) . If you need to review par ticular items of testimony,

          11     we can also arrange to provide them to you in transcript or

          12     read-back form.

          13                 Please remember that none of what the lawyers have

          14     said in their opening statements, in their closing arguments,

          15     in their objections, or in their questions, is evidence. Nor is

          16     anything I may have said evidence. The evidence before you

          17     consists of just three things: the testimony given by witnesses

          18     that was received in evidence, the exhibits that were received

          19     in evidence, and the stipulations of the parties that were

          20     received in evidence       9




          21                 Testimony consists of the answers that were given by

          22     the witnesses to the questions that were permitted. Please

          23     remember that questions, although they may provide the context

          24     for answers, are not themselves evidence; only answers are

          25     evidence, and you should therefore disregard any question to


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                 N8VBPER1                            Charge

           1     which I sustained an objection. Also, you may not consider any

           2     answer that I directed you to disregard or that I directed be

           3     stricken from the record. Likewise, you may not consider

           4     anything you heard about the contents of any exhibit that was

           5     not received in evidence        9




           6                 Fur thermore, you should be careful not to speculate

           7     about matters not in evidence. For example, there is no legal

           8     requirement that the Government prove its case through a

           9     par ticular witness or by use of a par ticular law enforcement

          10     technique. Nor should you speculate about why one or another

          11     person whose name may have figured in the evidence is not part

          12     of this trial or what his or her situation may be. Your focus

          13     should be entirely on assessing the evidence that was presented

          14     here for your consideration.

          15                 It is the duty of the attorney for each side of a case

          16     to object when the other side offers testimony or other

          17     evidence that the attorney believes is not properly admissible           9




          18     Counsel also have the right and duty to ask the Court to make

          19     rulings of law and to request conferences at the side bar out

          20     of the hearing of the jury. All such questions of law must be

          21     decided by me. You should not show any pre judice against any

          22     attorney or party because the attorney objected to the

          23     admissibility of evidence, asked for a conference out of the

          24     hearing of the jury, or asked me for a ruling on the law.

          25                 I also ask you to draw no inference from my rulings or


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                 N8VBPER1                         Charge

           1     from the f act that on occasion I asked questions of certain

           2     witnesses. My rulings were no more than applications of the law

           3     and my questions were only intended for clarification or to

           4     expedite matters. You are expressly to understand that I have

           5     no opinion as to the verdict you should render in this case             9




           6                 You are to perform your duty of finding the f acts

           7     without bias or pre judice as to any party. You are to perform

           8     your final duty in an attitude of complete f fairness and

           9     impartiality. You are not to be swayed by rhetoric or emotional

          10     appeals

          11                 The f act that the prosecution is brought in the name

          12     of the United States of America entitles the Government to no

          13     greater consideration than that accorded any other party. By

          14     the same token, it is entitled to no less consideration. All

          15     parties, whether the Government or individuals, stand as equals

          16     at the bar of justice       9




          17                 Please also be aware that the question of possible

          18     punishment is the province of the judge, not the jury, and it

          19     should therefore not enter into or influence your deliberations

          20     in any way. Your duty is to weigh the evidence and not be

          21     affected by extraneous considerations            9   It must be clear to you

          22     that if you were to let bias, or prejudice, or fear, or

          23     sympathy, or any other irrelevant consideration interfere with

          24     your thinking, there would be a risk that you would not arrive

          25     at a true and just verdict. So do not be guided by anything


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                 N8VBPER1                         Charge

           1     except clear thinking and calm analysis of the evidence                9




           2                 The defendant here, Steven Perez, also known as Lucca

           3     El, is charged with two federal crimes about which I will

           4     instruct you shortly. Please bear in mind, however, that the

           5     charges, or "counts" as they are called, are not themselves

           6     evidence of anything

           7                 The defendant has pleaded not guilty. To prevail

           8     against the defendant on a given charge, the Government must

           9     prove each essential element of that charge beyond a reasonable

          10     doubt. If the Government succeeds in meeting this burden, your

          11     verdict should be guilty on that charge; if it f ails, your

          12     verdict must be not guilty on that charge. This burden never

          13     shifts to the defendant, for the simple reason that the law

          14     presumes a defendant to be innocent and never imposes upon a

          15     defendant in a criminal case the burden or duty of calling any

          16     witness or producing any evidence           9




          17                 In other words, as to each charge, the defendant

          18     starts with a clean slate and is presumed innocent until such

          19     time, if ever, that you as a jury are satisfied that the

          20     Government has proved that he is guilty of that charge beyond a

          21     reasonable doubt      9




          22                 Since, to convict the defendant of a given charge, the

          23     Government is required to prove that charge beyond a reasonable

          24     doubt, the question then is: What is a reasonable doubt? The

          25     words almost define themselves. It is a doubt based upon


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                 N8VBPER1                           Charge

           1     reason. It is doubt that a reasonable person has after

           2     carefully weighing all of the evidence. It is a doubt that

           3     would cause a reasonable person to hesitate to act in a matter

           4     of importance in his or her personal life. Proof beyond a

           5     reasonable doubt must therefore be proof of a convincing

           6     character that a reasonable person would not hesitate to rely

           7     on in making an important decision.

           8                 A reasonable doubt is not caprice or whim. It is not

           9     speculation or suspicion. It is not an excuse to avoid the

          10     performance of an unpleasant duty. The law does not require

          11     that the Government prove quilt beyond all possible or

          12     imaginable doubt: proof beyond a reasonable doubt is sufficient

          13     to convict    9




          14                 If, after f air and impartial consideration of the

          15     evidence, you have a reasonable doubt as to the defendant's

          16     guilt with respect to a par ticular charge against him, you must

          17     find the defendant not guilty of that charge. On the other

          18     hand, if, after f air and impartial consideration of all the

          19     evidence, you are satisfied beyond a reasonable doubt of the

          20     defendant's quilt with respect to a par ticular charge against

          21     him, you should not hesitate to find the defendant guilty of

          22     that charge       9




          23                 In deciding whether the Government has met its burden

          24     of proof, you may consider both direct evidence and

          25     circumstantial evidence        9




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                 N8VBPER1                          Charge

           1                 Direct evidence is evidence that proves a f act

           2     directly. For example, where a witness testifies to what he or

           3     she saw, heard, or observed, that is called direct evidence                    9




           4     Circumstantial evidence is evidence that tends to prove a f act

           5     by proof of other f acts. To give a simple example, suppose that

           6     when you came into the courthouse today the sun was shining and

           7     it was a nice day, but the courtroom blinds were drawn and you

           8     could not look outside        9   Later, as you were sitting here,

           9     someone walked in with a dripping wet umbrella, and, soon

          10     of ter, somebody else walked in with a dripping wet raincoat                   9




          11     Now, on our assumed f acts, you cannot look outside of the

          12     courtroom and you cannot see whether it is raining. So you have

          13     no direct evidence of that f act. But on the combination of the

          14     f acts about the umbrella and the raincoat, it would be

          15     reasonable for you to infer that it had begun raining                  9




          16      That is all there is to circumstantial evidence                9




          17                 Using your reason and experience, you infer from

          18     established f acts the existence or the nonexistence of some

          19     other f act. Please note, however, that it is not a matter of

          20     speculation or guess: it is a matter of logical inference                  9




          21     The law makes no distinction between direct and circumstantial

          22     evidence. Circumstantial evidence is of no less value than

          23     direct evidence, and you may consider either or both, and may

          24     give them such weight as you conclude is warranted.

          25                 It must be clear to you by now that counsel for the


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                 N8VBPER1                         Charge

           1     Government and counsel for the defendant are asking you to draw

           2     very different conclusions about various f actual issues in the

           3     case. Deciding these issues will involve making judgments about

           4     the testimony of the witnesses you have listened to and

           5     observed. In making these judgments, you should carefully

           6     scrutinize all of the testimony of each witness, the

           7     circumstances under which each witness testified, and any other

           8     matter in evidence that may help you to decide the truth and

           9     the importance of each witness's testimony              9




          10                 Your decision to believe or to not believe a witness

          11     may depend on how that witness impressed you. How did the

          12     witness appear? Was the witness candid, frank, and for thrift,

          13     or did the witness seem to be evasive or suspect in some way?

          14     How did the way the witness testified on direct examination

          15     compare with how the witness testified on cross-examination?

          16     Was the witness consistent or contradictory? Did the witness

          17     appear to know what he or she was talking about? Did the

          18     witness strike you as someone who was trying to report his or

          19     her knowledge accurately? These are examples of the kinds of

          20     common sense questions you should ask yourselves in deciding

          21     whether a witness is or is not truthful             9




          22                 How much you choose to believe a witness may also be

          23     influenced by the witness's bias. Does the witness have a

          24     relationship with the Government or the defendant that may

          25     affect how he or she testified? Does the witness have some


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                 N8VBPER1                         Charge

           1     incentive, loyalty, or motive that might cause him or her to

           2     shade the truth? Does the witness have some bias, prejudice, or

           3     hostility that may cause the witness to give you something

           4     other than a completely accurate account of the f acts he or she

           5     testified to?

           6                 As to all witnesses, you should also consider whether

           7     a witness had an opportunity to observe the f acts he or she

           8     testified about and whether the witness's recollection of the

           9     f acts stands up in light of the other evidence in the case                9




          10     In other words, what you must try to do in deciding credibility

          11     is to size up a person just as you would in any important

          12     matter where you are trying to decide if a person is truthful,

          13     straightforward, and accurate in his or her recollection.

          14                 The defendant did not testis y in this case. Under our

          15     Constitution, a defendant has no obligation to testify or to

          16     present any evidence, because it is the Government's burden to

          17     prove a defendant guilty beyond a reasonable doubt. A defendant

          18     is never required to prove that he or she is innocent                  9




          19     Accordingly, you must not attach any significance to the f act

          20     that the defendant did not testis y. No adverse inference

          21     against the defendant may be drawn by you because he did not

          22     take the witness stand, and you may not consider it against the

          23     defendant in any way in your deliberations in the jury room.

          24                 With these preliminary instructions in mind, let us

          25     turn to the two specific charges against the defendant, Steven


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                 N8VBPER1                         Charge

           1     Perez, who goes by the name Lucca El Por Libertad or (as he

           2     prefers) Lucca El. These charges were originally set forth in

           3     what is called an Indictment, which is simply a charging

           4     instrument and is not itself evidence, SO it will not be

           5     presented to you. The Indictment in this case charges Lucca El

           6     with a total of two charges, or "counts" as they are called,

           7     and each count charges a different crime. I will, for

           8     convenience, refer to each charge or count by its number as it

           9     appears in the Indictment         9




          10                 Count One charges the defendant with conspiring to

          11     unlawfully transport or receive firearms that were purchased

          12     out-of-state into the state of residency of the person

          13     receiving or transporting the firearm. Count Two charges the

          14     defendant with unlawfully receiving or transporting a specific

          15     firearm purchased out-of-state into his state of residence             9




          16     Before the defendant can be convicted of any of these charges,

          17     the Government must prove every essential element of the

          18     par ticular charge you are considering beyond a reasonable

          19     doubt. In your deliberations and in reaching your verdict, you

          20     must consider each charge separately and determine whether the

          21     Government has carried its burden of proof with respect to each

          22     essential element of that par ticular charge             9




          23                 For convenience, I will start with Count Two, which

          24     charges the defendant with willfully receiving a specific

          25     out-of-state firearm in his state of residency, New York. After


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                 N8VBPER1                         Charge

           1     that,    I will turn to Count One, which charges the defendant

           2     with conspiring with other people to willfully transport or

           3     receive out-of-state firearms in states of their residency             9




           4                   Count Two, sometimes referred to as a "substantive

           5     count,   II
                               charges the defendant with unlawfully receiving or

           6     transporting a specific out-of-state firearm into his state of

           7     residence. Before the defendant can be convicted on this Count,

           8     the Government must prove beyond a reasonable doubt three

           9     elements

          10                   First, that the defendant was not licensed to receive

          11     out-of-state firearms, specifically, that he was not a licensed

          12     importer, licensed manufacturer, licensed dealer or licensed

          13     collector of firearms; second, that the defendant transported

          14     or received into the state in which he resided a specific

          15     firearm purchased or otherwise obtained outside that state; and

          16      Third, that the defendant acted knowingly and willfully

          17     I will now address each of the three elements of Count Two in

          18     detail

          19

          20                    Starting with the first essential element, the

          21     Government must prove beyond a reasonable doubt that the

          22     defendant was not licensed to receive out-of-state firearms,

          23     specifically, that he was not a licensed importer,

          24     manufacturer, dealer or collector of firearms               9




          25                    A person is an "importer"      when he is "engaged in the


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                 N8VBPER1                              Charge

           1     business of importing or bringing firearms or ammunition into

           2     the United States for purposes of sale or distribution.                         II




           3     A person is a "manufacturer" when he is "engaged in the

           4     business of manus acturing firearms or ammunition for purposes

           5     of sale or distribution.         II




           6                 A person is a "dealer"             when he is "engaged in the

           7     business of selling firearms at wholesale or retail                    9
                                                                                            II




           8     A person is a "collector" when he "acquires, holds, or disposes

           9     of firearms as curios or relics                II




          10                 The terms "licensed importer,            II
                                                                           "licensed

          11     manufacturer,     II
                                        "licensed dealer" and "licensed collector" mean

          12     any such persons who are licensed under the provisions of the

          13     federal Gun Control Act. In order to be a "licensed dealer" a

          14     person must file an application with and receive a license from

          15     the United States Secretary of the Treasury                  9




          16                 The second essential element that the Government must

          17     prove beyond a reasonable doubt is that a specific firearm - in

          18     this case, a Century Arms Canik 9mm handgun, serial number

          19     20CB25810 - was purchased or obtained outside of the

          20     defendant's state of residence and then was received by the

          21     defendant in his state of residence. In order to satisfy this

          22     element, the Government must prove that the state in which the

          23     firearm was purchased or was otherwise obtained was not the

          24     defendant's state of residence and that the state in which the

          25     defendant received the firearm was the defendant's state of


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                 N8VBPER1                         Charge

           1     residence

           2                    The defendant does not have to himself purchase the

           3     firearm out-of-state. A defendant who, knowing that another

           4     person has purchased the gun out of state, then receives the

           5     gun in the defendant's state of residence, satisfies the second

           6     essential element

           7                    The third essential element the Government must prove

           8     beyond a reasonable doubt is that the defendant, in receiving

           9     the out-of-state firearm into his state of residency, acted

          10     knowingly and willfully. "Knowingly" means purposely, rather

          11     than negligently or accidentally; but the defendant need not be

          12     aware of the specific law that his conduct is violating                9




          13     "Willfully" means to act with a bad purpose and intent to act

          14     unlawfully even if the defendant does not know the specific law

          15     he is violating      9




          16                   Count One, sometimes referred to as the "conspiracy

          17     count,   II
                               charges the defendant with conspiring with others to

          18     unlawfully transport firearms that were purchased out-of-state

          19     into the state of residency of the persons actually receiving

          20     the firearm. Before the defendant can be convicted of this

          21     Count, the Government must prove beyond a reasonable doubt

          22     three elements

          23                   First, the existence of the charged conspiracy;

          24     Second, that the defendant knowingly and willfully became a

          25     member of that conspiracy; and third, that at least one of the


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           1     co-conspirators committed an overt act in fur therance of the

           2     conspiracy

           3                   I will now address each of the three elements of Count

           4     One in detail              Starting with the first essential element, what

           5     is a conspiracy? A conspiracy is an agreement, or an

           6     understanding, of two or more persons to accomplish by

           7     concerted action one or more unlawful purposes, known as the

           8      II
                       object" or   II
                                         objects" of the conspiracy

           9                   In Count One, the unlawful purpose alleged to be the

          10     object of the conspiracy is an agreement to transport firearms

          11     that were obtained outside the states of residency of the

          12     eventual receivers into the states of residency of the

          13     receivers. I have already instructed you on the essential

          14     elements of that underlying crime when I instructed you on

          15     Count Two. The conspiracy here charged is that several persons,

          16     including the defendant, agreed to a plan to commit the same

          17     kind of substantive violations            9




          18                   Please bear in mind that conspiracy is an entirely

          19     distinct and separate offense from the par ticular substantive

          20     crime charged in Count Two of the defendant actually receiving

          21     a specific out-of-state firearm in the defendant's state of

          22     residency. The actual commission of the object of the

          23     conspiracy is not an essential element of the crime of

          24     conspiracy. Rather, the Government is required to prove beyond

          25     a reasonable doubt only that two or more persons, in some way


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           1     or manner, explicitly or implicitly, came to an understanding

           2     to accomplish the objective of unlawfully obtaining or

           3     transporting one or more out-of-state firearms in order to

           4     enable one or more conspirators to receive them in their states

           5     of residency

           6                 While the indictment charges that the alleged

           7     conspiracy began in or around May 2020 and continued up to in

           8     or around July 2021, it is not essential that the Government

           9     prove that the conspiracy started and ended on those specific

          10     dates or that it existed throughout that period. Rather, it is

          11     sufficient to satisfy y the first element that you find that in

          12     f act a conspiracy was formed and that it existed for any time

          13     within the charged period.

          14                 If you conclude that the Government has proved beyond

          15     a reasonable doubt that the charged conspiracy existed, you

          16     must then consider whether the Government has proved beyond a

          17     reasonable doubt the second essential element: that the

          18     defendant joined and participated in the conspiracy and did SO

          19     knowingly and willfully. I have already defined the terms

          20     "knowingly" and "willfully" for you in in Instruction No. 13           I




          21     and the same definitions apply here            9




          22                 To join and participate in a conspiracy, it is not

          23     necessary that the defendant be fully informed of all the

          24     details of the conspiracy in order to justify an inference of

          25     membership on his part. Nor does the defendant need to know the


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           1     full extent of the conspiracy or all of its par ticipants. It is

           2     also not necessary that the defendant receive any monetary

           3     benefit from par ticipating in the conspiracy. All that is

           4     necessary is proof beyond a reasonable doubt that the defendant

           5      joined and participated in the conspiracy knowingly, and with

           6     the intent to aid in the accomplishment of its unlawful object

           7     as previously discussed.

           8                 The defendant also need not have joined the conspiracy

           9     at the outset. The defendant may have joined it at any time in

          10     its progress, and he will still be held responsible for all

          11     that was done before he joined, as well as all that was done

          12     during the conspiracy's existence while the defendant was a

          13     member. The law does not require that each conspirator have an

          14     equal role in the conspiracy. Even a single act may be

          15     sufficient to draw the defendant within the ambit of a

          16     conspiracy if it meets the essential requirements I have

          17     described.

          18                 However, I want to caution you that the mere

          19     association or friendship by one person with another person

          20     does not make the first person a member of the conspiracy, even

          21     when coupled with knowledge that second person is committing a

          22     crime. In other words, knowledge without par ticipation is not

          23     sufficient. What is necessary is that the defendant have

          24     participated in the conspiracy with knowledge its object and

          25     with an intent to aid in the accomplishment of that unlawful


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                 N8VBPER1                         Charge

           1     object

           2                 The third essential element of Count One is that one

           3     of the conspirators - not necessarily the defendant, but any

           4     one of the conspirators - took at least one overt act in

           5     furtherance of the conspiracy. An overt act in furtherance of

           6     the conspiracy can be any act of any kind taken by any member

           7     of the conspiracy that is done to effectuate the conspiracy in

           8     any respect. The overt act, itself, need not have been an

           9     unlawful act. While the Government need not prove more than one

          10     overt act, you must unanimously agree on which specific overt

          11     act or acts, if any, the Government has proven beyond a

          12     reasonable doubt      9




          13                 Proof of motive is not a necessary element of any of

          14     the crimes with which the defendant is charged. Proof of motive

          15     does not establish quilt, nor does the lack of proof of motive

          16     establish that the defendant is not guilty. If the guilt of a

          17     defendant is shown beyond a reasonable doubt, it is immaterial

          18     what that defendant's motive for the crime or crimes may be, or

          19     whether that defendant's motive was shown at all. The presence

          20     or absence of motive is, however, a circumstance which you may

          21     consider as bearing on the intent of a defendant                    9




          22                 One last requirement. Before the defendant can be

          23     convicted of any of the foregoing charges, the Government must

          24     also establish what is called "venue,            II
                                                                       that is, that some act

          25     in furtherance of that charge occurred in the Southern District


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           1     of New York. As relevant here, the Southern District of New

           2     York is the judicial district that includes (among other

           3     places) Manhattan, the Bronx, and Westchester. Venue is proven

           4     if any act in furtherance of the count you are considering

           5     occurred in any of these counties, regardless of whether it was

           6     an act of the charged defendant or anyone else                         9




           7                 Fur thermore, on the issue of venue-and on this

           8     alone-the Government can meet its burden by a preponderance of

           9     the evidence, that is, by showing that it was more likely than

          10     not that an act in furtherance of a given charge occurred in

          11     the Southern District of New York           9




          12                 You will shortly retire to the jury room to begin your

          13     deliberations. As soon as you get to the jury room, please

          14     select one of your number as the foreperson, to preside over

          15     your deliberations and to serve as your spokesperson if you

          16     need to communicate with the Court              9       You will be bringing with

          17     you into the jury room a copy of my instructions of law and a

          18     verdict form on which to record your verdict                   •




          19                 Let me just show you the verdict form.                             It's a very

          20     simple white page, and it just ask you to determine as to each

          21     of the respective counts whether you find the defendant guilty

          22     or not guilty on that count         9   After you've made that

          23     determination, your foreperson will sign the verdict form, date

          24     it, and seal it in this envelope very cleverly marked verdict,

          25     and that will then be brought to me                 9




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                 N8VBPER1                         Charge

           1                 And I will not open that envelope until you'll all

           2     back here in the courtroom, and then we will open it, read it,

           3     and ask each of you individually whether that is in f act your

           4     verdict      And we go through all those technicalities to be

           5     absolutely sure we have your verdict as you have decided.              Back

           6     to instructions     9




           7                 In addition, we will send into the jury room a list of

           8     all the exhibits; a laptop that can be used to see and hear the

           9     videos and see certain Excel spreadsheets that were also

          10     admitted into evidence; and all the other exhibits that were

          11     admitted into evidence except for the guns and ammunition

          12      (which will be kept here but which you can examine on request)           9




          13     If you want any of the testimony provided, that can also be

          14     done, in either transcript or read-back form. But please

          15     remember that it is not always easy to locate what you might

          16     want, so be as specific as you possibly can be in requesting

          17     portions of the testimony         9




          18                 Any of your requests, in f act any communication with

          19     the Court, should be made to me in writing, signed by your

          20     foreperson, and given to the marshal, who will be available

          21     outside the jury room throughout your deliberations. After

          22     consulting with counsel, I will respond to any question or

          23     request you have as promptly as possible, either in writing or

          24     by having you return to the courtroom so that I can speak with

          25     you in person.


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                 N8VBPER1                         Charge

           1                 You should not, however, tell me or anyone else how

           2     the jury stands on any issue until you have reached your

           3     verdict and recorded it on your verdict form. As I have already

           4     explained, the Government, to prevail on a particular charge

           5     against the defendant, must prove each essential element of

           6     that charge beyond a reasonable doubt. If the Government

           7     carries this burden, you should find the defendant guilty of

           8     that charge. Otherwise, you must find the defendant not guilty

           9     of that charge     9




          10                 Each of you must decide the case for yourself, after

          11     consideration, with your fellow jurors, of the evidence in the

          12     case, and your verdict must be unanimous. In deliberating, bear

          13     in mind that while each juror is entitled to his or her

          14     opinion, you should exchange views with your fellow jurors             9




          15      That is the very purpose of jury deliberation-to discuss and

          16     consider the evidence; to listen to the arguments of fellow

          17      jurors; to present your individual views; to consult with one

          18     another; and to reach a verdict based solely and wholly on the

          19     evidence

          20                 If, after carefully considering all the evidence and

          21     the arguments of your fellow jurors, you entertain a

          22     conscientious view that differs from the others', you are not

          23     to yield your view simply because you are outnumbered. On the

          24     other hand, you should not hesitate to change an opinion that,

          25     after discussion with your fellow jurors, now appears to you


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                 N8VBPER1                         Charge

           1     erroneous    9




           2                 In short, your verdict must reflect your individual

           3     views and must also be unanimous              This completes my

           4     instructions of law.

           5                 Now before we swear in the marshal and excuse you to

           6     your deliberations, a couple of housekeeping items                9        First, you

           7     can take as little, as long as you want for your deliberations                       9




           8     I ve had juries return a verdict in ten minutes
                   I
                                                                               9
                                                                                   I ve had
                                                                                        I




           9     juries return a verdict in ten days            9   You may not want to adopt

          10     that latter position, but the point is, it's totally up to you

          11     how much time you need.

          12                 We will be here till 4:30, but I will excuse the

          13     lawyers and parties for a one-hour break at 1:00 for lunch, and

          14     you'll have your lunch in the jury room as well from l:00 to

          15     2 00      So if you send out any notes at or shortly before 1:00,

          16     we probably won't be able to respond to you until 2 00                          I want

          17     you to be aware of that one hour break that will occur                      9   If you

          18     haven't reached a verdict by 4:30, you should just go home and

          19     return at 9:30 tomorrow morning, and your foreperson will be in

          20     charge of making sure you don't resume your deliberations until

          21     all 12 of you are back in the jury room.

          22                 Now we come now to the one part of this process that I

          23     don't like, which is excusing our alternate jurors                9        But you're

          24     not off the hook yet because if for some unfortunate reason

          25     some juror later on had to be excused or got sick or something


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                 N8VBPER1                         Charge

           1     like that, we would call you back and then start deliberations

           2     all over again.         So you still should not discuss the case with

           3     anyone      We'll let you know when the case is over, but I want

           4     to thank you immensely for your very excellent service                 •
                                                                                            And

           5     what you should do now is go back in the jury room, get your

           6     stuff and leave before the jury comes in to begin their

           7     deliberations     9    Thanks again.     We will swear in the marshal        9




           8                 (Marshal sworn)

           9                 THE DEPUTY CLERK:        Jurors, please follow the marshal           9




          10                 (At 10:11 a.m., the jury retired to deliberate)

          11                 (Continued on next page)

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                 N8VBPER1                            Charge

           1                  (Jury not present)

           2                  THE COURT:     Please be seated.           All objections to the

           3     charge that were previously made are preserved for purposes of

           4     appeal      Now, where do we stand on the exhibits, the laptop and

           5     so for to?

           6                 MS. NICHOLAS           Everything is here, your Honor           9     We

           7     have the laptop as well as the thumb drive with the videos and

           8     a sanitized exhibit list that I believe defense counsel has had

           9     a chance to review, and we're in agreement                   We have provided

          10     written instructions as to logging in to the laptop                        I know

          11     that is sometimes a bit of a difficulty             9




          12                  THE COURT      If the jury has problems, they'll let us

          13     know and we'll send in some techy guy to work it out                            So give

          14     all that to my courtroom deputy and she will take it to the

          15     marshal to give to the jury           9




          16                 MS • BAHARANYI          Your Honor, we have our single exhibit

          17     which is our photograph        9




          18                  THE COURT      Yes       So my practice is that the defendant

          19     and at least one attorney from each side who is authorized to

          20     answer any questions has to remain on this floor                     9   You can go

          21     outside the courtroom, but you can't leave the floor because we

          22     don't want to go searching for you when a note comes in.                           The

          23     only exception is between one and two, which as I already

          24     indicated to the jury you're excused for lunch during that

          25     hour


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           1                 I want to take a moment to commend counsel for both

           2     sides in this case, regardless of the verdict, and I never

           3     comment on a verdict       9   I thought this was a very well-tried

           4     case by both sides, very professional, and you all have reason

           5     to be proud of your work on this case               9    So I thank you for that

           6     because it makes my job a lot easier            9       And I should include in

           7     that commendation the appellate counsel for the defense who's

           8     sitting beyond the table        9    So very good.         Thanks so much   9




           9                 (Recess pending verdict)

          10                 (Continued on next page)

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                 N8VBPER1                          Charge

           1                 (Jury not present - 12:04 p.m.)

           2                 THE COURT:        So my law clerk says that the defense

           3     wanted to have marked as exhibits those five unsolicited notes

           4     that we received this morning before I charged the jury                 9    I

           5     don't think they should be marked as exhibits because really

           6     they were nullities       9    I told the jury that after they heard my

           7     charge, they had any questions, they should put them, and they

           8     chose not to put any fur they questions            9   And I read those

           9     unsolicited notes into the record, but I will give a copy of

          10     them to counsel for each side just so you can compare them with

          11     the transcript in case you think there was any typos or things

          12     like that    9




          13                 MS • BAHARANYI       Your Honor, on that point, before we

          14     proceed. We do think that              well, not think          The Second

          15     Circuit has made clear the type of procedures for handling any

          16     inquiries by the jury, and that's in United States V. Render,

          17     and specifically any notes that are sent to the Court by the

          18     jury should be marked as exhibits           9




          19                 THE COURT         I don't think that applies to this

          20     situation.       They're not even signed.         Of course any

          21     communication by a juror with the Court or with my staff, I

          22     immediately report it, put on the record.                And in this case,

          23     they were, in my view, the Court could have just simply

          24     rejected them out of hand because it was before the charge                   9




          25     And most of the questions were answered by the charges, events


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           1     have proven, but what do you mean mark them as exhibits?

           2                 MS • BAHARANYI       Well, given that these were

           3     communications from the jury about this case                  9




           4                 THE COURT:      What do you mean physically by marking

           5     them as exhibits?

           6                 MS • BAHARANYI         Taking the notes themselves just like

           7     we would any defense

           8                 THE COURT:      And marking them as what kind of exhibits?

           9                 MS • BAHARANYI       Court exhibits        9




          10                 THE COURT:      No, I'm not going to mark them as court

          11     exhibits, because I think I could have rejected them.                         I will

          12     tell you what, I will give the originals to my courtroom deputy

          13     and ask her to docket them as unsolicited jury notes                      9   Any

          14     problem with that?

          15                 MS • BAHARANYI       Your Honor, if I may have one moment                  9




          16                 THE COURT:      Yeah

          17                 (Pause)

          18                 MS • BAHARANYI       Your Honor, we maintain our objection.

          19                 THE COURT:      I don't understand it.                The only purpose

          20     that you could want them marked is so that you can make

          21     reference to them on any appeal, if there is a conviction.                          And

          22     of course we're waiting on the verdict             9       It may be acquittal

          23     for all we know.        But assuming it's a conviction, you have, I

          24     read them into the record.            I gave you copies, and I'm going to

          25     have them placed on the docket          9   So the Second Circuit can have


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           1     numerous references to them verbatim.               What more do you want?

           2     The reason I'm not willing to mark them as court exhibits is

           3     because I think that we didn't have occasion to discuss it that

           4     I could have rejected them out of hand and ripped them up as

           5     improper communication from unknown jurors, but I didn't do

           6     that

           7                 I n s t e a d , I told them if you still have any of these

           8     questions after you, or any other question, after you've heard

           9     my charge, you can put the question to me in the proper form

          10     through your foreperson, and they chose not to do that                 9   So

          11     you're going to have three different ways of having them on the

          12     record •    I don't understand why they have to be "court

          13     exhibits    II
                                  Denied .   Bring in the jury.

          14                 THE DEPUTY CLERK:        Officer, can you please bring in

          15     the jury         Defense counsel, can you please spell the name of

          16     that case for the court reporter           9




          17                 MS • BAHARANYI       R-O-N-D-E-R •

          18                 THE DEPUTY CLERK:        Thank you

          19                 (Continued on next page)

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                 N8VBPER1                           Charge

           1                 THE MARSHAL;      Jury entering

           2                 (Jury present - 12:09 p.m.)

           3                 THE DEPUTY CLERK:        Will the foreperson please rise              9




           4                 THE COURT:      The rest of you can be seated.

           5                 THE DEPUTY CLERK:        You've say you've agreed upon a

           6     verdict?

           7                 FOREPERSQN       Yes

           8                 THE COURT:      All right           I'm going to open the verdict

           9     envelope in a second, but I won't comment on it, because

          10     deciding a verdict is your job, not mine, but I do want to

          11     comment on what a great jury you were                 9     I have been watching

          12     you carefully out of the corners of my eye, and you were all so

          13     attentive throughout this trial             9




          14                 And, you know, I have another trial starting in a week

          15     or two, would you like to come                  no,       I guess not   Actually,

          16     you'll be glad to know that you're excused from federal jury

          17     service for four years now.           Okay         I will open the verdict

          18     form.     So the verdict appears to be in proper form.                   I will

          19     give it to my courtroom deputy to take the reading of the

          20     verdict

          21                 THE DEPUTY CLERK:        Will the foreperson please rise              9




          22      In United States V. Steven Perez, AKA "Lucca El Por Libertad,                        II




          23     Dkt. No. 22 Cr. 466          On Count One, the charge of conspiracy to

          24     transport or receive firearms from outside states of residency,

          25     you the jury find defendant Steven Perez, also known as, Lucca


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           1     El Por Libertad, guilty or not guilty            9    You say?

           2                 FQREPERSGN;        Guilty

           3                 THE DEPUTY CLERK:           On Count Two, the charge of

           4     interstate transport or receipt of a specific out-of-state

           5     firearm, you the jury find defendant Steven Perez, also known

           6     as, Lucca El Por Libertad, guilty or not guilty                     You say?

           7                 FOREPERSQN         Guilty

           8                 THE DEPUTY CLERK:           Shall I poll

           9                 THE COURT:        I'll do it.     Ladies and gentlemen, you

          10     heard your verdict read by your foreperson.

          11                 Ms. Foreperson, is that your verdict°

          12                 FOREPERSQN         Yes

          13                 THE COURT:        Juror No. 2, is that your verdict?

          14                 JUROR :     Yes

          15                 THE COURT:        Juror No. 3, is that your verdict?

          16                 JUROR :     Yes

          17                 THE COURT:        Juror No. 4, is that your verdict?

          18                 JUROR :     Yes

          19                 THE COURT:        Juror No. 5, is that your verdict?

          20                 JUROR :     Yes

          21                 THE COURT:        Juror No. 6, is that your verdict?

          22                 JUROR :     Yes

          23                 THE COURT:        Juror No. 7, is that your verdict?

          24                 JUROR :     Yes

          25                 THE COURT:        Juror No. 8, is that your verdict?


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           1                 JUROR :     Yes

           2                 THE COURT:        Juror No. 9, is that your verdict?

           3                 JUROR :     Yes

           4                 THE COURT:        Juror No. 10, is that verdict?

           5                 JUROR :     Yes

           6                 THE COURT:        Juror No. 11 I   is that verdict?

           7                 JUROR :     Yes

           8                 THE COURT:        Juror No. 12, is that your verdict?

           9                 JUROR :     Yes

          10                 THE COURT:        Jury polled. Verdict unanimous           9




          11                 All right         Ladies and gentlemen, again my very great

          12     thank for your excellent service, and you are now excused.

          13     Have a very good weekend.

          14                 (Jury excused)

          15                 (Continued on next page)

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           1                 THE COURT          Please be seated.     All right         We need to

           2     set a sentence date        9    Linda

           3                 THE DEPUTY CLERK:           Monday, December 4th, at 2

           4                 THE COURT          Monday, December 4th, at 2 p.m.                 Let me

           5     ask the government do you have any bail application.

           6                 MS. NICHOLAS          Yes, your Honor       The government's

           7     position is detention is mandatory in this, and we are seeking

           8     detention as we have at every point throughout this litigation.

           9                 THE COURT          Let me hear from defense counsel            9




          10                 MS • BAHARANYI         Your Honor, as the Court is aware, the

          11     Court does have the ability to continue bail in this case even

          12     following a conviction.            The Court has seen Lucca El show up to

          13     court numerous times, and at this point during this week

          14     without any sort of even ankle monitoring condition.                           He is

          15     eager to be part of every single step of this process                      9     He is

          16     not a flight risk, and certainly I think the f amity that he has

          17     here today, his younger brother Israel Perez, the f family that

          18     is on their way back having briefly stepped outside are further

          19     testaments to the ties to this community that he has                   9       They're

          20     extensive. They're long lasting

          21                 THE COURT          My recollection is it's not at this point

          22     just a question of flight risk, it's mandatory unless you

          23     establish certain conditions            9   Maybe the government can remind

          24     me of the statute      9




          25                 MS. NICHOLAS          Yes, your Honor, 3143(3)(2)


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                 N8VBPER1                         Charge

           1                 THE COURT       Hold on.

           2                 MS • BAHARANYI       Your Honor, flight is one of the

           3     f actors for the Court to consider          9




           4                 THE COURT       I'm not saying that          I'm just saying it's

           5     not the whole story, but let me look at 3143

           6                 MS • BAHARANYI       I think to clarify, it's a presumption

           7     of detention, not mandatory

           8                 THE COURT       3143, which is entitled, Release or

           9     Detention of the Defendant Pending Sentence or Appeal                  9




          10                 (a) except as provided in paragraph two, the judicial

          11     officer shall order that a person who has been found guilty of

          12     an offense and who is awaiting imposition or execution of

          13     sentence be detained unless the judicial officer finds by clear

          14     and convincing evidence that the person is not likely to flee

          15     or pose a danger to the safety of any other person or the

          16     community

          17                 Then paragraph two says, The judicial officer shall

          18     order that a person who has been found guilty of an offense in

          19     a case described in subparagraphs A, B or C of subsection (f)

          20      (1) of section 3142, and is awaiting imposition or execution of

          21     sentence be detained unless,;(a)(1)             I   the judicial officer

          22     finds there is a substantial likelihood of a motion for an

          23     acquittal or a new trial will be granted; or (2) an attorney

          24     for the government has recommended that no sentence of

          25     imprisonment be imposed on the person; and the judicial officer


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           1     finds by clear and convincing evidence that the person is not

           2     likely to flee or pose a danger to any other person or the

           3     community

           4                 And then, let me ask the government, does this

           5     conviction f all within any of the provisions of A, B or C of

           6     subsection (f)(1) of section 3142 or not?

           7                 MS. NICHOLAS        Our position is that it does, your

           8     Honor, for the same reason that a felon in possession case

           9     does      And I'm happy to provide the Court with the cite that

          10     the government is relying on for that argument                  9




          11                 THE COURT       If, going back to defense counsel, if it's

          12     f alls within 3143(2), then the defendant must be detained

          13     unless there is a substantial likelihood that a motion for

          14     acquittal or a new trial be granted.              I would say at this point

          15     without pre judging any such motion, I think that's not a

          16     finding I would remotely be able to make at this time; or, an

          17     attorney for the government has recommended that no sentence of

          18     imprisonment be imposed on the person                The government

          19     obviously is not recommending that           9   And then there's again the

          20     question of flight or danger to the community               9




          21                 So if it's under the second paragraph of sub 3143            I




          22     it's not a question of just flight or even flight is not even a

          23     question of discretion, it's a question of mandatory detention.

          24                 MS • BAHARANYI       Your Honor, we disagree with the

          25     government's characterization or position on where this offense


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           1     f alls, and perhaps a proffer from them would be helpful                   9




           2                   THE COURT:     Yeah, I think that's f air             So why do you

           3     think it f alls within section two          9




           4                   MS. NICHOLAS      Yes, your Honor          The case is Watkins    9




           5     It's 940 F.3d 152, which is a 2019, Second Circuit case. That

           6     case is specifically about possession of ammunition under

           7      922((3)(1)         That case looks back at how the Second Circuit has

           8     looked at crimes involving the possession of a firearm, and

           9     says clearly           and I'll quote directly, "It's long been the

          10     law of our Circuit, that possession of a firearm is

          11     unequivocally a crime of violence for the purposes of Section

          12     3142(f) (1) (A)".

          13                   And really the turning stone of the reasoning the

          14     Court uses here is the idea that there is some risk even in

          15     where it's just the possession of ammunition, the ammunition

          16     can find its way into a gun, and we're in the world of a crime

          17     of violence     9    I think there's clearly the same risks here in a

          18     case involving possession transportation of firearms                   9




          19                   MS • BAHARANYI       Your Honor, if I may respond?

          20                   THE COURT      Yes

          21                   MS • BAHARANYI       He certainly has not been charged with

          22     922(9) or any subsection there          9   He's not charged with the

          23     possession of a firearm, and I think the differences between

          24     the section under which he's been charged with and what the

          25     government has discussed are significant             9    One of the primary


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           1     differences is, Congress treats these two statutes quite

           2     differently           There's a maximum punishment of 15 years imposed

           3     if someone's charged with 922(9)                 The maximum punishment for a

           4     922(a)(3) offense is five years              9   I think they treat the

           5     conduct differently               or the statutes differently because it's

           6     also meant to capture different conduct, different mens rea,

           7     different elements

           8                 We're asking the Court to follow I think the command

           9     or the instructions, guidance given to us by Congress, given to

          10     us to by the codebook         9   And I think that the arguments that we

          11     would make about flight and danger are still arguments that the

          12     Court can consider even if the Court were to find that this

          13     fell under prong two because mandatory                   I think the Court is

          14     very f familiar          mandatory remand cases come before this Court

          15     of ten, even in the conduct of 922(9) cases, which we don't have

          16     here

          17                 And if there are certain compelling reasons, certain

          18     exceptional reasons that exist, then a person may be allowed to

          19     continue and remain in the community               9




          20                 THE COURT         I will, before ruling on whether this

          21     f alls within (2) or not, what do you want to say on all those

          22     other grounds     9




          23                 MS • BAHARANYI          One of the first and primary grounds

          24     is I think the ability of this Court over several months to see

          25     that, while Lucca El may have different, very different


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           1     opinions from the Court, very different opinions about how the

           2     Court even wishes to be communicated with, he certainly has not

           3     in the months since December of 2022 ever once violated a

           4     condition of release, ever once f ailed to show up where he was

           5     supposed to show up, f ailed to stay in touch with his pretrial

           6     officer, f ailed to come to court             9   He has shown the ability to

           7     abide by these very important and serious conditions that have

           8     been put in place          And he was able to do that even under

           9     strict conditions, home incarceration and a curfew, and under

          10     the more lenient conditions that he was able to experience over

          11     the past few days      9




          12                 No matter what type of conditions the Court imposes,

          13     he's able to follow them.           And that seaways to safety in the

          14     community, his ability to maintain and conduct himself in the

          15     community that does not pose a danger               9   Over the past several

          16     months while he's been on pretrial supervision under the

          17     supervision of his pretrial officer Mr. Jonathan Lettieri, he's

          18     also never once had any contact with law enforcement                     9   He's

          19     never once violated any laws          9   In f act, in the community, his

          20     community, he's been the person feeding the community                         He host

          21     barbecues for individuals just right outside of his home on

          22     3318 Perry Avenue      9   He takes care of people         9       He's sort of the

          23     community caretaker if you will           9




          24                 Your Honor, just yesterday leaving the courthouse, one

          25     of the individuals who helps sweep up outside, the different


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           1     floors in this courthouse says hi to Lucho, greets him.                      They

           2     talk about their f amities              9   They talk about each other   9   Lucca

           3     El tells us about how he is doing after the lost of his wife

           4     because that person is part of his neighbor, that person is

           5     part of his community         9    And Lucca El looks out for him and

           6     looks out for everyone in his sort of purview in the community

           7     around 3318 Perry Avenue            9       That's not the first and only person

           8     even in this courthouse that Lucca El is somewhat of a

           9     caretaker for when he goes back home to the Bronx

          10                 When he goes back home, he's also a caretaker for

          11     those in his f family     9       He has a son, a six-year-old named

          12     Hayden .    That son is his entire world.               He speaks with him

          13     quite regularly, daily since we've been on trial                      That would

          14     be another devastating loss, for that communication to no

          15     longer be able to continue, for that relationship to at this

          16     point be broken by his incarceration, an incarceration on

          17     charges that don't involve any violence or danger on his part                       9




          18     He did not shoot         He did not threaten.            He did not assault

          19                 THE COURT         What do you make of the f act that the

          20     evidence showed overwhelmingly in my view that he had allied

          21     himself with a "militia group" who intended to transport a

          22     large number of arms to various places, and who felt strongly,

          23     as he seemingly did as well, that the law be damned.                    They

          24     thought, this was their view of the law was the law, and they

          25     could do with guns and transport, receive, obtain, and


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                 N8VBPER1                            Charge

           1     otherwise handle weapons, indeed train to handle weapons, in

           2     any way they chose because that was in their view the law.                         So

           3     how can I have even the slightest confidence that he would

           4     abide by the law now that he knows that he f aces sentence?

           5                 MS • BAHARANYI          Your Honor, since he was arrested, he

           6     knew that he f aced potential serious consequences in this case                         9




           7     He's been very involved at every stage of this case                    9   He knows

           8     what the punishments have been.              Today is not the first day

           9     that he knew what could happen.              He's conducted himself in a

          10     way that has shown the Court that he is certainly able to abide

          11     by the laws, the Court's rules, the Court's pretrial rules in

          12     his community     9   He's not pose any sort of danger                He's not

          13     threatened or hurt or assaulted anyone             9   And that goes just

          14     generally, your Honor, but certainly also during this time that

          15     the Court has known him and has the opportunity to spend time

          16     with him if you will as part of this case              9




          17                 I do want to point out that for this militia, for this

          18     group, there again is no allegation that they threatened or

          19     hurt or assaulted anyone        9     This conduct that happened in

          20     Massachusetts, I know we've heard a great deal about it.                      We

          21     haven't heard everything about it, but we've heard a great deal

          22     about it.      I think what's salient is, this is an arrest or

          23     incident that ended peacefully           9   It's an arrest or incident

          24     that I think even as it started the group leader said, we don't

          25     intend this to be a violent interaction.                   And I don't think


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           1     there's been any evidence in the record that they ever once

           2     were intending violence or destruction or to threaten anyone or

           3     assault anyone     9




           4                 THE COURT        What were they doing with all those

           5     weapons')

           6                 MS • BAHARANYI        I think what did come out            well,

           7     maybe it didn't come out here, but what we know from the

           8     discovery they've provided that they were planning to do

           9     trainings       They had camping gear       9   They plan to go into the

          10     woods and eat out of cans of beans and sleep outside and really

          11     camp and train, learn how to use firearms, not use firearms on

          12     individuals, not threaten anyone with firearms                   It was truly

          13     sort of a camping and training exercise, not with any violent

          14     or violent intent behind it.            And that's for that group

          15                 I think what's also been hopefully clear from the

          16     evidence is, Lucca El's involvement in that group is not as a

          17     leader      It's not a longterm involvement              The only messages

          18     that came in, the discussion was for about a month or two

          19     before his arrest in Massachusetts               So I think to suggest that

          20     he's some core member, a leader of the group I think is

          21     misleading       And also to suggest that this group itself, his

          22     association in any way with this group, who has a First

          23     Amendment to espouse their beliefs, to speak about what they

          24     believe in.      But to suggest that his association with that

          25     group that did not engage in violence somehow makes Lucca


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           1     violent is not a f air suggestion in this case              9       It's quite

           2     misleading

           3                 I would just note that for his               I think the Court

           4     may not know this because you were not part of the initial bail

           5     hearing, but Lucca stands before the court with a single prior

           6     conviction that's for misdemeanor drug possession from ten

           7     years ago at this point         9    So this is a person who has, in his

           8     33 years, has a very minimal record, who's f acing conviction on

           9     crimes that carry a five-year statutory maximum, who did not

          10     engage in any sort of violent, assaultive conduct, did not

          11     threaten anyone         And the 911 call wasn't initiated because he

          12     threatened anyone or engaged in violence or assaultive conduct

          13     against anyone, that's not who he is.                He has no convictions of

          14     the nature for that       9    And I think he's shown the Court over

          15     several months now his ability to remain in the community, his

          16     ability to remain in the community and not pose any sort of

          17     danger or not pose any sort of violence to anyone                    9




          18                 THE COURT         Thank you      Let me hear from the

          19     government

          20                 MS • BAHARANYI          I'm sorry     The last thing, your

          21     Honor, because I think this is also important               9       And thank you

          22     for my co-counsel

          23                 When it comes to mandatory detention, I think we're

          24     talking a bit about the standard.               I want to be a bit more

          25     precise about the Court's power, ability there                  9   If there are


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           1     exceptional circumstances, and I think the exceptional

           2     circumstances are those we laid out to the Court, then your

           3     Honor absolutely has the ability to allow him to stay out

           4     remain with his f family 9

           5                 THE COURT        My recollection is that by exceptional

           6     circumstances, you're not talking about just that you've shown

           7     that he's not a flight risk and/or a danger to the community,

           8     because that would mean that the mandatory aspects of these

           9     statutes are irrelevant        9    I think exceptional circumstances

          10     means things like someone whose got a very serious heart

          11     condition and needs immediate hospitalization or something like

          12     that      I don't see anything like that here              What you've just

          13     been arguing are the standard positions for under the first

          14     section of 3143, not anything that is exceptional                9




          15                 MS • BAHARANYI         Certainly the arguments for         we

          16     believe still your Honor should be considering this under the

          17     first section.        But,   I think even his background, what we've

          18     explained about his background, his exceptional behavior on

          19     pretrial release is proof that these backgrounds would even fit

          20     the exceptional circumstances that the Court is required to

          21     consider       I will also note his position as someone who is a

          22     community caretaker, his position as someone who is taking care

          23     of his f family as well, his position as a young f other who has

          24     again a very minimal crime history, that is exceptional in this

          25     case as well     9




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           1                 THE COURT       I want to hear from the government, but

           2      just on that narrow point of, none of that strikes me as

           3     exceptional    9     It's very common because unfold lunately most

           4     crimes are committed by young males who of ten have dependents,

           5     but let me hear from the government            9




           6                 MS. NICHOLAS        Thank you, your Honor                   I want to begin

           7     by going back to 3143(a) (2) as to why this is in f act

           8     mandatory          And again, Watkins is controlling here                    9    Watkins is

           9     not about anything other than possession of a firearm.                                It's

          10     the operative concept there is crime of violence                        9        And I think

          11     all the Court needs to know is what the Second Circuit said and

          12     has long said, which is that it's unequivocal that possession

          13     of a firearm is a crime of violence for purposes of Bail Reform

          14     Act     I think that gets us there         9




          15                 Your Honor, I want to be clear that the government

          16     would be seeking remand here as well under the non-mandatory

          17     provisions for both danger and flight reasons as have been

          18     articulated frequently throughout the case, but I want to

          19     respond to a couple of specific arguments              9   First is defense

          20     counsel's characterization of this group, Rise of the Moors                                9




          21      This militia group that was traveling to Maine                 9           The government

          22     provided an extremely narrow set of materials to the jury                              9




          23                 Taken on their own, defense counsel's characterization

          24     maybe plausible       9   Taken together, the full scope of what we

          25     know about this group, what they were talking about, what they


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           1     were planning, what they did in response to the defendant's

           2     first arrest in the Bronx, there is nothing about them that

           3     would suggest this was some kind of harmless camping trip in

           4     Maine        What this was, was a group of people training with

           5     firearms because they contemplated eventual violence                   9




           6                   In response to defendant's arrest in the Bronx, Al

           7     Aban, one of the people arrested with him in Massachusetts,

           8     told Jamal Latimer, make me lethal           9   They were frustrated with

           9     law enforcement      9    They had no regard for the law, and that was

          10     the response     9   This is not a harmless group, and that's the

          11     first point I want to make         9   I think it's just completely

          12     misleading to go off of what was shown to the jury based on

          13     decisions

          14                   THE COURT      The Court as well kept from the jury much

          15     of the information regarding what that militia was doing and

          16     what they were up to; but of course I can consider it now on

          17     bail
          18                  MS. NICHOLAS       And in that vein, this group refused to

          19     disarm.       They refused to give their names to law enforcement            9




          20     The defendant has repeatedly refused to be fingerprinted.                   This

          21     is not a group that respects the law, the mandates issued by

          22     courts   9    We also have a sample set of information about how the

          23     defendant has conducted himself in his case in Massachusetts,

          24     which has been again adjourned till February                    This defendant

          25     has multiple sentences that are coming that he has every reason


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           1     to want to try to avoid, which is a very clear risk of flight

           2     Even under the non-mandatory provisions, the government would

           3     be seeking detention here, think it's a very compelling

           4     argument both on danger and on flight

           5                 MS • BAHARANYI            Your Honor, if I may respond to a few

           6     points that have been raised.

           7                 THE COURT              Sure

           8                 MS • BAHARANYI            First, regarding the characterization

           9     of the group, the militia training, all of what has been raised

          10     by the government      9       I think it's important to note that there

          11     has never been once been an allegation by the government, they

          12     certainly aren't charged with violent conduct in Massachusetts                 9




          13     They have not been                 there's no allegation that they ever

          14     engaged in violence        9




          15                 I think what the government has cited or talked about

          16     are messages where people are expressing frustrations, but

          17     certainly not an intent to threaten or harm or assault anyone              9




          18     And I think the idea that this was                 not to go so f at into the

          19     training details, but the idea that this training was only for

          20     the purpose of conducting violence is a certain speculative

          21     lens; or, I would say, a filter that the government is viewing

          22     the evidence through           9     I think the group's own words and their

          23     actions, the f act that they alerted the sheriff in Maine that

          24     they were going to be training there; the f act that they were

          25     given permission to train in Maine; the f act that they tried


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                 N8VBPER1                         Charge

           1     albeit perhaps in an incorrect way, they tried to go about

           2     their business peacefully, all of that is proof that his

           3     association with this group does not make him violent                   9




           4                 But I think to turn to some par ticular exceptional

           5     circumstances that exist here          9   One, if Lucca El is remanded,

           6     if he's placed in jail, it's going to be at the MDC Brooklyn.

           7     I think the Court is aware of generally how dysfunctional and

           8     chaotic that space is. It's only getting more so by the day

           9     because of staffing shortages          9   They're operating at about 50

          10     percent capacity for their staff right now, which means that

          11     he's going to go into a cell and stay in his cell, sometimes

          12     24/48 hours or a whole weekend at a time             9   This is problematic

          13     not just because of truly how inhumane those conditions are,

          14     it's also problematic because he has a pending criminal case in

          15     Massachusetts that he has been attending             9   He's been on bail

          16     for a few years now, and that pending case is going to trial in

          17     February and requires his input, his par ticipation.                    He's

          18     actually pro se there, so he's instrumental in his need to have

          19     access to discovery, his need to be able to talk to witnesses

          20     is quite instrumental       9




          21                 And I think the Court has seen, contrary to the

          22     government's asset lions, that Lucca El is someone who does have

          23     a desire to be deeply involved in his legal cases                9     He will be

          24     completely hamstrung if he's sitting at the MDC Brooklyn on

          25     Lockdown 24/72 hours at a time because a guard or staff member


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                 N8VBPER1                         Charge

           1     won't let him out of his cell             It also means during those time

           2     periods he's not speaking with his son Hayden.                    He's certainly

           3     not having any communication with his f family, with Israel

           4     Perez, with his mother Maria who is here, and also his cousin

           5     Maria who the Court had the opportunity to meet               9     It is a

           6     completely exceptional circumstance that he would be sent to a

           7     place that is SO isolating, SO chaotic, and SO violent at this

           8     time, and that would hamstring, and that would completely

           9     prevent him from defending himself in this other pending action

          10     that the Court has been aware of now for sometime as well                     9   One

          11     moment, your Honor

          12                 (Counsel and defendant conferred)

          13                 MS • BAHARANYI       Two more things, your Honor             The case

          14     that my colleague just handed up to me which is, United States

          15      V. Boyd, and I'm just looking for the cite in front of me

          16     I'll give the exact cite to the Court                The cite is 2022

          17     WLS90771. This was a case decided out of this district, the

          18     Southern District          There the Court held that the conditions at

          19     the MDC were in f act an exceptional circumstance warranting

          20     someone's continued release even after conviction.

          21                 The conditions have truly, your Honor, only gotten

          22     worse since the pandemic, not better; that's Covid, staffing

          23     related .     It's truly an inhumane place to be              But one of the

          24     reasons why I wanted to take a moment was to speak to Lucca El,

          25     because as the Court knows, he's been very deeply involved in


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                 N8VBPER1                         Charge

           1     this case    9   One thing he wants the Court to know, he is not a

           2     violent man.       He's not a violent person.            He isn't committed or

           3     conducted himself ever in a violent way              9   He is someone who is

           4     moved by love, certainly the community around him knows that

           5     well, and it is certainly hard for your Honor to see that

           6     because you don't see him everyday              9




           7                  THE COURT      I received a love letter from him.

           8                 MS • BAHARANYI       That's not representative of who he is

           9     in terms of how he feels and how he takes care of those in his

          10     community        He certainly had no intent or desire at any point

          11     to receive firearms to conduct violence              9   And I think what

          12     certainly is clear from the government's preparation today is

          13     they don't have any evidence to the contrary.                  He's not a

          14     violent person.        He has no history of it, and that was not the

          15     goal of the conduct in this case           9




          16                  THE COURT      All right          So the first thing the Court

          17     needs to consider is whether this case fits within Section 3143

          18      (a) (2)   such that detention is mandatory unless there are

          19     exceptional circumstances         9   The only thing raised by the

          20     defense that this Court considers to fit within the notion of

          21     exceptional circumstances would hypothetically be the

          22     conditions at the MDC, although they effect               9   And many of the

          23     same respects that were just mentioned by defense counsel the

          24     conditions at the MDC negatively effect numerous defendants in

          25     their ability to feel safe and their ability to prepare


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                 N8VBPER1                         Charge

           1     properly for their legal defense and so forth               9       So that is a

           2     serious problem that has bothered this Court otherwise as well                     9




           3                 Now having said that, what I have been able to do in

           4     individual cases before me, not this case, but cases where

           5     there were difficulties preparing for trial or so forth is

           6     arrange with the warden for appropriate provisions to be made

           7     I don't know that I have the power to do that in regard to a

           8     case pending in Massachusetts, but certainly a judge there

           9     could do that        The warden is very receptive to that kind of

          10     arrangement

          11                 So while I don't mean to in any way minimize the

          12     serious problems at the MDC, I don't think they meet the

          13     requirements for exceptional circumstances in this context of

          14     bail, so I think I am obliged under section 3143(a) (2) to

          15     detain the defendant

          16                 Now assuming for the sake of argument that the

          17     conditions at the MDC would meet the exceptional circumstance

          18     provision, though as I say I don't they that's right, if I had

          19     to consider the f actors under section 3143(3) (1), although it'd

          20     be a closer call, I would still detain the defendant because

          21     what I think has emerged from the proof in this case

          22     overwhelmingly is how totally he disrespects the law when it

          23     comes to firearms      9   And however much he may respect the law

          24     with respect to the showing up for court before a conviction,

          25     though the risk of flight is now obviously increased by the


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                 N8VBPER1                         Charge

           1     f act of conviction, it pales by comparison to his deep-seeded

           2     belief that he is the law when it comes to dangerous weapons                9




           3                 Now I went to great lengths throughout this trial to

           4     make sure to put out of my mind his letter to the Court and

           5     told myself repeatedly during the course of the trial, if

           6     anything, Judge, lean in his f aver, because you must not allow

           7     that letter to impact       9   But when it comes to the issues made

           8     here of bail, I think I can consider that letter as well               9   And

           9     that letter just further shows that he's not just a follower,

          10     he has a deep-seeded hear tfelt unfortunately belief that he is

          11     the law when it comes to weapons, he and his co-conspirators                9




          12                 So even under section 3143(a)(1), I would still detain

          13     him, so the marshal will take the defendant into custody at

          14     this time

          15                 MS • BAHARANYI       Your Honor, before that happens, I

          16     think there are still a couple of points the Court should know,

          17     and I understand what the Court has said.                What the government

          18     hasn't shared with the Court, but I'm sure the government is

          19     aware of, is that these firearms in Massachusetts, except for

          20     the one from Keith Vere en, were firearms that had been

          21     purchased by other people, not by Lucha; firearms that had been

          22     purchased legally too, not by Lucca, but by other individuals

          23     in their own states of residence           9   I could see them talking

          24     here, but I believe that's some information they are privy to,

          25     your Honor    9




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                 N8VBPER1                          Charge

           1                 I think more important is, his views o n t h e S e c o n d

           2     Amendment, those are views             And those are views that he's now

           3     heard that the Court strongly, strongly disagrees with                 9   His

           4     conduct over the past several month shows that even if there

           5     are disagreements, he can follow by whatever the Court

           6     whatever conditions are imposed, whatever the Court says he

           7     must do, he can do it.           And that includes not being around, not

           8     using, not holding firearms             He's done that for several

           9     months      He will continue to do that         9   And throughout, up until

          10     the time of his sentencing and throughout, because now it would

          11     be a felony for him to have a firearm.               He's shown he can abide

          12     by the Court's conditions

          13                 THE COURT:      I need to at this point cut you off

          14     b e c a u s e I ve heard your arguments 9
                              I
                                                                 I will hear the government

          15     on the last point you made that you said was within their

          16     knowledge; but of course you can appeal this ruling to the

          17     Second Circuit as you know.            And if they take a different view,

          18     SO be it.

          19                 MS • BAHARANYI        We would ask for the ability to have a

          20     stay pending appeal for that purpose            9




          21                 THE COURT       No    Denied .

          22                 MS • BAHARANYI        Or a surrender date for Lucca El so

          23     that he can at least say good-bye to his f family and his son.

          24                 THE COURT:      Denied .    Let me hear from the government

          25     if they want to say anything on that            9




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                 N8VBPER1                         Charge

           1                 MS. NICHOLAS        Very shortly, your Honor            9   The

           2     government has never alleged there was only one straw purchaser

           3     in this case        As to the names on the purchase reports, at

           4     least two of the firearms were purchased by Quinn Cumber lander,

           5     also of the militia arrest on behalf of Al Abad, who was in New

           6     York with the defendant. It's not relevant to this question,

           7     your Honor    9




           8                 THE COURT       One who even saw even the small snippets

           9     of the Massachusetts events that the Court saw would join with

          10     the government in saying this was not just a friendly camping

          11     trip in Maine         That is ridiculous        9   These folks were up to no

          12     good, and it's self-evident to any objective observer                     9   That

          13     concludes this proceeding         9   The marshals may proceed with

          14     taking the defendant into custody           9




          15                 (Adjourned)

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           UNITED STATES DISTRICT COURT
           SOUTHERN DISTRICT OF NEW YORK

            UNITED STATES OF AMERICA

                                                                   22-cr-644 (JSR)

            STEVEN PEREZ (A/K/A "LUCPL4 EL
            POR LIBERTAD"),                                        VERDICT

                   Defendant.


              1. On Count One, the charge of conspiracy to transport or receive firearms from outside states
                  of residency, we the jury find defendant Steven Perez, also known as Lucha El Por
                  Libertad:

                 Guilty                 Not Guilty

              2. On Count Two, the charge of interstate transport or receipt of a specific out-of-state
                  firearm, we the jury f'lnd defendant Steven Perez, also known as Lucha El Por Libertad:

                 Guilty    4/           Not Guilty




                                                                                         JJ
                                                                              FOREPERSON


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           1     UNITED STATES DTSTRTCT COURT
                 SOUTHERN DTSTRTCT OF NEW YORK
           2                                             *X

           3     UNITED STATES OF AMERICA,                            New York, N Y

           4                    v.                                    22 Cr. 644 (JSR)

           5     STEVEN PEREZ, a/k/a "Lucca"         I




           6                         Defendant

           7                                             'X

           8                                                          January 8, 2 0 2 4
                                                                      4:15 p.m.
           9

          10     Before

          11                                  HON. JED s. RAKOFF,

          12                                                          U.S. District Judge

          13

          14                                        APPEARANCES

          15     DAMIAN WILLIAMS
                      United States Attorney for the
          16          Southern District of New York
                 BY   ASHLEY C. NICOLAS
          17          MADISON SMYSER
                      Assistant United States Attorneys
          18
                 FEDERAL DEFENDERS OF NEW YORK
          19          Attorneys for Defendant
                 BY   ZAWADI BAHARANYI
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           1                 (Case called)

           2                 THE DEPUTY CLERK:        Will the parties please identify

           3     themselves for the record?

           4                 MS. NICOLAS        Good afternoon, your Honor           9           Ashley

           5     Nicolas and Madison Smyser for the government               9




           6                 THE COURT       Good of ternoon.

           7                 MS • BAHARANYI       Good afternoon, your Honor                 9     Zawadi

           8     Baharanyi with the Federal Defenders            9   I am here on behalf of

           9     Lucca El, who is being brought out now.

          10                 THE COURT:      Good of ternoon.

          11                 So, we are here for sentencing          •   The first item is the

          12     calculation of the guidelines, even though I will say, as I now

          13     say at all sentences, that the federal sentencing guidelines

          14     are completely irrational and will have no bearing on my

          15     sentence       This is just another case where that is

          16     demonstrated.

          17                 There is all this controversy, which we will get to in

          18     a moment, of how many guns this defendant was involved with and

          19     if it's three guns he gets two extra points, if it is eight

          20     guns he gets four extra points          9   I wonder how the brilliant

          21     members of the Sentencing Commission came up with that                            9   Wkly

          22     wasn't it one point?         Why wasn't it seven points?                    Why wasn't

          23     it three points?        This is all hocus-pocus, masquerading as

          24     rationality    9




          25                 So the guidelines are of no concern to me                   9       What, of


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           1     course, is of concern to me, is the serious crime that was

           2     committed and we will get to that later on.                But, since I have

           3     to calculate the guidelines, the defense objects to the

           4     government and the probation office's calculation which was a

           5     total offense level of 20 and a Criminal History Category of I,

           6     and therefore a guideline range of 33 to 41 months, a sentence

           7     higher than any I am remotely contemplating in this case but

           8     the defense objects to that calculation on two different

           9     grounds

          10                 First, the defense says that the four-level

          11     enhancement for an offense involving 8 to 24 firearms was not

          12     resolved by the jury            I agree with that          and is not

          13     supported by the evidence and I am not so sure I agree with

          14     that second part of the argument; and then the defense also

          15     says that the guideline that says there should be another

          16     four-level enhancement for the provision that says the

          17     defendant used or possessed a firearm or ammunition in

          18     connection with another felony offense really should not be

          19     invoked on the other felony offense is simply, if you will, the

          20     state parallel to the federal offense            9




          21                 So, let me hear first from the government on those

          22     objections and then I will turn to the defense                  9




          23                 MS. NICOLAS        Thank you, your Honor

          24                 I will start with the first which is under

          25     2K2.1(b) (1), which is the number of guns involved in the


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           1     offense       I think your Honor already alluded to kind of the

           2     touchpoint of the government's argument here, what was argued

           3     before the jury is not the question.                 It is actually quite a

           4     low standard, it is what is reasonably foreseeable to the

           5     defendant as a natural consequence of the unlawful agreement

           6     proven by a preponderance          9




           7                 The government laid out, on page 7 of its sentencing

           8     submission, while constraining ourselves only to the four trips

           9     in which the defendant and Mr. Vere en, the straw purchaser,

          10     were located together, that that results in 17 firearms right

          11     there, if we only constrain ourselves to those four trips               9




          12      That is setting aside the firearms that are outside that time

          13     span .    That also disregards the Glock, which is the additional

          14     firearm that the defendant was arrested with, taking us to 18                 9




          15     I think, based on the cell site information which was

          16     Government Exhibit 901, was the presentation that supported

          17     Mr. Peterson's testimony at trial, combined with the wire

          18     transfer information both for the defendant and the

          19     co-conspirator with whom he was arrested in Massachusetts,

          20     establish by a preponderance that at least 18 firearms were

          21     reasonably foreseeable to the defendant as a natural

          22     consequence of the criminal agreement            9




          23                 I am happy to stop there        9




          24                 THE COURT:         Why don't you stop there and let's hear

          25     from defense counsel       9




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           1                 MS • BAHARANYI        Your Honor, we do agree with the

           2     government that the question is about reasonable

           3     foresee ability    9     There is a lot of speculation that is going

           4     into the government's calculation that should be highlighted.

           5                 First, they've at least limited now from 24 to 17

           6     Kudos to them for recognizing that the number 24 was also quite

           7     speculative 9      But if we look at the four trips, what we know

           8     from these trips is that there was a cell tower that

           9     Mr. Vernen's phone pinned off of that Lucca El's phone also

          10     pinged off of           We know that there were other cell towers that

          11     Mr. Vere en's phone pinged off of that weren't anywhere in the

          12     vicinity of Lucca El            That includes cell towers in upstate New

          13     York, in New Jersey, in different parts of the Bronx                   This was

          14     all part of our cross-examination with Mr. Peterson, the expert

          15     witness called by the government

          16                 What that tells us is that while there were these

          17     interactions after certain firearm purchases between Mr. Vere en

          18     and between Lucca, we cannot glean from these interactions that

          19     all of the firearms that were purchased during this time frame

          20     were destined to Lucca El's hands or individuals that were

          21     known to him.

          22                 I think it might be helpful to think of this in the

          23     context, perhaps an unsavory context of someone who is dealing

          24     drugs      Someone who is dealing drugs to one purchaser, one

          25     person who is buying it.           That person who is buying from them


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           1     in the moment may have no sense of how many other drugs the

           2     person they're buying from is dealing                They have no sense of

           3     the overall conspiracy           And what the government hasn't given

           4     your Honor today or even at trial is any reason to fill in the

           5     gaps in the way that they've proposed.               There are no

           6     communications, text messages, wiretappinqs that would show

           7     that Lucca El was aware of the grand scope of Mr. Vernen's

           8     firearm dealings, and even the four dates that we have here,

           9     for each of the wire transfers that the government has

          10     highlighted, it certainly would not support the suggestion that

          11     18 guns were purchased from about $1,000 worth of money

          12     transferred.        That just does not compute       9




          13                 So, your Honor, I do think while the government,

          14     again, kudos to them, has lowered their number, in reality what

          15     we are dealing with is just truly a lack of information and

          16     information they cannot provide by a preponderance of the

          17     evidence to show that the number was anything from 2, 3, 10, 11

          18     firearms         They just don't have the ability to prove that and

          19     it is their burden.

          20                 THE COURT       Before I hear from the government let me

          21     make sure    9   Are you asking for a Fatico hearing on this or are

          22     you saying I can decide on the materials that both sides have

          23     presented, but of course you interpret that as materials that

          24     do not sufficiently support the government's burden.

          25                 MS • BAHARANYI       It is the latter, your Honor          9




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           1                 THE COURT       Same question to the government            9   Are you

           2     seeking a Fatico hearing?

           3                 MS. NICOLAS        We are not, your Honor

           4                 THE COURT       OK •   So go ahead.

           5                 MS. NICOLAS        Your Honor, I think we need to parse out

           6     what defense counsel just said because I think there was some

           7     mixing of standards

           8                 The question is not whether or not 18 firearms ended

           9     up in this defendant's hands             The question is actually if we

          10     get past the threshold of eight as part of a foreseeable

          11     result, a natural consequence of the unlawful agreement in

          12     which the defendant participated, we are talking about the

          13     defendant with whom he was arrested in Massachusetts with

          14     another person who sent money to Mr. Vere en and it is not just

          15     the stand-alone cell site information, it is also the pattern

          16     of communications, cell site information, gun purchases and

          17     money transfers, and certainly this is not in evidence but the

          18     government's closing slides laid that out quite clearly,

          19     putting together all of that evidence                 the cell site, the

          20     toll records

          21                 THE COURT       On this first point I agree with the

          22     government        I think the government's position is based on a

          23     number of circumstantial inferences but, of course, those are

          24     totally permissible to be drawn and the burden is only

          25     preponderance and I think they have established that he


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           1     reasonably foresaw that eight or more guns would be involved.

           2                 Let's now turn to the other enhancement                   The

           3     government's position, while it may comport with the f facial

           4     language of the guideline and therefore satisfy y the textual fess

           5     of the Supreme Court, seems kind of crazy              9   It means that every

           6     single time there is a parallel state statute, which is going

           7     to be true in the many, many, many states, you are just going

           8     to have an automatic enhancement             9   That sounds awfully like

           9     double punishment to me        9




          10                 MS. NICOLAS        Your Honor, I actually don't think that

          11     is the relevant question in this case where the defendant was

          12     charged with an offense relating to how he obtained the guns                    9




          13     And I understand and acknowledge that it is a nuanced

          14     difference, but any potential state case in New York related to

          15     the firearm would be a possession offense, but even here it is

          16     one step fur they in that there were other offenses, even if we

          17     were to argue, which we are not, that that is the point of the

          18     statute, the two possession enhancements can't exist together                       9




          19     Here we have a body armor offense, we have an ammunition

          20     offense, we have an offense relating to extended magazines, all

          21     of which he was charged with in Massachusetts               9       That's not even

          22     the question.       The question is, is there another offense,

          23     another felony offense that the defendant has committed in

          24     connection with his acquisition of a firearm under which he was

          25     convicted in the federal courts          9




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           1                 THE COURT       Well, one of the problems, many problems I

           2     have with the guidelines but I don't want to spend the next

           3     five hours going through them all, is very little legislative

           4     history       So, one would have thought that this might have been

           5     intended to deal with situations where one obtained a gun

           6     illegally in order to carry out a bank robbery or a violent

           7     assault or something like that and none of the situations you

           8     are positing are really like that           9       It is more like, yes,

           9     Massachusetts has a bunch of those, as does New York, a bunch

          10     of laws relating to obtaining handling, so forth, illegal guns,

          11     and SO it is almost an automatic that in every case involving

          12     the federal gun laws there is going to be the enhancement you

          13     are referring to      9   I get your point that went fur they here that

          14     would narrow my hypothetical but I wonder if it is still the

          15     same basic ball of wax        9   But, let me hear from defense counsel     9




          16                 MS • BAHARANYI        Your Honor, that gets at exactly what

          17     our issue is with this enhancement and I think the Court

          18     actually does have power not to apply it here                9




          19                 THE COURT       I have the power not to consider the

          20     guidelines at all and I am going to invoke that power                  9




          21                 MS • BAHARANYI        Absolutely    9




          22                 THE COURT       Without any question.

          23                 MS • BAHARANYI        I don't mean at all to limit,

          24     especially given the direction we hope the Court goes and I

          25     don't mean to limit the Court's discretion there but, again,


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           1     the idea, if we get to the heart of what this enhancement is

           2     supposed to be addressing is exactly that, firearms that are

           3     possessed in connection with this other felony, conduct or

           4     activity, firearm possessed with bank fraud or kidnapping              9




           5     Something that enhances the dangerousness of this other

           6     felonious conduct      9   Here, the other

           7                 THE COURT       Since there is no legislative history

           8     maybe what I should do is have a Fatico hearing involving all

           9     the members of the Sentencing Commission at the time they

          10     enacted this, we could question them.               Maybe we won't do that

          11                 MS • BAHARANYI       That sounds potentially painful, your

          12     Honor

          13                 I think here what the Court should also focus on is

          14     this guidance from the guidelines in the commentary that the

          15     possession of a firearm in connection with the felony, another

          16     felony offense, needs to be a firearm that's f facilitating or

          17     somehow making easier the commission of this other felony

          18     offense, and simply possessing a firearm does not make easier

          19     the possession of a firearm.            That's where I believe the Court

          20     has room to certainly not apply the enhancement in this case               9




          21     It certainly is illogical and the guidelines, the commentary of

          22     the guidelines at least does give us some area or room not to

          23     apply it.

          24                 I would also note the government, in its letter,

          25     mentioned that there are other felony offenses beyond


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           1     possession of a firearm that were happening here                9   Those felony

           2     offenses, again, all relate to possession of ammunition or

           3     other firearms or body armor which, again, if anything, body

           4     armor potentially could f facilitate the carrying of a firearm

           5     but I don't think that goes in the reverse direction here, not

           6     logically    9




           7                 THE COURT       Well,   I'm going to cut this short only

           8     because, as I said perhaps too of ten now, it is all an

           9     irrelevancy to my sentence in any event, but I agree with

          10     defense counsel         I think I have some room so I'm going to deny

          11     that enhancement, which means that the total offense level is

          12     16, the Criminal History is I, and the guideline range is 21 to

          13     27 months

          14                 Now let's talk about what is of importance to the

          15     Court which is the f actors under Section 3553(a) of Title 18, a

          16     statute I am very fond of because I think it sets forth all the

          17     relevant f actors to any Judge's sentencing             9   And before I hear

          18     from defense counsel and from government counsel and then from

          19     the defendant, if he wishes to be heard, let me ask the

          20     government what, to me, is an important question, which is

          21     where do you rank this defendant in comparison with Mr. Vere en.

          22                 MS. NICOLAS        It is a difficult question, your Honor,

          23     because their conduct is quite different from one another                 9   As

          24     it relates to the offense itself, on its f ace, I certainly

          25     think that this defendant maybe is a little less culpable in


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           1     terms of he is not necessarily in the gun store at every

           2     transaction but in other ways that Mr. Vere en presented

           3     mitigating f actors I    9   His employment, his service record,

           4     otherwise lack of criminal history, general showing of remorse                  9




           5     I don't necessarily think we have that with this defendant so,

           6     in some senses, this defendant almost has a more aggravating

           7     position which I will talk about more, but I do think it is a

           8     difficult one-to-one comparison.

           9                  THE COURT       OK •    That's f air enough      Now let me hear

          10     on all issues first from defense counsel, then from government

          11     counsel and then from the defendant, if he wishes to be heard.

          12                 MS • BAHARANYI          Thank you, your Honor

          13                 Before I begin, I do want to take a moment to

          14     introduce some of the many f amity members and community members

          15     who are here in support of Lucca              9




          16                  THE COURT       Yes      And I should mention I have received

          17     and carefully read some very excellent letters on his behalf

          18     from friends and f amity members          9




          19                 MS • BAHARANYI          And of those, his brother Israel

          20     Perez, who wrote a letter to the Court, is present                9    His

          21     mother, Maria Gonzalez, is also present who also wrote a letter

          22     to the Court, as is Jacqueline Jimenez and Sheryl Jones or

          23      "CJ" I   as she is affectionately known in the community

          24                 Your Honor, I do want to also note that at the end of

          25     my presentation, as I included in my sentencing submission, I


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           1     request the opportunity for Ms. Jimenez                  Jackie Jimenez, who

           2     is here, to be able to share a bit more on Lucca El's specific

           3     connection to his community and why his absence or the loss of

           4     him in the community has been a hardship that extends beyond

           5     his f family

           6                 THE COURT       I'm happy to hear, as long as it is a

           7     reasonably brief presentation.

           8                 MS • BAHARANYI       Absolutely, your Honor

           9                 Every single person behind me, your Honor, is here

          10     because they know who Lucca El Libertard truly is.                     They know

          11     his heart, they know his actions, they know that he is not the

          12     radical, violent, government-hating militia member that the

          13     government has made him out to be, not just I anticipate at

          14     today's sentencing, but at trial

          15                 After our own lengthy amount of time with Lucca El

          16     during trial and preparation, we have come to know the same as

          17     well      He is someone who cares deeply for his community, for

          18     his f family     He is someone who loves infinitely, s o m e h o w ,

          19     despite challenging circumstances that have existed since his

          20     childbirth       But we are obviously here because he is also

          21     someone who made a mistake         9       The Court knows that in 2020 and

          22     2021 there were decisions that Lucca El made in the middle of a

          23     global health pandemic, in the middle of time that brought

          24     about extreme uncertainty and lack of security to many, but

          25     decisions that led him here            9




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           1                 For Lucca El, he is from             well, grew up for decades

           2     in a community in Norwood Bronx around Perry Avenue, and in

           3     COVID he saw that community suffering in ways that Officer

           4     Smalls took to the stand and described:               Gang violence,

           5     robberies, rampant shootings, just truly a chaotic almost

           6     desperate environment that was brought on by the desperation of

           7     an unprecedented pandemic, and at that time Lucca El was a

           8     f other to a 3-year-old, Hayden, someone who is his child who is

           9     truly his love and his joy, and he felt the desire and the need

          10     to be a protector      9   He felt the desire and need to be able to

          11     protect him as he has done for so many f family members since he

          12     was a child.       And that happened to coincide with him learning

          13     about the Moors, that happened to coincide with him learning

          14     about the Second Amendment, and he developed views on what the

          15     Second Amendment meant to him.

          16                 He made the decision, your Honor, to carry a firearm

          17     :Ln 2021      The Court now is very well aware of the circumstances

          18     of him carrying that firearm.            On two occasions, in the Bronx

          19     and in Massachusetts, he was arrested in possession of

          20     firearms, and immediately after his Massachusetts arrest he

          21     went to jail.       That's critical here          He spent eight months in

          22     custody away from his son, eight months in custody away from

          23     his f family in a jail f as off in Massachusetts that was, itself,

          24     suffering from the rampant              the onslaught of COVID-19      9   This

          25     was a time of immense suffering but also of immense reflection.


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           1     Eight months         eight months and three weeks specifically, your

           2     Honor, was punishing and was more than sufficient punishment                       9




           3     And after that time he has not carried a gun since                  9   So, eight

           4     months and three weeks in jail was exactly the course

           5     correction that I think Courts try to impose in cases like this

           6     of ten

           7                   THE COURT     I'm not sure that I have any reason to

           8     believe he really changed his mind.              We have some evidence that

           9     he retained his absurd views of what the law permitted and

          10     didn't permit

          11                   MS • BAHARANYI     Your Honor, I'm quite happy you raised

          12     that because I think that has been so much of the focus of our

          13     time in this courtroom, is what he believes, what he feels,

          14     what his views are on the law, and we have lost focus on his

          15     ability to actually abide by the law.

          16                   Many Courts, I think, think of sometimes jail as being

          17     an opportunity for a taste of punishment, something to course

          18     correct   9    And I think in his case he got more than a taste, he

          19     got, quite frankly, a meal, because he got punishment during

          20     the darkest time to be incarcerated and that, in f act, changed

          21     his actions     9




          22                   His views, his opinions, what he believes the Second

          23     Amendment means to others, what he believes the Second

          24     Amendment should be or could be, does not change the f act that

          25     he is able to abide by the law as it is and we saw that                   9   We


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           1     saw that after eight months and three weeks in jail, that he

           2     came back into the community, no more contact, no more police

           3     contact, no more firearms, no more incidents of misconduct in

           4     the community     9    He focused in on supporting those who he loves,

           5     those who have stood by him from day one             9   He focused in on his

           6     son, on his son Hayden             He focused in on what matters most             9




           7     The community that he was concerned about, he dedicated his

           8     time to that community, he did not dedicate his time to

           9     carrying around firearms or f facilitating others carrying

          10     firearms

          11                 I guess what I am trying to convey to the Court is

          12     that that time worked, and yet that time was not all that he

          13     has now f aced.        So beyond those nearly nine months in custody,

          14     he has now spent another four months at the MDC Brooklyn.

          15                 THE COURT        Yes     Of course, he gets credit for that

          16     on any sentence I impose

          17                 MS • BAHARANYI         He gets credit for that time        9   He

          18     doesn't technically get any credit for the Massachusetts time

          19     but, again, this is all happening                the arrest occurs in 2021

          20     and all of this has happened of ter, so it is not as though he

          21     was arrested and decided again to carry another firearm after

          22     these eight months       9   No     The arrest happened, his

          23     incarceration happened, his conduct has been changed.                      This

          24     venue, the criminal justice system, is not here to change

          25     people's opinions on what the law should be, that's not what we


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           1     are doing here     9     It is here to ensure that people can abide by

           2     the law and can go out into the world and live in that world

           3     safely and Lucca El has done that           9   I think the Court          not I

           4     think,    I know the Court has certainly been inundated with his

           5     views and opinions on the law in ways that weren't always

           6     welcome and he addressed that in his letter to the Court               9




           7                 THE COURT         I have long since forgotten and put out of

           8     my mind his thoughts in that regard.

           9                 MS • BAHARANYI        But during his time on pretrial

          10     release, despite those communications, he was in f act

          11     compliant       He was someone who was in his home during his

          12     curfew as he was required to do, he worked odd jobs in the

          13     community to support different community members including a

          14     neighbor of his who was renovating his home              9   He spent eight

          15     months outside showing the Court that he is able to, again, be

          16     in the community under the supervision without committing

          17     crimes, without carrying firearms, without posing a danger                  9




          18                 I think what has been lost in this case is something

          19     that we truly must focus on here, the conduct and the actions

          20     and not his views or opinions because that is certainly not

          21     what this space is designed to change            9




          22                 THE COURT         I totally agree that he should not, and I

          23     don't think his sentence should reflect in any way his opinions

          24     of the law, misguided though they may be, but I think your more

          25     fundamental point, which I think you agree with is if he has


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           1     got a bunch of silly opinions, well, sobeit, he shouldn't be

           2     punished for that          But, of course, I haven't heard much though

           3     from you about the f act that at the very time when, as you say,

           4     because of the pandemic there was terrible situations in his

           5     community, what did he do?            I'm not talking about opinions now,

           6     I am talking about what he did.             He went out and got

           7     illegally        some guns, for whatever purpose                So he

           8     contributed to that violent atmosphere that you have so well

           9     described.

          10                 MS • BAHARANYI       Lucca was not engaging in any violence

          11     in the community and

          12                 THE COURT:      You thought he got a gun not to use it?

          13                 MS • BAHARANYI       Your Honor, as many in this country

          14     do      He got a gun for protection.          He got it illegally and that

          15     is why we are here, but he did not get a gun to commit

          16                 THE COURT:      By which you mean that if he had felt

          17     someone was threatening him or his child he would have used the

          18     gun .

          19                 MS • BAHARANYI       Your Honor, as many people do, he got

          20     a gun for his own sense of security and protection, not to go

          21     out and assault, harass

          22                 THE COURT:      I don't understand that argument            Maybe I

          23     am missing something here         9




          24                 MS • BAHARANYI       It is the basis of the Second

          25     Amendment


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           1                 THE COURT         So you go out, you are confronted with a

           2     violent situation on your account, you fear for the safety of

           3     yourself or others close to you, and you then go out and

           4     illegally get a gun and it is not for the purpose of, if

           5     threatened, you will resort to it, it is just so you can keep

           6     it in your basement and feel a better sense of security?               That

           7     doesn't make much sense to me

           8                 MS • BAHARANYI       Your Honor, I think it is completely

           9     appropriate and f air to have very different views on how the

          10     Second Amendment functions in practice and how people feel             9




          11                 THE COURT         I'm not talking about the Second

          12     Amendment          He can hold whatever it is he wants with the Second

          13     Amendment          I'm talking about what is the logical inference on

          14     your account of why he got a gun.             On your account he got it so

          15     he could protect either himself or those he loved and how would

          16     that work if he didn't use it?

          17                 MS • BAHARANYI        Your Honor, again, we understand why

          18     we are here    9    He received it in a way he should not have but he

          19     did not receive it with the intent of going out and committing

          20     acts of violence       9   He received it with the idea that this is a

          21     part of how he             self-defense, how one protects themselves if

          22     violence is brought on to them.

          23                 THE COURT         In which case he would use it.

          24                 MS • BAHARANYI       Your Honor, again

          25                 THE COURT         I agree that's a hypothetical but you are


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           1     asking me to credit your hypothetical about what his intentions

           2     were and I am just trying to figure out that the extent it is

           3     relevant at all, which it may not be            9




           4                 MS • BAHARANYI       His intentions weren't to violate the

           5     law and I think even the law creates protections for those who

           6     defend themselves, either with a firearm or with their fists               9




           7     There are exceptions in the law.

           8                 THE COURT       Quite limited.          Quite limited.

           9                 MS • BAHARANYI       Quite limited, right; but again

          10     limited, but they exist and they exist for a reason.

          11                 THE COURT       All right

          12                 MS • BAHARANYI       I think what is important to remember

          13     here is this is a person who has no violent history, has never

          14     assaulted, attacked, shot, done anything of violence to another

          15     individual, and in 2020 and 2021 he had no intention nor did he

          16     do violence to other individuals           9




          17                 THE COURT       What was him going up to Massachusetts?

          18                 MS • BAHARANYI       That was intended as a, I guess, a

          19     practice on how to safely use firearms and camping in Maine on

          20     private land that the leader of that group had organized.

          21                 THE COURT       I'm never going to use this firearm, I

          22      just want it for protection, but I better figure out how I can

          23     go with my friends and learn how to use it.                 Is that what you

          24     are saying?

          25                 MS • BAHARANYI       I feel much safer in this world if


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           1     people, who possess firearms legally, do actually know how to

           2     use them.

           3                 THE COURT:      OK •

           4                 MS • BAHARANYI         And I think that's why gun ranges

           5     exist, your Honor          But I think we are stepping away from what

           6     I do think is kind of the most critical and compelling,

           7     mitigating f actor behind Lucca and his story              9




           8                 The government mentioned that there are all of these

           9     aggravating f actors and they exist but glossed over the

          10     importance that Lucca has to his community and the community

          11     that he was in f act still giving back to in 2020 and 2021                      9   The

          12     different ways he was giving to that community have been

          13     outlined in some of the letters of support that we gave to the

          14     Court but I don't think necessarily I'm the best speaker on

          15     that as someone who is not from that same community, which is

          16     why I have asked MS. Jimenez, someone who has known Lucca El

          17     for two decades at this point          9




          18                 THE COURT:      I am more than happy to hear from her and

          19     will do that now, but I want to just raise one thing for you

          20     before we do that      9   So, I am frequently confronted with the

          21     argument       Judge, Mr. Hypothetical defendant                       I'm not talking

          22     about this defendant but a defendant just in general                          Judge,

          23     he is a good family man, has been wonderful to his children,

          24      they need him, his neighbors speak highly of him, and therefore

          25     you should, in effect, give him a break             •   And what I always


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           1     wonder when I hear that argument is who brought this on his

           2     neighbors?      Who deprived them of his help, of his love, of his

           3     contribution?         It was he, when he decided to commit a crime             9




           4     They are his victims in that sense               N o w , I don't mean to

           5     overstate it but I do think that it is a little ironic that in

           6     case after case I'm told, Oh, Judge, he loves his family and we

           7     can show how deeply he has loved them.               If he really, really

           8     loved his f family, why would he go out and commit a crime and

           9     deprive them of his help?

          10                 MS • BAHARANYI       Your Honor, I think from the letters

          11     of support there is no question that he loves his f family and

          12     his community     9    He is also someone that the Court has

          13     recognized has made a mistake and those two things just aren't

          14     mutually exclusive       9   What Lucca El means to his community is

          15     something that we want to speak more to the Court about but the

          16     reason why we want to make sure your Honor understands this is

          17     because I'm asking for him to go back to the community after he

          18     has already f aced serious punishment for his conduct                  9   So this

          19     isn't a request to have him go back and time-served because he

          20     hasn't spent any time in jail.            No     He has spent eight months

          21     and three weeks, another four months at the MDC, he has been

          22     seriously punished for his actions in 2020 and 2021, and now I

          23     ask the Court to give him the opportunity to go back to the

          24     space and the people who do mourn his absence, who do love him,

          25     and who he loves and he has supported for several years, not in


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           1     my own words, in my own opinion, but in the words and opinions

           2     of those very community members          9




           3                 THE COURT       All right        Well, let me hear from

           4     Ms. Jimenez

           5                 MS • BAHARANYI        One moment, your Honor                Logistically,

           6     Judge, I should have asked if you would you like for her to

           7     stand at the podium?

           8                 THE COURT       Yes

           9                 MS. JIMENEZ        Good of ternoon.

          10                 THE COURT:      Good of ternoon.

          11                 MS. JIMENEZ        Thank you for giving me the opportunity

          12     to speak this of ternoon.

          13                 My name is Jacqueline Jimenez              I have known Lucca for

          14     most of his life      9   We have been neighbors in the same

          15     community, the same building, watched him grow up                   9     I am a

          16     little older than he is SO he grew up mostly with my son and a

          17     lot of the other youth in the building             9




          18                 I am currently working in social services, I am

          19     pursuing a masters in social work in grad school at Hunter

          20     College, and I currently volunteer with a friend who has a

          21     foundation called Uplift, which I intend to involve Lucca in

          22     when he does come home            We service the community by giving out

          23     food, back to school events for children, just a number of

          24     things

          25                 I guess my reason for wanting to talk is to, I guess,


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           1     help you see something beyond what you are reading on paper                              9




           2     And I am hearing what you are saying, I am trying to digest

           3     what you are saying but I feel like it is important for you to

           4     know that who you are seeing here is not a violent man.                                And,

           5     you know, you spoke of people's acts and how they affect the

           6     f family and the people that they love and you are right, yes, it

           7     has affected us all deeply, but I don't think we consider

           8     ourselves victims of his crime, we just                     you know, he made

           9     mistakes and we still love him even though he made those

          10     mistakes   9    But beyond the mistakes, he is a man with many

          11     different f facets       He helps the community, he is passionate,

          12     not violent         He is always, you see him around the community,

          13     he's helping somebody, helping unload boxes at a store or

          14     helping someone paint their apartment, helping as                                  cliche as

          15     it sounds         helping the old lady across the street and with

          16     her bags        Like, you can always find him in a heated

          17     conversation, in a debate, but positive things                    9       You know?

          18     Like telling children to go back to school              9     Come off the

          19     corner, let's go play basketball at our local park                         9




          20                    You know, from myself, aside from seeing him grow up,

          21     he was always involved in sports, he was an athlete                            9    We have a

          22     common love of boxing and, most recently, I am really grateful

          23     for him because he helped my son go through a very challenging

          24     time      My son is one of the people that wrote letters, his name

          25     is Donald, and he helped him through a very challenging time                                 9




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           1     He was the guy that came and knocked on my door every single

           2     morning to make my son get up out of bed and go play basketball

           3     or do some type of activity          9




           4                 So, I don't know.            I just        I don't know if I can say

           5     enough about him but I just really would like you to maybe

           6     reflect a little bit more on the f act that he is not a violent

           7     person, he is not the words that you                    the charges that are

           8     being brought upon him.           He is more than that            9           We are all more

           9     than our mistakes          You know?        We are not just                    we are not

          10      just our mistakes, we are more than that, and we deserve the

          11     opportunity to redeem ourselves and I feel like he has shown

          12     that during his time after being incarcerated.

          13                 While he has been home I have spent many hours talking

          14     to him about his plans and his life                9   I see how he is with his

          15     child •    I don't consider myself a victim of his crime, I am

          16     honored to know him as a person.                  I think anyone who knows him

          17     is deeply affected by him in a positive way, regardless if you

          18     agree with his opinions, to say the least                 9   You know, I don't

          19     have to agree with him to know that he is a thinker, he is a

          20     good man, and he is brave to go against the grain of things

          21     that maybe people don't normally speak about                  9




          22                 Do you have any questions for me?

          23                 THE COURT       No      It is very helpful and I much

          24     appreciate hearing from you          9




          25                 MS. JIMENEZ          Thank you for your time              9




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           1                 THE COURT          Thank you

           2                 MS • BAHARANYI         Thank you, Ms. Jimenez

           3                 Your Honor, thank you for giving us that opportunity

           4     for having someone from his community address the Court                9   And I

           5     will close with this |     9    He is f acing the harshest of conditions

           6     now •   As the Court is aware from the exhibit we provided

           7     showing Judge Furman's latest order about the conditions at

           8     MDC, this has been his reality, a space where he isn't

           9     connected to his community          9       He can rarely, if ever, speak to

          10     his f family     His ability to practice his religion has been

          11     severely limited because of the chaos at the MDC Brooklyn.                  And

          12     this, coupled with the significant time he spent in

          13     Massachusetts and the additional time he f aces because he has

          14     to go and f ace the resolution of those charges and f aces

          15     another two to four years, but all of that together is more

          16     than sufficient punishment with the request that we have made

          17     for five months, especially for someone who is not the gun

          18     trafficker in this scenario             9   He is not someone who obstructed

          19     justice       And he is someone who has shown he can abide by the

          20     law.

          21                 THE COURT          Thank you very much     9




          22                 Let me hear from the government            9




          23                 MS. NICOLAS |  9     Thank you, your Honor

          24                 Defense counsel referred to the heart of the Second

          25     Amendment and I want to be really clear about what the heart of


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           1     the Second Amendment is and why that is not what we saw here                         9




           2     The heart of the Second Amendment is lawfully obtaining a

           3     firearm to have in your own home for your own protection.                           It

           4     is not unlawfully obtaining multiple firearms, so that in one

           5     instance you can stand on the street with the gun in the same

           6     bag as your personal use narcotics and on another occasion

           7     transport that firearm with your militia on the way up to some

           8     kind of unregulated land in Maine that you are going to go fire

           9     off live rounds on for whatever purpose that is.

          10                 What the defendant did is not the heart of the Second

          11     Amendment, he is not being punished because of his words                •
                                                                                                     He

          12     was charged with crimes because there are federal regulations,

          13     there are federal laws that governs the way in which firearms

          14     are sold and possessed and regulated to keep everyone safe                      9




          15     They're not just laws that exist for fun, they're not

          16     frivolous, they're not             you know, the defendant referred to

          17     them as mandates and legalities and all that other stuff                    9       That

          18     could not be further from the truth            9   They exist because

          19     they're important          Because without people like the defendant,

          20     there is no way to lawfully get a firearm in New York City                      9




          21     The defendant invited those guns into the same community that

          22     he is standing here today telling us he cares so deeply about                            9




          23      That's reality        This is not a man who walked into a gun store

          24     and made some kind of administrative mistake and accidentally

          25     got a gun.


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           1                 The jury found he willfully violated the law

           2     willfully        violated the law.                And I think part of the

           3     timeline here is pretty disturbing and one we need to keep in

           4     the forefront of our mind when we talk about specific

           5     deterrence and the sincerity of any kind of acceptance of

           6     responsibility that the defendant might have now and that is

           7     the timeline from the Bronx arrest to the Massachusetts arrest                    9




           8                 The defendant gets arrested by the NYPD possessing a

           9     firearm in the Bronx       9       At the time of that arrest he is told

          10     you need a permit for this            9   He is told this is not something

          11     you can do       And he tells the officers, sorry, disagree, I get

          12     to decide what laws apply to me, I don't need it, I don't need

          13     a permit, a permit is permission, I don't need permission.

          14                 Two weeks later he is with a convoy in Massachusetts

          15     it is a two-car convoy         9     It is a convoy      9   It is guys dressed

          16     like they're going into battle and they're not carrying rubber

          17     bullets, they're carrying thousands of rounds of real

          18     ammunition, over 20 magazines, run magazines, with huge

          19     capacities; semi-automatic long gun rifles, of which the

          20     defendant was wearing one and at another point holding another                    9




          21                 He didn't make a single mistake on a form.                  That is

          22     not what we are talking about             9       He didn't make a single mistake

          23     when he got a gun from someone                9    He made the same, quote

          24     unquote, mistake over and over and over again because he

          25     decided he didn't want to abide by laws that he didn't like


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           1      That is not how society works            There is of course of general

           2     deterrence issue here        9   There is a specific deterrence issue

           3     here      This defendant has made clear these laws don't apply to

           4     him, he is not going to do it.

           5                 I also want to talk about COVID for a second because,

           6     again, timing is important

           7                 While we are supposed to be hearing about COVID being

           8     difficult and making everyone's lives difficult and there is no

           9     denying that was reality, we all lived it, the defendant was

          10     loading up his convoy with his friends to go drive to Maine to

          11     go shoot some guns      9   He was moving interstate, freely, on 4th

          12     of July weekend, while we are supposed to think that he was

          13     desperate and this was a mistake that he made out of

          14     desperation during COVID         9   The reality is quite clear, he was

          15     getting guns to do whatever he wanted because that's how he

          16     views the law, it doesn't apply to him.

          17                 That's why gun ranges exist             That's another thing I

          18     heard .    This wasn't a gun range           This wasn't harmless,

          19     innocent activity           This defendant invited guns into his

          20     community, he did it over and over again when he knew what he

          21     was doing was wrong, your Honor, and for that reason a

          22     substantial period of incarceration is appropriate here                9




          23                 THE COURT       Let me ask you one more par ticularized

          24     question which is should I give him, in your view, a credit,

          25     since it won't be credited as a technical matter, for the time


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           1     he spent in jail in Massachusetts as opposed to time he spent

           2     here which will be credited?

           3                 MS. NICOLAS |  9     I certainly think that's a relevant

           4     3553(a) f actor for your Honor           9   What I will say about that is

           5     the defendant's pretrial detention in Massachusetts was also,

           6     in part, predicated on his refusal to identify himself, his

           7     refusal to comply with booking procedures              9   So, I do think that

           8     that pretrial detention took, in effect, f actors that are not

           9     relevant to what we are here for today             9




          10                 I will also note he is getting ready to stand trial in

          11     February on that Massachusetts case which, I imagine, will be

          12     putting before the judge a lot more than was put before the

          13     Court here as it related to the details of that traffic stop                      9




          14     So while it is relevant, your Honor, I don't think it is

          15     tremendously mitigating          9




          16                 THE COURT          Let me hear from defense counsel and then

          17     from the defendant, if he wishes to be heard.

          18                 MS • BAHARANYI           Thank you, your Honor          Just briefly      9




          19                 The government's very, very impassioned speech here

          20     feels misplaced.        If this were a conversation, a sentencing

          21     that were taking place after his arrest in 2021, f air game;

          22     there needs to be punishment, there needs to be consequence,

          23     there is a need for specific and general deterrence                    9   But, :Ln

          24     f act, we are having this conversation about appropriate

          25     punishment after he has already been seriously and sufficiently


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           1     punished, your Honor, and that's what has been lost sight of

           2     We are having this conversation about whether jail is necessary

           3     to course correct or correct his conduct in the future after

           4     jail has already been imposed in his life and after it has

           5     already, in f act, changed his conduct and changed his actions

           6                 THE COURT       Well, of course that is highly relevant to

           7     one f actor, namely specific deterrence                     9    It doesn't really go

           8     to most of the other f actors              9




           9                 MS • BAHARANYI       Your Honor, I do think it speaks to

          10     general deterrence as well         9           The credibility of the system is

          11     not just about whether people are punished for doing bad

          12     things, for breaking the law, but it's about whether that

          13     punishment is in f act proportional                 9   That's how it has any

          14     credence, any credibility with any community that might learn

          15     about this case     9   And if the Court were to impose

          16                 THE COURT       I don't know how you come to that                    It is

          17     rare that anyone who is considering a future crime gets into

          18     detailed analysis of why Mr. Jones received X months and

          19     Mr. Smith received Y months            9       What is relevant for someone who

          20     is thinking about committing a crime is, oh, the people who

          21     committed that crime got serious time                   9       I really think it is

          22     I don't know of anywhere in the criminological literature where

          23     it has been shown that defendants who are considering future

          24     crimes       that's what general deterrence is all about                        get

          25     into an analysis of, oh, he got a lower sentence but that was


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           1     because he had learned his lesson or anything like that                9   That

           2     is highly relevant for specific deterrence but I don't see how

           3     it is relevant for general deterrence            9




           4                 MS • BAHARANYI        Your Honor, if we are focusing on

           5     statistics then, truly, what has been proven to be most

           6     effective or effective when it comes to general deterrence

           7     isn't at all the length or severity of punishment that someone

           8     received, but is, in f act, the f act that someone has been

           9     arrest and about been punished.

          10                 THE COURT:         That's the biggest f actor but that is only

          11     f actor 9   That f actor we have known for about a hundred years,

          12     well-documented, and I agree with you, that's the single most

          13     established f actor in general deterrence but it is, by f ar,

          14     from the only f actor      9




          15                 MS • BAHARANYI         I think if we are to assume that if we

          16     step beyond what has been proven in the science and we are now

          17     a little bit speculating on what will affect the community and

          18     what they will believe or how they will be affected by

          19     someone's sentence, then I do think it is completely f air to

          20     believe the community, like the community here, will have the

          21     capacity to understand the difference between excessive

          22     punishment and the right punishment, just punishment

          23                 THE COURT          All right

          24                 MS • BAHARANYI         And what we have asked for, your

          25     Honor, truly is the just punishment given the totality of the


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           1     circumstances of his overall punishment here during COVID, in

           2     MDC when it is at its worse          9   Anything beyond the five months I

           3     have asked would be beyond what is necessary and no longer

           4     carries the deterrent weight or effect that I believe the Court

           5     is concerned about      9




           6                 THE COURT       Let me hear from the defendant, i f h e

           7     wishes to be heard.

           8                 MS • BAHARANYI         Your Honor has received a letter from

           9     Lucca and he does not wish to make any further statements

          10     beyond what he provided to the Court in his letter                9




          11                 THE COURT       OK •    That's fine

          12                 So, on the one hand I think I take his criminal

          13     activity to be considerably more serious than the defense is

          14     arguing       I think the government is absolutely right and,

          15     indeed, the jury found that this defendant intentionally,

          16     willfully engaged in this misconduct, blatantly in violation of

          17     the law and as part of an ongoing relation with others who were

          18     doing the same         And where, at the end of the story, I t h i n k

          19     the f actors under Section 3553(3) would all counsel a sentence

          20     not unlike the two years I gave to Mr. Vere en, there are,

          21     however, I think two mitigating f actors that warrant a lesser

          22     sentence       The first is the time he has already spent in jail

          23     in Massachusetts, which will not be credited against this

          24     sentence unlike the time he spent in federal custody but which

          25     is nevertheless real punishment for activity very closely


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           1     related to what the defendant stands accused of here                   9       Not

           2     identical, but related.          And while I am not particularly

           3     convinced that this defendant learned his lesson from that

           4     incarceration, I think that is much too simplistic when you are

           5     dealing with someone as complicated as this defendant                      9    But I

           6     think some credit should be given for that              9




           7                 The much bigger f actor is the numerous people, many of

           8     whom are here today, who have supported him and told me of his

           9     good side, of his good nature             My own view of sentencing,

          10     which is part of Section 3553(3) but seems to me to be

          11     especially important, is that a person at this moment of

          12     sentence be judged by the entire character he has demonstrated

          13     and not just by his mistakes         9   I thought MS. Jimenez made that

          14     point quite eloquently and the f act that there are all of these

          15     people who have not only written to me but are here today to

          16     say that this defendant has a good side that they recognize,

          17     that they've experienced, that they have seen, is quite

          18     important to me     9




          19                 So I'm going to give a lesser sentence than the one I

          20     contemplated.       It is nothing like the sentence that defense

          21     counsel asks for because I think that grossly understates both

          22     the crime itself, its potential for violence, and the

          23     defendant's involvement with a different kind of community, if

          24     you will, a community dedicated to the illegal possession of

          25     guns and the seeming preparation to use them.


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           1                 Putting all of these f actors together, the sentence of

           2     the Court is that the defendant is sentenced to 16 months in

           3     prison, that's on each count, concurrently, and similarly, to

           4     three years of supervised release, concurrent on each of the

           5     counts

           6                 No fine will be imposed because the Court makes a

           7     finding that this defendant is not in a position to pay any

           8     meaningful fine now or in the foreseeable future                    9   There is,

           9     however, a $200 mandatory special assessment that must be paid.

          10                 The terms of supervised release are, first, mandatory

          11     conditions that the defendant not commit any other federal,

          12     state or local crime; that he not unlawfully possess a

          13     controlled substance; that he cooperate in the collection of

          14     DNA; and that within 15 days of his release from prison he

          15     submit to one drug test to be followed by two periodic drug

          16     tests thereafter, as determined by the probation officer                     9




          17                 There will also be imposed standard conditions l

          18     through 12 9      They appear on the f ace of the judgment but also

          19     will be gone over with the defendant when he begins his period

          20     of supervised release, which he will do by reporting to the

          21     nearest probation office within 72 hours of his release from

          22     prison.

          23                 And finally, there are the special conditions:

          24                 First, the defendant will par ticipate in an outpatient

          25     treatment program for drugs and alcohol under standard terms I                      I




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           1     and secondly, that he will be supervised by the district of his

           2     residence

           3                 Now, before I advise the defendant of his right of

           4     appeal, let me ask counsel for both sides whether there is

           5     anything else we needed to take up            9




           6                 Anything further from the government?

           7                 MS. NICOLAS         Your Honor, just a couple of

           8     housekeeping matters       9




           9                 First, we would ask that the Court adopt the f actual

          10     findings that are set forth in the presentence report                         9   There

          11     is no objections from the government on that               9




          12                 THE COURT          Yes     I adopt the presentence report other

          13     than I disagree with the calculation, as previously indicated.

          14                 MS. NICOLAS |  9    The other matter, your Honor, is that

          15     the government would ask that the forfeiture order be made

          16     final as to the firearms in the case              9   There is no money

          17     judgment but it is the firearm.

          18                 THE COURT          Any objection to that?

          19                 MS • BAHARANYI           No objection, your Honor          9




          20                 THE COURT          So ordered.

          21                 MS • BAHARANYI           Your Honor, on the special conditions,

          22     probation recommended outpatient drug treatment                    9       I don't

          23     believe that is an appropriate condition in this case because

          24     Lucca El has no history of abusing illegal substances                         9   The one

          25     reason for this recommendation is because of his prior use of


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           1     marijuana and that was before he was on pretrial supervision.

           2                 THE COURT:      I wondered about that myself                9        I will

           3     withdraw that special condition.

           4                 MS • BAHARANYI        Thank you      That's all on our behalf

           5                 THE COURT:      Did you want to make any recommendation as

           6     to where he should be housed?

           7                 MS • BAHARANYI        Absolutely, your Honor            9       We do ask he

           8     be housed as close to New York City as possible                     9




           9                 THE COURT:      I will make that recommendation.                       I can't

          10     order it, as you know, but I will recommend it.

          11                 So, speaking to the defendant, let me advise you,

          12     first, that you have a right to appeal the sentence                          9




          13                 Do you understand that?

          14                 THE DEFENDANT         Yes

          15                 THE COURT:      If you can't afford counsel for the

          16     appeal, the Court will appoint one for you free of charge                             9




          17                 Do you understand that?

          18                 THE DEFENDANT         Yes

          19                 THE COURT:      That concludes

          20                 MS. NICOLAS        Your Honor, the government now moves to

          21     dismiss the underlying indictment

          22                 THE COURT:      Yes     Thank you very much         9       That motion is

          23     granted •

          24                 Very good.      Thanks a lot

          25                                             000


                                     SOUTHERN DI STRICT REPQRTERS I P C      9       9

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   AO 245B (Rev. 09/19)   Judgment in a Criminal Case   (form modified within District on Sept. 30, 2019)
                          Sheet 1



                                            UNITED STATES DISTRICT COURT
                                                            Southern District of New York
                                                                                 )
                   UNITED STATES OF AMERICA                                                 JUDGMENT IN A CRIMINAL CASE
                                                                                 )
                                      v.                                         )
                             Steven Perez                                        )
                                                                                            Case Number: $1 22 CR 644-002 (JSR)
                            a/k/a "Lucha EI"                                     )
                                                                                 )          USM Number: 34959-510
                                                                                 )
                                                                                 )           Zawadi S. Baharanyi, Esq.
                                                                                            Defendant's Attorney
                                                                                 )
   THE DEFENDANT:
   [I pleaded guilty to count(s)
   [I pleaded nolo contendere to count(s)
       which was accepted by the court.
   Mwas found guilty on count(s)             1 and2
    after aplea of not guilty.

   The defendant is adjudicated guilty of these offenses:

   Title & Section                   Nature of Offense                                                                Offense Ended             Count

   18 U.S.C. 371                     Conspiracy-Receive Firearms Outside States of Residency                          7/30/2021             1

   18 U.S.C. 922 (a)3                Interstate Transport of Firearms                                                 6/23/2021             2



           The defendant is sentenced as provided in pages 2 through                    7            of this judgment. The sentence is imposed pursuant to
    the Sentencing Reform Act of 1984.
    D The defendant has been found not guilty on count(s)

    IZ! Count(s)     of the underlying indictment            U is        M are dismissed on the motion of the United States.

          _ . It is ordered that the defendant must notify the United States attorney for this district within 30 days of any chandge of name, residence,
    or mailing address unt1l.a11 fines, restltutlon, costs, and special assessments imposed by this judgment are few ly paid. for ered to pay restitution,
    the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                                                     1/8/2024
                                                                                 Date of imposition of Judgment



                                                                                                /I
                                                                                 Signature of fuflge         <3


                                                                                                            Hon. Jed s. Rakoff U.S.D.J.
                                                                                 Name Ana Tim sludge                  "



                                                                                 Date                I/4.9


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    AO 245B (RW 09/19) Judgment in Criminal Case
                         Sheet2 - lmpiisonmcnt
   ul              fins                                                      Ililiulllll\lniH              -un
                                                                                                                  Judgment - Page   2    of   7
        DEFENDANT: Steven Perez a/Ida "Lucha EI"
        CASE NUMBER: $1 22 CR 644-002 (JSR)

                                                                      IMPRISONMENT
                     The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
        total term of:                                 .
             On count 1: Sixteen (16) months jail, concurrent to the sentence imposed on count 2.
             On count 2: Sixteen (16) months jail, concurrent to the sentence imposed on count 1.




             121     The court makes the following recommendations to the Bureau of Prisons:
                     Incarceration as close to the New York metropolitan area as possible.




             M The defendant is remanded to the custody of the United States Marshal.

             El The defendant shall surrender to the United States Marshal for this district:

                     U at                                  U a.m.        El p.m.                on

                     EI as notified by the United States Marshal.

             III The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                     [I before 2 p.m. on
                     [I as notified by the United States Marshal.
                     [I as notified by the Probation or Pretrial Services Office.


                                                                             RETURN
        I have executed this judgment as follows:



                      Defendant delivered on                                                         tO
                             )

        at                                                   9   with a certified copy of this judgment.


                                                                                                                 UNITED STATES MARSHAL



                                                                                            By
                                                                                                           DEPUTY UNITED STATES MARSHAL




                                                                                                                        A001150
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                           Case: 24-162, 05/03/2024, DktEntry: 20.1, Page 289 of 295
   AO 245B (Rev. 09/19) Judgment in a Criminal Case
                        Sheet 3 - Supervised Release
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                                                                                                                                                                                       1
                                                                                                                                                                                                                        '7
   DEFENDANT: Steven Perez a/kla "Lucha El"
   CASE NUMBER: $1 22 CR 644-002 (JSR)
                                                        SUPERVISED RELEASE
   Upon release from imprisonment, you will be on supervised release for a term of
    On count 1: Three (3) years.
    On count 2: Three (3) years, all terms on all counts to mn concurrent to each other.




                                                       MANDATORY CONDITIONS
    1.   You must not commit another federal, state or local crime.
    2.   You must not unlawfully possess a controlled substance.
    3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
         imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                 D The above drug testing condition is suspended, based on the courts determination that you pose a low risk of future
                    substance abuse. (cheek xfapplicable)
    4.   EI You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
             restitution. (cheek if applicable)
    5.    121 You must cooperate in the collection of DNA as directed by the probation officer. (cheek ifapplicable)
    6.    EI You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. §20901, or seq.) as
             directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
             reside, work, are a student, or were convicted of a qualifying offense. (check ifapplicable)
    7.     D Y o u mu s t participate in an approved program for domestic violence. (check inapplicable)

    You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
    page.




                                                                                                                                                         A001151
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    AO 245B (Rev. 09/19)   Judgment 'm a Criminal Case
                           Sheet 3A - Supervised Release

                                                                                                 Judgment-Page         4       of         7
    DEFENDANT: Steven Perez a/kla "Lucha El"
    CASE NUMBER: $1 22 CR 644-002 (JSR)

                                           STANDARD CONDITIONS OF SUPERVISION
    As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
    because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
    officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

    1.  You must report to the probation oitice in the federal judicial district where you are authorized to reside within 72 hours of your
        release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
        same.
    2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
        when you must report to the probation officer, and you must report to the probation officer as instructed.
    3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
        court or the probation officer.
    4. You must answer truthfully the questions asked by your probation officer.
    5, You must live at a place approved by the probation officer. If you plan to change where you l i v e or anything about your living
        arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
        the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
        hours of becoming aware of a change or expected change.
    6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer t o
        take any items prohibited by the conditions of your supervision that he or she observes in plain view.
    7. You must work full time (at least 30 hours per w e e k ) at a lawful type of employment, unless the probation officer excuses you from
        doing so. If you do not have full-time employment you must try to find full-tirne employment, unless the probation officer excuses
        you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
        responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
        days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming
        aware of a change or expected change.
    8. You must not communicate or interact with someone you know is engaged in criminal activity. If you k n ow someone has been
        convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
        probation officer.
    9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
    10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
        designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or lasers).
    11. You must not act or make any agreement with a l a w enforcement agency to act as a confidential human source or informant without
        fust getting the permission of the court.
    12. You must follow the instructions of the probation officer related to the conditions of supervision.




     U.S. Probation Office Use Only
     A U.S. probation otiicer has instructed me on the conditions specified by the court and has provided me with a written copy of this
     judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
     Release Conditions, available at: www.uscourts.2ov.


     Defendant's Signature                                                                                  Date




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                           Sheet 3D - Supervised Release
                                                                                         Judgment-Page   5   of   7
    DEFENDANT: Steven Perez a/kla "Lucha El"
    CASE NUMBER: $1 22 CR 644-002 (JSR)

                                             SPECIAL CONDITIONS OF SUPERVISION
     1. The Court recommends the defendant be supervised in his district of residence.




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    IIIl If'   I
                   II
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                                                                                                                                                                     Judgment--Page                    8            of                        7
    DEFENDANT: Steven Perez aAda "Lucha El'
    CASE NUMBER: $1 22 CR 644-002 (JSR)
                                                                           CRIMINAL MONETARY PENALTIES
               The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                                                 Assessment               Restitution              Fin e                                        AVAA Assessment*                                       JVTA Assessment**
    TOTALS                                    s 200.00                $                        $                                          s                                                      $


    U The determination of restitution is deferred until                                                   An Amended Judgment in a Criminal Case (AO 245C) will be
               entered after such determination .

    EI The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

               If the defendant makes a partial payment, each pace shall receive an approximatel proportioned aymer, unless specified otherwise in
               the priority order or percentage payment column elow. However, pursuant to 18 .S.. § 36648), all nonfederal vlctlms must be paid
               before the United States is paid.

    Name of Pavee                                                                          Total Loss***                                    Restitution Ordered                                  Prioritv or Percentage




     TOTALS                                                      s                          0.00             s                                                       0.00



     E1             Restitution amount ordered pursuant toplea agreement $

     El              The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
                     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 36l2(t). All of the payment options on Sheet 6 may be subject
                     to penalties for delinquency and default, pursuant to 18 U.S.C. §3612(g).

     EI              The court determined that the defendant does not have the ability to pay interest and it is ordered that:

                     El the interest requirement is waived for the                         U fine     U restitution.

                     0 the interest requirement for the                        El   fine     U restitution is modified as follows:

      I *{*my,. Vi gkyvand Andy chg? gom taphg Victim assistance Act 2f 2018, Pub. L. No. 115-299.
          ustice or ictims o Tra lc in        ct o 2015, Pu . L. No. 114-2 .
      *** Findings for the total amount oglosses are re uired under Chapters 109A, 110, l 10A, and 113A of Title 18 for offenses committed on
      or aitor septembor 13, 1994, but be fore Ap'123
                                                   i q1996
                                                       ,     .



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                                                                                                                                                                                      Judgment - Page                        'I          of                7
    DEFENDANT: Steven Perez a/k/a "Lucha El"
    CASE NUMBER: $1 22 CR 644-002 (JSR)

                                                                SCHEDULE OF PAYMENTS

    Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

    A     m Lump sum payment of $            200,00                                   due immediately, balance due


               D not later than                                                                ,or
               E1    in accordance with [1 C,              l:ID,                     la E,or                          [1 F below; or
    B     CI Payment to begin immediately (may be combined with                                                 III C,                    I] D, or                     U F below); or

    C     D    Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                                                                                        over a period of
                              (e.g., months or years), tO commence                                                               (et, 30 or 60 days) after the date of this judgment, or

    D     D Payment in equal                                (e.g., weekly, monthly, quarterly) installments of $                                                                                        over a period of
                              (e.g, months or years), to commence                                                               (e-g~. 30 or 60 days) after release from imprisonment to a
               term of supervision, or

    E     D Payment during the term of supervised release will commence within                    (e.g, 30 or 60 days) alter release from
               imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time, or

    F     EI Special instructions regarding the payment of criminal monetary penalties:




    Unless the court h expressly ordered otherwise, if this judiggnent imposes imprisonment, parent of criminal monetary penalties is due during
    the period of imprgsqgment. All crimmal monetary pena ties, except those payments ma e through the Federal Bureau of Prlsons' Inmate
    Financial Responslblllty Program, are made to the clerk of the court.

    The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



    Cl    Joint and Several

          Case Number
          Defendant and Co-Defendant Names                                                                                                      Joint and Several                                                Corresponding.Payee,
          (including defendant number)                                       Total Amount                                                           Amount                                                           If appropriate




     U    The defendant shall pay the cost of prosecution.

     I]   The defendant shall pay the following court cost(s):

     m    The defendant shall forfeit the defendant's interest in the following property to the United States:
           pursuant to 18 U.S.C. §924(d)(l), and 28 U.S.C. §2461(c), any and all firearms and ammunition involved in or used in
           said offense.

     Payments shall be a plied.in the following order: (1) assessment, 2 restitution princi al, (3) restitution interest, (4) AV.AA assessment,
     (5) fine principal, (8 fine interest, (7) community restitution, (8) A assessment, (93 penalties, and (10) costs, including cost of
     prosecution and court costs.



                                                                                                                                                                                                 A001155
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              Crlmlnal Notice of Appeal - Form A


                                                              NOTICE OF APPEAL
                                                             United States Dlstrlct Court

                                                 Southern               Dlstrlct of_New York                   ORIGINAL
              Caption:
              united States of America v.
                                                                                                Docket NO.: 22 Cr. $44                    _
              Steven Perez,      Defendant.
                                                                                                           Honorable Jed S. Rakoff
                                                                                                                (Dlslrict Court Judge)


              Notice Is hereby given that Steven Perez_               _                     ___ appeals to the United States Court of

              Appeals for the Second Circuit from the judgment .1/_1. other |
                                                                                          --.                (specify)---           .--
              entered In this action on 1/12/2024              ___.
                                              (date)



              This appeal concerns: Conviction only L _ ] Sentence only L _ ] Conviction & Sentence              Mi Other 1 _ 1
              Defendant found guilty by plea | V | trial |     | NlAI     .

              Offense occurred after November 1, 1987? Yes l V                No |        NIA I

              Date of sentence: 1/8/2024                                NIA   I_I                           R JAN 172024 I OI
              BaIIlJaiI Disposition: Committed   131 Not committed |            | NIA |

                                                                                                             S.D.N.Y -APPEALS
                                                                                                                                                  §


              Appellant is represented by counsel? Yes V | No |                 If yes, provide the following Information:                        Q


              Defendant's Counsel:        Barry D. Leiwant, Esq.
                                                                                                                                              I
              Counsel's Address:          Federal Defenders of New York                                                                           8
                                                                                                                                                  3
                                          52 Duane Street, 10th Floor, New York, NY 10007

              Counsel's Phone:            Tel. (212)417-8742


              Assistant U.S. Attorney:     A U S A Ashley Nicolas

                                          O n e St. Andrews Plaza
              AUSA's Address:
                                          New York, NY 10007

              AUSA's Phone:
                                          Tel: (646)734-3877                                                                                      I
                                                                                           I4//444        z4mw8" of
                                                                                          AWADI BAHARANYI, ESQ.
                                                                                                          Signature



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                                    CERTIFICATE OF SERVICE


                  I certify that a copy of this Appendix has been served by CM/ECF
            on the United States Attorney/S.D.N.Y.; Attention: ASHLEY C.
            NICHOLS, ESQ., Assistant United States Attorney, One St. Andrew's
            Plaza, New York, New York 10007

            Dated: New York, New York
                      May 3, 2024


                                                     I@444 4604/31844
                                                   KENDRA HUTCHINSON
                                                   Assistant Federal Defender
